Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 1 of 235
                                                                    10-1




                     UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS




                                    )
  UNITED STATES OF AMERICA,         )
                                    )            Criminal Action
            Plaintiff,              )            No. 18-10364-DPW
                                    )
  v.                                )
                                    )
  JASIEL F. CORREIA, II,            )
                                    )
            Defendant.              )
                                    )



              BEFORE THE HONORABLE DOUGLAS P. WOODLOCK
                     UNITED STATES DISTRICT JUDGE


                             JURY TRIAL DAY 10


                                May 4, 2021



               John J. Moakley United States Courthouse
                            Courtroom No. 1
                          One Courthouse Way
                     Boston, Massachusetts 02210




                                        Kelly Mortellite, RMR, CRR
                                        Debra Joyce, RMR, CRR, FCRR
                                        Official Court Reporters
                                        One Courthouse Way, Room 3200
                                        Boston, Massachusetts 02210
                                        mortellite@gmail.com
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 2 of 235
                                                                        10-2




 1     APPEARANCES:

 2     On Behalf of the Government:
       Zachary R. Hafer
 3     David G. Tobin
       United States Attorney's Office MA
 4     1 Courthouse Way
       Suite 9200
 5     Boston, MA 02210
       617-748-3106
 6     zachary.hafer@usdoj.gov
       david.tobin@usdoj.gov
 7

 8     On Behalf of the Defendant Jasiel Correia, II:
       Kevin J. Reddington
 9     Law Offices of Kevin J. Reddington
       1342 Belmont Street
10     Suite 203
       Brockton, MA 02301
11     508-583-4280
       kevinreddington@msn.com
12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 3 of 235
                                                                         10-3




 1                              P R O C E E D I N G S

 2                 (The following proceedings were held in open court

 3     before the Honorable Douglas P. Woodlock, United States

 4     District Judge, United States District Court, District of

 5     Massachusetts, at the John J. Moakley United States Courthouse,

 6     One Courthouse Way, Courtroom 1, Boston, Massachusetts, on May

 7     4, 2021.)

 8     (Case called to order.)

 9                 THE COURT:   Just briefly before the jury is brought in

10     here.    Thank you for sending me the update on likely witnesses

11     today.

12                 I want to perhaps shape your approach to the

13     discussion about instructions in this way:         I want you to think

14     about the redacted indictment, and more particularly about the

15     identification of the persons whose mailings are involved or

16     who are the subjects of the alleged extortion, because part of

17     what I will be doing, I think, is engaging you in a discussion

18     about timing of events in relation to communications by those

19     who might be viewed as conspirators here.        That's at least a

20     way of thinking this through.       And it's the way I've been

21     thinking about it.

22                 The issue, of course, for me is not whether or not the

23     jury believes or disbelieves anything but whether or not there

24     is evidence in the record from which the jury could find a

25     mailing on such and such a date involving such and such a
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 4 of 235
                                                                            10-4




 1     person that was kept out of the indictments when they were

 2     returned and, you know, things were identified as middleman X

 3     and that sort of thing.

 4                 Now we've had evidence about various of these things

 5     and will have by this afternoon, I think, and so we can fill in

 6     the blanks on those names.      You'll recall that in the redacted

 7     version I put it as red-lined and said actual names in

 8     brackets.    Now is the time, I think, that we can start doing

 9     that, and that will be helpful to me in talking through the

10     question of intent.

11                 All I can say is the more research I do, it almost

12     appears that the question of intent has been my life's work on

13     this court.    The most recent one I spent a little time with is

14     United States v. Dray, 901 F.2nd 1132 at page 1140, which

15     affirmed my instructions on a case 30 years ago.

16                 MR. HAFER:   Would you repeat the citation.

17                 THE COURT:   United States v. Dray, 901 F.2nd 1132.

18     The instruction is referenced at 1140, and by just general

19     statement this was a case involving honest services fraud

20     before McNally.    McNally changed the landscape after the

21     decision was entered and so the case was remanded.          It was

22     retried by Judge Mazzone at the time.        But it gives an outline

23     of some of the concerns that arise in these kinds of cases as

24     the court -- Supreme Court has been working its way through,

25     let's say starting in McNally, to deal with what is the kind of
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 5 of 235
                                                                              10-5




 1     activity that can be regulated by federal criminal law and what

 2     isn't.   But that was my light reading yesterday evening.             So I

 3     read these cases and say, you know, that's familiar.             And, of

 4     course, it's familiar, I tried the case 30 years ago.            So

 5     that's where we are.

 6               So we'll take this up at the break this afternoon to

 7     talk through the instructions.

 8               Anything else that we need to talk about before then?

 9     And if we can get the witness in.

10               MR. HAFER:    Yes, Your Honor.     No, we don't have

11     anything else, and, yes, we'll get the witness in.

12               THE COURT:    Okay.   Good.

13               (Jury enters the courtroom.)

14               THE COURT:    Good morning, ladies and gentlemen.

15               Let me ask my morning greeting question.         Have any of

16     you been exposed in any way to any information about this case,

17     communications from someone, any exposure to media accounts,

18     anything like that, other than what's occurred here in the

19     courtroom?

20               And I see no affirmative response to that.         So I find

21     that the jury has not been affected in that fashion.

22               Ms. Beatty, if you'd swear the next witness.

23               MICHAEL KHOURY, Sworn

24               COURTROOM CLERK:      Please state your full name and

25     please spell your last name, and you can remove your mask.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 6 of 235
                                                                          10-6




 1                  THE WITNESS:   It's Michael, M-i-c-h-a-e-l.     Last name

 2     is Khoury, K-h-o-u-r-y.

 3                  THE COURT:   Mr. Khoury, you're going to be examined by

 4     Mr. Tobin over there, and if you can keep the microphone

 5     between you and Mr. Tobin so we can pick up your voice.          Okay?

 6                  THE WITNESS:   Okay.

 7                  THE COURT:   Mr. Tobin, you can inquire.

 8                  MR. TOBIN:   Thank you, Your Honor.

 9     DIRECT EXAMINATION BY MR. TOBIN:

10     Q.    Good morning, Mr. Khoury.

11     A.    Good morning.

12     Q.    How old are you?

13     A.    58.

14     Q.    Where do you live?

15     A.    Rehoboth.

16     Q.    Do you own a business?

17     A.    Yes.

18     Q.    What business do you own?

19     A.    Excavating contractor.

20     Q.    What's the name of the excavating business?

21     A.    Same as the last name, Khoury Excavating.

22     Q.    And how long have you owned or been in the excavating

23     business?

24     A.    Since 2005.

25     Q.    What sort of work does your company do?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 7 of 235
                                                                        10-7




 1     A.    We do mostly excavation for new foundations, sewer, water

 2     connections.

 3     Q.    Do you work for individual homeowners?

 4     A.    Yes, for private people.

 5     Q.    Do you also work for municipalities and cities?

 6     A.    Correct.

 7     Q.    Do you ever work for the City of Fall River?

 8     A.    We still do.    We do and we still do.

 9     Q.    And in addition to the excavating work, in the winter do

10     you add additional services that are made available?

11     A.    Yes, we're on the list of snow-plowing.

12     Q.    And you snow-plow for the City of Fall River as well?

13     A.    Pretty much every year, yes.

14     Q.    Sir, I'm going to ask you some questions about early 2017.

15     At that time did you and your company do certain work at 367

16     Kilburn Street in the City of Fall River?

17     A.    Yes, we did.

18     Q.    What work did your company perform there?

19     A.    We had to connect a fire line for the sprinkler system.

20     Q.    Connect it from where to where?

21     A.    From the middle of the road to the edge of the property.

22     Q.    And how did you get that contract?       In other words, who

23     contacted you?

24     A.    Mr. John Perry contacted me.

25     Q.    Who was Mr. John Perry, for whom did he work?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 8 of 235
                                                                          10-8




 1     A.      He worked for the city.    I believe he was the head of CDA

 2     maybe at that point.

 3     Q.      Was it unusual for you to be contacted by the City of Fall

 4     River and contracted for that type of work?

 5     A.      No.   It happens all the time.   They call us to do some

 6     certain work.

 7     Q.      And do homeowners call you periodically to do that sort of

 8     work?

 9     A.      Correct, they do, yes.

10     Q.      And in most instances when a fire line has to be replaced,

11     who hires you?

12     A.      Mostly it's for the private owner side.

13     Q.      And what work -- how long did the work take you, the work

14     you did at 367 Kilburn Street?

15     A.      A little over a day, a day and a half complete.

16     Q.      Now, sir, in order to excavate a street in order to lay

17     pipe -- and that's what you were doing essentially; is that

18     accurate?

19     A.      Right, yes.

20     Q.      Do you need certain permits?

21     A.      If it's for the city, we do it -- we pull a permit but we

22     don't have to pay the fee for it.

23     Q.      And on this instance at 367 Kilburn Street, what came

24     first, the work at the site or pulling the permit?

25     A.      The work.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 9 of 235
                                                                            10-9




 1     Q.    Was that somewhat unusual?

 2     A.    Not really because it has to be done.        It was like some

 3     kind of an emergency because they don't have a water feed to

 4     the building.

 5     Q.    Sir, there's a book in front of you, a binder actually,

 6     and if you open that up, you'll see a number of tabs.            And the

 7     first tab is 146.     Do you see that?

 8     A.    Yes.

 9     Q.    And what is tab 146?       Do you recognize that document?

10     A.    That's a water service permit.

11     Q.    And is this the water service permit you pulled for the

12     Kilburn Street work?

13     A.    I believe so, yes.

14                  MR. TOBIN:   Your Honor, may 146 come into evidence?

15                  THE COURT:   Yes.   It's received.

16                  (Exhibit 146 admitted into evidence.)

17     Q.    And sir, directing your attention to the top of it, where

18     it says, "Location to be opened, street," what does it say

19     there?

20     A.    Kilburn Street.

21     Q.    And the name of your company, does it appear under the

22     applicant box also at the top of the screen?

23     A.    Correct.

24     Q.    And the contact person on the right is listed as you,

25     Michael Khoury; is that true?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 10 of 235
                                                                         10-10




 1     A.    That's correct.

 2     Q.    And if we go down to "excavating information" where it

 3     says "purpose, size pipe, pipe material," that information, who

 4     placed that information on this?

 5     A.    Pretty much we do.

 6     Q.    Okay.

 7     A.    Knowing the type of the job it is.

 8     Q.    And again, the title of this document, if you look at the

 9     very top of the form, is what?

10     A.    "Street Opening Application and Permit."

11     Q.    And there's a date.     Was that date written in by you when

12     you filed it?

13     A.    Could be.

14     Q.    And the date on this form is what?

15     A.    3-9-17.

16     Q.    Again, that, of course, would be March 9 of 2017; is that

17     accurate?

18     A.    Correct.

19     Q.    But, again, the work had already been done by this point;

20     is that true?

21     A.    That's true.

22     Q.    And sir, is there a start date box on this form?

23                 MR. TOBIN:   If we can make the form a little larger.

24     A.    March 2, 2017.

25     Q.    Was that actually accurate, March 2, 2017?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 11 of 235
                                                                         10-11




 1     A.    I do not exactly remember.      Maybe when we did the job was

 2     March 2.

 3     Q.    Well, sir, this is dated March 9, 2017.        You did the work

 4     before then, didn't you?

 5     A.    Yes.

 6     Q.    And do you recall when you did the work?

 7     A.    I'm thinking March 2.

 8     Q.    Do you know when you did the work?

 9     A.    I can't remember, to be honest with you.

10     Q.    Okay.    But sometimes these forms are filed after the work?

11     A.    Mm-hmm.    Rarely.

12     Q.    In this instance, who asked you to file the form?

13     A.    I believe the city engineer back then, just for formality.

14     Q.    Sir, and if you turn the page to 147.

15                  MR. TOBIN:    I don't have anything on my screen.    Do we

16     have 147?     Can he see it?

17                  Excuse me, Your Honor.

18     Q.    Sir, I'd ask you to look at your tab on tab 147.

19     A.    Mm-hmm.

20     Q.    And do you recognize what that document is?

21     A.    Yes.

22     Q.    What is that?

23     A.    It's called a trench permit.

24     Q.    Is it the one you pulled for this job?

25     A.    Yes, it's part of the same permit.        When you do it, you do
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 12 of 235
                                                                            10-12




 1     both.

 2     Q.      Very good.

 3                 MR. TOBIN:   Your Honor, if we could please move 147

 4     into evidence.

 5                 THE COURT:   Yes, it's received.

 6                 (Exhibit 147 admitted into evidence.)

 7     Q.      And, again, that's another document that you received or

 8     that you applied for after the work.        Is that true?

 9     A.      Correct.

10     Q.      And sir, how much did this job cost?      What did you bill

11     the city for this?

12     A.      I believe before we even started we discussed it at 11,000

13     for the total.

14     Q.      And is it your recollection that the bill after the work

15     was done was for approximately 11,000?

16     A.      Exactly.

17     Q.      Now, how were you paid by the city for this job?

18     A.      So as the job was done, I got approached by Mr. Perry, and

19     he said, "We'll be paying you as we plow."         It was plowing

20     season.    And whatever hours we put in for every storm, they

21     pretty much doubled the money up to a certain amount.             And when

22     the season was over, whatever was left over, we sent a separate

23     bill for the balance.

24     Q.      Now, sir, if we may focus for a moment.      You did plowing

25     work and you were paid the going rate for plowing work?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 13 of 235
                                                                         10-13




 1     A.    Correct.

 2     Q.    You would submit bills for the plowing work?

 3     A.    Usually they track the hours.       I don't submit bills.

 4     Q.    Okay.   And then you would get paid for the plowing work?

 5     A.    Yes.

 6     Q.    But at the same time, you were paid additional money.        Is

 7     that accurate?

 8     A.    Same exact amount of whatever storm it was, you know.

 9     Q.    And that extra money, that same exact amount that wasn't

10     for plowing, what was that for?

11     A.    To cover the bill for the fire line.

12     Q.    Was that an unusual circumstance?

13     A.    It was a little bit unusual, yes.

14     Q.    When the season ended and the snow stopped falling, were

15     you still owed a balance on that $11,000?

16     A.    Correct.

17     Q.    And did you bill the city?      Did you send them an invoice

18     for the balance of what you were owed?

19     A.    Well, it took almost three months for them to respond or

20     so.   So finally she said -- the secretary sent us the balance

21     on our bill in a way, and we pay it.

22     Q.    And sir, I'd ask you to open your binder to the next

23     exhibit, 148.     Do you recognize what that is?

24     A.    Yes.

25     Q.    What is it?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 14 of 235
                                                                         10-14




 1     A.    It's our invoice.

 2                MR. TOBIN:    Your Honor, may this be introduced as

 3     Exhibit 148?

 4                THE COURT:    It may.   It's received.

 5                (Exhibit 148 admitted into evidence.)

 6     Q.    Sir, this is the invoice from Khoury Excavating?

 7     A.    This is for the balance.

 8     Q.    For the balance, yes, sir.

 9     A.    Not the original invoice.

10     Q.    And the date that this was drafted and sent to the city,

11     is there a date on this document?

12     A.    7-3-2017.

13     Q.    And is there an address, the work address where the work

14     had been done?

15     A.    367 Kilburn.

16     Q.    And the amount of money you are asking for in this final

17     payment?

18     A.    The balance was 7,950.

19     Q.    So it started at 11, and it went down to 7,950?

20     A.    Correct.

21     Q.    Because of the payments you got, interim payments you got

22     during snow season?

23     A.    That's correct.

24     Q.    And sir, I'd ask you now to turn to the next tab in your

25     binder, which is 149.      Do you recognize that document as the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 15 of 235
                                                                         10-15




 1     purchase order from the city?

 2     A.    This is, I believe, a copy of the check.

 3     Q.    Okay.   And it's for the work that was done on Kilburn

 4     Street?

 5     A.    Correct.

 6                 MR. TOBIN:   May 149, Your Honor, be introduced into

 7     evidence?

 8                 THE COURT:   Yes, it's received.

 9                 (Exhibit 149 admitted into evidence.)

10     Q.    And this reflects the payment by the city to you of

11     $7,950; is that accurate?

12     A.    Correct.

13                 MR. TOBIN:   No further questions.

14                 THE COURT:   All right.    Mr. Reddington.

15     CROSS-EXAMINATION BY MR. REDDINGTON:

16     Q.    Good morning, sir.

17     A.    Good morning.

18     Q.    Just a couple of questions, sir.       The reference to the

19     property at 367 Kilburn that we're talking about, were you,

20     yourself, aware of the history, in other words, what happened

21     to that fire line and why it had to be replaced?          Did you have

22     any knowledge of that at all?

23     A.    We learned about it after the fact.

24     Q.    You knew that the history would be that the city in June

25     of 2014 took possession of the King Philip Mill buildings on
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 16 of 235
                                                                         10-16




 1     386 Kilburn Street.      Did you know where the King Philip Mill

 2     buildings were?

 3     A.    Yes.

 4     Q.    And the buildings, the King Philip Mill buildings, had

 5     been part of a larger complex which originally included

 6     buildings at 379 Kilburn, formerly known as the Korber Hat Mill

 7     at 394 Kilburn.     Do you know where that is located?

 8     A.    Yes.

 9     Q.    And those buildings were subdivided from 386 Kilburn prior

10     to a tax taking.     When the fire service water line was

11     originally installed, it was designed as a single loop

12     providing fire service to all of those buildings.          Do you know

13     what that means, a single loop?

14     A.    Exactly, that's correct.

15     Q.    So what does that mean, "a single loop"?

16     A.    Meaning one line that fed all -- pretty much the whole

17     complex and other properties.

18     Q.    And 379 Kilburn had four buildings with two connections to

19     the fire service loop.      And then in 2014, the owner upgraded

20     one of the fire service lines by connecting the city's water

21     line in Kilburn Street.      Did you know that?

22     A.    Yes.

23     Q.    And in March of '17, current owner, Tony Costa, who had

24     purchased that property in June of 2016, discovered that the

25     separate fire service line had been cut when the fire service
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 17 of 235
                                                                         10-17




 1     loop at 386 Kilburn was disconnected.        Right?

 2     A.     I don't know any of that information, to be honest with

 3     you.

 4     Q.     Okay.   Did you know that the city actually had

 5     disconnected and ripped up that one line that was feeding all

 6     of those buildings?      Did you know that?

 7     A.     I knew that after the fact.

 8     Q.     Okay.   And in March of '17, there was a request to restore

 9     the fire service lines to 379 Kilburn, mailing address would be

10     367, which is Mr. Costa's building, that the city had

11     disconnected in 2015.      So it was about two years prior that

12     they had disconnected the fire line, right?

13     A.     If you say so.    Like I said, I only learned all of this

14     after the installation.

15                 THE COURT:   Just a moment.

16                 MR. TOBIN:   I'm sorry.

17                 THE COURT:   The jury understands that the witness has

18     indicated he doesn't have any knowledge of that, and so unless

19     there's other evidence of this, you'll assume that there's no

20     evidence.

21     Q.     And Khoury Excavating, that would be you, was hired to

22     reinstall this fire line by tapping into the existing city fire

23     line, correct?

24     A.     Correct.

25     Q.     Water line, I should say.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 18 of 235
                                                                         10-18




 1           And you knew that the city had done an investigation into

 2     what happened in the history, and the city was responsible to

 3     reconnect the fire service?

 4                MR. TOBIN:    Objection.

 5     Q.    If you know.

 6     A.    That would be their --

 7                THE COURT:    Just a moment.    I'm sorry, Mr. Khoury,

 8     just a second.

 9                I'm going to overrule the objection.        The witness can

10     answer to the best of his knowledge, and the jury is instructed

11     on how they use a question and answer as to which they find

12     there's no underlying information.

13                So you can answer the question, Mr. Khoury.

14     A.    I mean, if the city wants to reconnect and feel

15     responsible for it, I'm sure they would go ahead and do that.

16     Q.    Right.   Ultimately that's what happened.        A determination

17     was made that the city was responsible to reconnect that fire

18     service, right?

19     A.    Could be.

20                MR. REDDINGTON:      That's all I have.   Thank you.

21                MR. TOBIN:    Very briefly, Your Honor.

22                THE COURT:    Yes.

23     REDIRECT EXAMINATION BY MR. TOBIN:

24     Q.    Sir, are you aware that in the City of Fall River, if a

25     homeowner pays for excavation like this, there's an entire
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 19 of 235
                                                                         10-19




 1     process that they can go through with the city to be

 2     reimbursed.     Are you aware of that procedure?

 3     A.    Only if it's the city's fault, yes.

 4     Q.    And that determination is made by an organization or a

 5     part of the city after a hearing or after an investigation; is

 6     that correct?

 7     A.    Part of the city, correct.

 8     Q.    That didn't have to be done here because the work was done

 9     by the city from the get-go; is that right?

10     A.    Yes.

11                  MR. TOBIN:   Thank you.    No further questions.

12     RECROSS-EXAMINATION BY MR. REDDINGTON:

13     Q.    Did you know that the city, in fact, did an investigation

14     into the responsibility and assumed responsibility for the

15     project?

16     A.    No, no knowledge of any of that.

17                  MR. REDDINGTON:    Okay.   Thank you.

18                  THE COURT:   All right.    You may step down, Mr. Khoury.

19     Thank you.     If you could take that sleeve off the top of the

20     microphone.

21                  MR. TOBIN:   Your Honor, the United States next calls

22     John Perry.

23                  THE COURT:   All right.

24                  JOHN PERRY, JR., Sworn

25                  COURTROOM CLERK:   Please be seated and state your full
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 20 of 235
                                                                           10-20




 1     name, and please spell your last name.

 2                   THE WITNESS:   John Perry, Jr., P-e-r-r-y.

 3                   MR. TOBIN:   Your Honor, may the witness remove his

 4     mask?

 5                   THE COURT:   Yes.

 6                   MR. TOBIN:   May I inquire?

 7                   THE COURT:   Yes.

 8                   MR. TOBIN:   Thank you, Your Honor.

 9     DIRECT EXAMINATION BY MR. TOBIN:

10     Q.      Good morning, sir.

11     A.      Good morning.

12                   THE COURT:   Just a moment.   One further activity.      If

13     you could put a shield on top of that microphone there.           To

14     your left is that kind of shield.

15                   Now you can proceed, Mr. Tobin.

16                   MR. TOBIN:   Thank you, Your Honor.

17     Q.      Sir, how old are you?

18     A.      45.

19     Q.      Where do you live?

20     A.      Westport, Massachusetts.

21     Q.      Where do you work?

22     A.      City of Fall River.

23     Q.      What position do you hold?

24     A.      I'm the director of community maintenance.

25     Q.      What are your primary duties and responsibilities as the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 21 of 235
                                                                         10-21




 1     director of community maintenance?

 2     A.    I oversee several departments, which include DPW, parks,

 3     cemeteries, trees, traffic and engineering.

 4     Q.    How long have you held that position?

 5     A.    Between interim and official director position, a little

 6     over three years.

 7     Q.    How long have you worked for the City of Fall River?

 8     A.    For 21 years.

 9     Q.    Prior to the current position you have, what did you do;

10     what was your history with the city?

11     A.    I was the director of operations for DPW.         Prior to that,

12     I worked in DPW from the start and I worked my way up.

13     Q.    Sir, you mentioned that at one point you were the interim

14     director and you now are the director; is that true?

15     A.    That is correct.

16     Q.    At some point when you were interim director, was the

17     mayor Jasiel Correia?

18     A.    Yes.

19     Q.    In fact, did he ultimately and finally appoint you as the

20     permanent director?

21     A.    That is correct.

22     Q.    Now, in your current position and the position that you

23     had under Mayor Jasiel Correia, was the excavation of streets

24     and sidewalks within the City of Fall River under your domain?

25     A.    Yes, through the engineering department.         Each department
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 22 of 235
                                                                         10-22




 1     I run has a manager that is also involved.

 2     Q.      What about the water pipes or the fire line pipes, does

 3     that -- did that fall under your jurisdiction?

 4     A.      It does not.   That falls under public utilities.

 5     Q.      But in order to get to subterranean pipes, they have to go

 6     through the street or the sidewalk; is that correct?

 7     A.      That's correct.

 8     Q.      And your department ultimately issues the permits and

 9     things of that nature; is that accurate?

10     A.      Correct.

11     Q.      Sir, I want to ask you some questions about early 2017.

12     At that time did you get a call from Mayor Correia about a

13     certain address on Kilburn Street and work that needed to be

14     done?

15     A.      I did.

16     Q.      And were you at work at that time?

17     A.      I'm sorry?

18     Q.      Were you at work when you got the call?

19     A.      Yes.

20     Q.      And was it a call or a visit?

21     A.      It was a call.

22     Q.      And you've indicated it was from Mayor Jasiel Correia?

23     A.      That is correct.

24     Q.      What did he ask you or what did he say to you during that

25     call?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 23 of 235
                                                                            10-23




 1     A.    He stated that Mr. Costa was having an issue with the

 2     water line at his Kilburn Street property and he wanted me to

 3     get it taken care of.

 4     Q.    Did he indicate why -- when he said -- what did he say

 5     again?    What was the words he used?

 6     A.    He indicated -- he said that Mr. Costa was having an issue

 7     with his water line, and he wanted me to get it taken care of.

 8     Q.    Wanted you to get it taken care of.        What did you

 9     understand that to mean?

10     A.    Well, I asked him that question.       And he stated that he

11     wanted us to figure out what the problem was, and I asked him

12     if we were taking care of it or if Mr. Costa was as far as

13     paying for it, and he stated that we would be doing that.

14     Q.    Was that somewhat unusual, that the mayor would call about

15     a specific water line?

16     A.    About a water line, to me, yes.

17     Q.    Was it unusual that the mayor was suggesting or asking or

18     telling you that the city would take care of it; they would pay

19     for it?

20     A.    For a water line, yes.

21     Q.    Now, sir, if excavation of this nature is -- when it's

22     done, who is it typically paid for -- who pays for it?

23     A.    If it's a city issue, the city would pay for it.            If it's

24     a property owner's issue, the property owner would pay for it.

25     Q.    Now, are you aware or can you describe the process that a
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 24 of 235
                                                                          10-24




 1     property owner goes through to be reimbursed by the city for

 2     work that is done by them or paid for by them?

 3     A.      So if there's a dispute as to who is responsible for the

 4     repair, whether it would be the city or the property owner, the

 5     property owner is responsible for taking care of the repair,

 6     paying for it, and then they can file a claim with the law

 7     department for reimbursement after the fact.

 8     Q.      And who adjudicates that claim, who decides if the city is

 9     actually going to pay for it?

10     A.      That would be the law department.

11     Q.      The law department?

12     A.      Yes, sir.

13     Q.      And do you know, do they hold hearings, do they review

14     evidence?    What is it that they do?

15     A.      A claim form is filled out.     Whatever estimates, bills,

16     invoices would be submitted as a file to the law department and

17     they would review that.

18     Q.      And how long does this process take from the time that a

19     homeowner looking to be reimbursed, a homeowner claiming that

20     the city caused this problem, how long does it typically take

21     from the application to the city finally deciding whether or

22     not they'll pay for it?

23     A.      It all depends on how convoluted the issue is.        I'm not

24     sure.    It would depend on the issue.

25     Q.      Did you previously indicate six months to one year?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 25 of 235
                                                                         10-25




 1     A.    It could be six months to a year or even longer.

 2     Q.    In this instance, with regard to Mr. Costa's property on

 3     Kilburn Street, did he have to file a request for the city to

 4     cover the bill?

 5     A.    No.   I paid the bill.

 6     Q.    And at the time that the mayor asked you to pay for it,

 7     what did you think about the request?

 8     A.    I thought it was odd, but the mayor was asking me to take

 9     care of it, so I did.

10     Q.    And are you aware, sir, that not too long ago the city

11     did, in fact, investigate that job to determine whether or not

12     the city would have or should have paid for it?          Do you

13     understand that that took place?

14     A.    I did.

15     Q.    And what was the determination that was made ever so

16     recently?

17     A.    The city had taken a mill across the street from the

18     Kilburn Street property in question.        We had cut off the water

19     line due to a leak and inadvertently cut off the fire lines to

20     the Kilburn Street property.

21     Q.    And if Mr. Costa had followed normal procedure and paid

22     for it himself, he could have been reimbursed; isn't that true?

23     A.    That is true.

24     Q.    After the investigation?

25     A.    Correct.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 26 of 235
                                                                         10-26




 1     Q.      The investigation, which in this instance, didn't have to

 2     happen because the city paid for it before there was an

 3     investigation; is that true?

 4     A.      Correct.

 5                 MR. TOBIN:   Thank you.    Nothing else.

 6     CROSS-EXAMINATION BY MR. REDDINGTON:

 7     Q.      Sir, just a couple of questions.     You know Tony Costa,

 8     right?

 9     A.      I do.

10     Q.      You're actually almost like best friends with Tony Costa,

11     right?

12     A.      I wouldn't say best friends, no, sir.

13     Q.      But you socialize with him, you are friendly with him?

14     A.      I speak to him when I see him.     We've never been out

15     socially.

16     Q.      How long have you known Mr. Costa?

17     A.      Shortly after Mayor Correia was elected, I was introduced

18     to him.

19     Q.      Who introduced you to him?

20     A.      Hil Camara.

21     Q.      Now, counsel had asked you some questions about the city

22     and investigating into the history, if you will, of this fire

23     line.    And you indicated, I believe, you were aware that back

24     in 2014 the city took over the King Philip Mill buildings,

25     right?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 27 of 235
                                                                         10-27




 1     A.    Correct.

 2     Q.    And at some point the water line or the fire line was

 3     disconnected and it was one loop for all of those buildings,

 4     right?

 5     A.    That is correct.

 6     Q.    So when Mr. Costa purchased his building on Kilburn

 7     Street, I believe in June of 2016, that's when there was a

 8     determination that the water feed to the sprinkler system in

 9     that building was not operable, right?

10     A.    Yes.

11     Q.    And that was an emergency.      It had to be replaced and it

12     had to be replaced fast, correct?

13     A.    I can't answer that question.       I'm not sure what the

14     inspector told Mr. Costa.

15     Q.    And you know, sir, that the fire line service was, in

16     fact, connected and reinstalled, and it was a determination

17     that the city disconnecting that fire service line determined

18     that the city is responsible to reconnect the fire service, not

19     the owner, right?

20     A.    Could you repeat that, sir.

21     Q.    That the city disconnected the fire service line so the

22     city determined that they were responsible to reconnect the

23     fire service?

24     A.    After the fact, yes, sir.

25     Q.    For payment, right?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 28 of 235
                                                                            10-28




 1     A.    After the fact, yes.

 2     Q.    For payment, right?

 3     A.    For payment?

 4                MR. REDDINGTON:    Thank you.    That's all I have, Your

 5     Honor.    Thank you.

 6                THE COURT:    All right.    Anything further, Mr. Tobin?

 7                MR. TOBIN:    No, Your Honor.    Thank you.

 8                THE COURT:    You may step down, Mr. Perry.      If you

 9     could take the top off the microphone, it would be helpful.

10                THE WITNESS:    Yes, sir.

11                MR. HAFER:    Your Honor, I neglected to mention this

12     morning, with your permission, prior to the start of the next

13     witness I'd like to read the stipulation regarding Count X --

14                THE COURT:    Okay.

15                MR. HAFER:    -- with the court's permission.

16                THE COURT:    Yes, you may.    And while you're doing

17     that, perhaps we'll get the witness in here as well.

18                MR. HAFER:    Yes, Your Honor.

19                THE COURT:    So before we hear from this witness, you

20     can read to the jury the stipulation.

21                MR. HAFER:    Thank you, Your Honor.     We'll do the same

22     thing, if that's okay, just publish it on the screen while I'm

23     reading.

24                THE COURT:    Yes, that's fine.

25                MR. HAFER:    This is titled "Stipulation Regarding
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 29 of 235
                                                                         10-29




 1     Count X.    The parties hereby stipulate and agree as follows:

 2     Defendant Jasiel F. Correia, II, was an agent of an

 3     organization or of a state, local or Indian tribal government

 4     or agency thereof, namely the City of Fall River, as referenced

 5     in Title 18, United States Code, Section 666(a)(1) and (a)(2)

 6     and defined in 18 U.S.C. Section 666(d)(1).

 7                "The City of Fall River, Massachusetts, Fall River,

 8     was a local government as referenced in 18 U.S.C. Section

 9     666(a)(1) and (2) and defined in 18 U.S.C. Section of

10     666(d)(3).

11                "The City of Fall River, Massachusetts received in

12     excess of $1 million in federal assistance from the United

13     States Department of Housing and Urban Development, HUD, in the

14     one-year period between July 1, 2017 and June 30, 2018, and in

15     excess of $1 million in the one-year period between July 1,

16     2018 and June 30, 2019.      These funds constituted benefits under

17     a federal program involving a grant, contract, subsidy, loan,

18     guarantee, insurance or other form of federal assistance as

19     required by 18 U.S.C. Section 666(b)."

20                THE COURT:    All right.

21                Ms. Beatty, you can swear the next witness.

22                JOSEPH I. MACY, Sworn

23                COURTROOM CLERK:     Please state your full name, and

24     please spell your last name.

25                THE COURT:    If you could give us your last name, spell
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 30 of 235
                                                                             10-30




 1     the last name.      And if you could put the cap on top of the

 2     microphone, and you can take your own mask off.

 3                   THE WITNESS:   Is this it, Your Honor?

 4                   THE COURT:   Yes.   And you can take your mask off at

 5     this point.

 6                   THE WITNESS:   If everybody could speak up, I'd

 7     appreciate it.

 8                   THE COURT:   I'm sorry.    If you would take your mask

 9     off at this point.

10                   THE WITNESS:   Okay.    That's a relief.   Thank you.

11                   THE COURT:   And Mr. Hafer is going to be examining

12     you.   Keep the microphone between you and Mr. Hafer so it can

13     pick up your voice as well.          All right?

14                   THE WITNESS:   Yeah.    Thank you, Your Honor.

15                   THE COURT:   Mr. Hafer.

16     DIRECT EXAMINATION BY MR. HAFER:

17     Q.     Good morning, sir.

18     A.     Good morning.

19     Q.     How old are you?

20     A.     How old am I?

21     Q.     Yes.

22     A.     I'll be 78 in a month.

23     Q.     What town do you live in?

24     A.     Excuse me?

25     Q.     What town do you live in?        Where do you live?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 31 of 235
                                                                         10-31




 1     A.      I live in Fall River.

 2     Q.      Are you are currently working or are you retired?

 3                    THE COURT:   If I may --

 4     A.      I would say I'm semi-retired.     I have a couple of cases

 5     I'm working on but --

 6                    THE COURT:   If I may interrupt, I don't think that we

 7     have on the record the witness's name.

 8                    MR. HAFER:   Oh, I'm sorry, Your Honor.

 9     Q.      Sir, could you state your name and spell your last name

10     for the record.

11     A.      Joseph I. Macy, M-a-c-y.

12     Q.      What was the last job you held before your semi-retirement

13     status, sir?

14     A.      I was corporation counsel in Fall River until January 6,

15     2020.    That was my last day of work.

16     Q.      Approximately how long, how many years, did you hold the

17     corporation counsel job in the City of Fall River?

18     A.      Approximately five.     I was appointed by Mayor Sutter July

19     13, 2015.

20     Q.      Were you the corporation counsel under Mayor Jasiel

21     Correia?

22     A.      Yes.

23     Q.      Prior to being the corporation counsel in the City of Fall

24     River, how were you employed?

25     A.      Working backwards, I was a judge in the Commonwealth of
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 32 of 235
                                                                          10-32




 1     Massachusetts from 1998 to 2015.        Prior to that, I was in

 2     private practice for 30 years.       Prior to that, I served in the

 3     U.S. Army.    And prior to that, I was in law school.

 4     Q.    You indicated you were the corporate counsel under Mayor

 5     Jasiel Correia.

 6     A.    Yes.

 7     Q.    In addition to the professional relationship, did you have

 8     a personal relationship with Mayor Correia?

 9     A.    We had a social relationship, yeah.

10     Q.    And could you just describe that, what types of social

11     activities you would do together.

12     A.    Well, I suppose it's hard to separate social from

13     political.    But from time to time, we would go together to

14     political functions, both in Boston and Fall River and New

15     Bedford.     He came to my house a couple of times on Halloween

16     for trick or treat.      He was supposed to give out the candy.      He

17     didn't.    I did.   He visited with my wife.      We would go out to

18     dinner, just the two of us, maybe every two to four months.

19     During debate time, I would participate in debate prep.           After

20     the debates, we'd usually go out to eat.

21     Q.    As corporate counsel did you have regular interaction at

22     work with Jasiel Correia when he was the mayor?

23     A.    Yes.

24     Q.    Could you briefly describe just what your day-to-day

25     responsibilities were as corporate counsel for the City of Fall
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 33 of 235
                                                                             10-33




 1     River.

 2     A.    General responsibilities of the corporation counsel, the

 3     way Fall River is constituted, is the corporation counsel has

 4     general charge of all the legal affairs of the city.              It's the

 5     corporation counsel that brings suits, defends suits, renders

 6     opinions to the mayor, the city council, the various department

 7     heads, signs off on all contracts, prepares contracts, if

 8     necessary, prepares deeds, if necessary, and in general

 9     fulfills the obligations of what I would consider to be general

10     counsel.

11     Q.    Mr. Macy, as corporate counsel for the City of Fall River,

12     were you involved in the city's issuance of Non-Opposition

13     Letters and Host Community Agreements?

14     A.    Yes.

15     Q.    Very generally first, sir, what was your involvement in

16     that process?

17     A.    Well, from time to time I would actually meet with people

18     who were interested in doing business in Fall River.              My direct

19     responsibility as corporation counsel was, I usually drafted

20     the Letters of Non-Opposition and drafted the Host Community

21     Agreements and then interacted with usually the lawyers for the

22     vendors to get everything signed, forwarded to them, and then

23     it was up to them to deal with the Department of Public Health

24     or the conservation -- not the Conservation Commission, I'm

25     sorry -- the Cannabis Control Commission.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 34 of 235
                                                                          10-34




 1     Q.      In essence, what did these Non-Opposition Letters say?

 2     You said you drafted them.       What was the essence of what they

 3     said?

 4     A.      The Non-Opposition Letter really was pretty much dictated

 5     by the requirements of the Cannabis Control Commission.           It

 6     essentially said that the city, in this case the City of Fall

 7     River, had no opposition to the location of a marijuana

 8     dispensary, usually described at a particular location, and it

 9     also certified that the zoning for that location was

10     appropriate.

11     Q.      And in your understanding, was this Non-Opposition Letter

12     and the Host Community Agreement something that was required

13     for applicants seeking to operate marijuana businesses in

14     Massachusetts?

15     A.      It was required for submission to the Cannabis Control

16     Commission.    They were the ultimate approving authority.

17     Q.      Understanding that they were the ultimate approving

18     authority, did applicants need the letter from the city to

19     submit as part of their package to the Cannabis Commission?

20     A.      They needed both the letter and the Host Community

21     Agreement before they could submit to the Cannabis Control

22     Commission.

23     Q.      Mr. Macy, as the corporate counsel for the City of Fall

24     River, did you produce documents to the government in this case

25     in response to grand jury subpoenas?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 35 of 235
                                                                         10-35




 1     A.    Yes.

 2     Q.    And in approximately July of 2019 in particular, did you

 3     produce documents and a summary of the approval process in the

 4     City of Fall River?

 5     A.    Yes.

 6     Q.    Sir, you have a binder in front of you.        Could I ask you

 7     to take a moment and turn to tab 150, 1-5-0.

 8     A.    I have it.

 9     Q.    Do you recognize the document at tab 150?

10     A.    I recognize that page, yes.

11     Q.    Okay.    What is that generally?     What is that?

12     A.    That's a copy of one of the answers I gave to you in

13     response to, I guess it was the subpoena.         I thought it was a

14     request, but it could have been the subpoena.          Anyway, I wrote

15     it.

16                  MR. HAFER:   I offer Exhibit 150, Your Honor.

17                  THE COURT:   It's received.

18                  (Exhibit 150 admitted into evidence.)

19                  MR. HAFER:   Ms. DiPaolo, could you highlight the top

20     half of it.

21     Q.    Mr. Macy, this is a lengthy document.        I don't want to

22     read the entire document but just to establish the record, fair

23     to say this was a summary you provided as to how the process

24     for obtaining Non-Opposition Letters and Host Community

25     Agreements was implemented in Fall River.         Is that fair to say?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 36 of 235
                                                                         10-36




 1     A.    Yes.

 2     Q.    I'm going to just read in part from the document Exhibit

 3     150 in evidence.     You indicate that the process is governed by

 4     Mass. General Laws and the jurisdiction of the Cannabis

 5     Commission, correct?

 6     A.    Yes.

 7     Q.    In the next paragraph, you then state that an applicant

 8     must first receive the Letter of Non-Opposition and a Host

 9     Community Agreement with the host community; is that correct?

10     A.    That's correct.

11     Q.    The next paragraph you indicate there's not a specified

12     process by which one may apply for a letter and that there's

13     not a standard form or checklist that needs to be filled out;

14     is that correct?

15     A.    That's correct.

16     Q.    You then go on to elaborate that the process in Fall River

17     evolved over time, right?

18     A.    That's correct.

19     Q.    You indicate that generally requests were made either

20     directly to the mayor's office, the corporation counsel's

21     office or by an inquiry to one of the city departments; is that

22     right?

23     A.    That is right.

24     Q.    And you were the corporate counsel's office, correct?

25     A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 37 of 235
                                                                          10-37




 1                  MR. HAFER:    Ms. DiPaolo, could I have the next...

 2     Q.    Just going again through the document, you indicate that

 3     there's a lot of telephone inquiries that come in, and people

 4     who call in are told they have to submit their site, their

 5     experience and their financing; is that right?

 6     A.    That's right.       Most of the telephone inquiries were really

 7     overly general:     How do I get a license?      What's the law?   And

 8     generally I would refer those people to the Cannabis Control

 9     Commission or the statute.       But I did, when I spoke to them at

10     least, asked for a letter or proposal.

11     Q.    Going to the next paragraph, you indicate the process that

12     the city followed when a written proposal was received.           You

13     said typically a meeting would be scheduled.         That would be

14     attended by Mayor Correia and yourself; is that correct?

15     A.    Usually that would be the process, yes.

16     Q.    And at that meeting, the applicant would make some formal

17     presentation.     Any followup that had to be done would be

18     discussed.     Is that fair to say?

19     A.    Right.

20     Q.    Going to the next paragraph, you indicate if, after

21     evaluating the applicant and the plan, the mayor approves, a

22     Letter of Non-Opposition is issued and a Host Community

23     Agreement is executed; is that correct?

24     A.    Yes.

25     Q.    So who had the authority in Fall River at the time to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 38 of 235
                                                                         10-38




 1     approve Non-Opposition Letters?

 2     A.    The mayor.

 3     Q.    You indicate the letter is in statutory form and that the

 4     Host Community Agreements are sort of standard boilerplate, if

 5     you will, legal documents; is that fair to say?

 6     A.    After the first Host Community Agreement, that was right,

 7     we used the same or tried to use the same one for every vendor.

 8     Q.    Then finally, sir, the last paragraph indicates that after

 9     the process is complete in Fall River, the applicant then needs

10     to take the Non-Opposition Letter and the Host Community

11     Agreement and move on to the Cannabis Control Commission; is

12     that fair to say?

13     A.    That's correct.

14     Q.    Based on your time as corporation counsel for Mayor Jasiel

15     Correia, do you know approximately how many Non-Opposition

16     Letters were issued by the city?

17     A.    I'm pretty sure by the time I left there were 14 and 14

18     Host Community Agreements.

19     Q.    Did you ever have a conversation with Mayor Correia where

20     he told you that he had agreed with certain vendors that he was

21     going to limit that number to only four or five?          Did you ever

22     have that conversation with him?

23     A.    No.

24     Q.    Mr. Macy, I assume you're generally aware of the

25     allegations regarding corruption in this case.          Do you have a
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 39 of 235
                                                                             10-39




 1     general awareness of the allegations?

 2     A.     Am I aware of the allegations?      Yeah.

 3     Q.     Yes, just generally.

 4     A.     Yes.

 5     Q.     At any point during the time you were corporation counsel

 6     for Mayor Correia, did you have a conversation with him where

 7     he told you he was taking money and things of value in return

 8     for Non-Opposition Letters?

 9     A.     Absolutely not.

10     Q.     Did you have any idea there was anything going on with

11     respect to money in return for Non-Opposition Letters?

12     A.     No.

13     Q.     Are you familiar with a man by the name of Charles Saliby?

14     A.     Yes, I am.

15     Q.     Who is Charles Saliby?

16     A.     He is a young fellow who owns, I believe, Guimond Farms --

17     it might have a different name now -- Convenience Store in Fall

18     River.

19     Q.     And was Mr. Saliby trying to open a marijuana business in

20     Fall River during the time you were corporation counsel?

21     A.     Yes, he did.

22     Q.     Could you turn, Mr. Macy, if you wouldn't mind, to tab

23     152.

24     A.     Yes, I have it.

25     Q.     There's actually two separate documents in 152.            What are
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 40 of 235
                                                                         10-40




 1     those?

 2     A.    The first one is an amendment to the Host Community

 3     Agreement for a company called Greener Leaf, and the other is a

 4     Host Community Agreement between Fall River and Charles Saliby.

 5     Q.    And Greener Leaf, to be clear, was Charles Saliby's

 6     marijuana business; is that right?

 7     A.    Yes.

 8                  MR. HAFER:   Your Honor, I offer 152.

 9                  THE COURT:   It's received.

10                  (Exhibit 152 admitted into evidence.)

11                  MR. HAFER:   Can I actually have the second document

12     first, Ms. DiPaolo, next page.

13     Q.    You indicated --

14                  MR. HAFER:   And could you highlight down through the

15     background section.

16     Q.    You indicate here that this is a Host Community Agreement

17     between Mr. Saliby and the City of Fall River; is that correct,

18     Mr. Macy?

19     A.    What's on my screen says "Background."        So yes, that's the

20     first page of the Host Community Agreement.

21                  MR. HAFER:   Now Ms. DiPaolo, could I have the next

22     page, section 2 at the top, highlighted.         Actually, the two --

23     both paragraphs, please.

24     Q.    The Host Community Agreement, Mr. Macy, essentially said

25     that the marijuana vendor or was going to agree, had to agree
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 41 of 235
                                                                            10-41




 1     to pay a portion of his or her sales or proceeds to the city

 2     every year for the right to operate; is that correct?

 3     A.      I'm not sure I'd phrase it that way.

 4     Q.      How would you phrase it?

 5     A.      In order to -- under our Host Community Agreement, every

 6     marijuana vendor was required to pay a $50,000 per-year fee to

 7     the city, which was permitted by the statute.          And in addition,

 8     eventually 3 percent of their gross to the city and 3 percent

 9     went to the state, which came back to the city.          So essentially

10     they paid 50,000 plus 6 percent.

11     Q.      You indicated eventually these agreements said 3 percent?

12     A.      That's right.

13     Q.      This particular agreement, if you look at the third line

14     up from paragraph 1, indicates the company will make a payment

15     of 4 percent.     Do you see that?     From paragraph 1, the third

16     line up from the bottom of the paragraph, "The company will

17     make a payment of 4 percent of gross revenue."          Do you see

18     that?

19                 THE COURT:     I think the references is to romanette i

20     in section 1.

21                 MR. HAFER:     Yes.   I'm sorry.

22     Q.      Mr. Macy, on the screen --

23     A.      I've got it now.    I see it on the screen, yes.

24     Q.      I just want to ask you.     You said eventually 3 percent.

25     Did it -- at one point it was 4 percent, and then it was
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 42 of 235
                                                                            10-42




 1     changed to 3 percent; is that fair to say?

 2     A.    For everyone, yes.

 3     Q.    For everyone.      And here, there's an original Host

 4     Community Agreement for Mr. Saliby and an amended Host

 5     Community Agreement; is that correct?

 6     A.    That's right.      The amendment --

 7     Q.    Changed it from 4 percent to 3 percent, right?

 8     A.    That's right.      And that was for everyone.

 9     Q.    Looking at Roman Numeral ii --

10                 MR. HAFER:    What was the term you used, Your Honor?

11                 THE COURT:    The new term of art I think is romanette.

12     A.    I see it.

13                 MR. HAFER:    Ms. DiPaolo, would you highlight the

14     language, "The company shall make one annual payment."

15                 THE WITNESS:    Yes, I have it.

16     Q.    Mr. Saliby's agreement here indicates that his company

17     shall make one annual payment to the city of $25,000.             Do you

18     see that?

19     A.    I do.

20     Q.    Was that the typical amount --

21     A.    No.

22     Q.    Why, to your knowledge, was Mr. Saliby's number lower than

23     the other ones?

24     A.    Mr. Saliby was in my office a lot complaining about almost

25     everything, getting his letter, and he kept claiming that his
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 43 of 235
                                                                          10-43




 1     place was so small that he couldn't afford the $50,000 a year.

 2     So I told him or I told the mayor or I told the two of them

 3     that he shouldn't be in the business if he couldn't afford it.

 4     Eventually, he persuaded the mayor that, because his place was

 5     so small, that he should only be required to pay 25,000.          And I

 6     think the mayor initially agreed, but --

 7     Q.    So who told you to change --

 8                  MR. REDDINGTON:     Can he finish his answer?    Sorry.

 9                  THE COURT:   Yes.   If you can complete your answer,

10     Mr. Macy.     You said "but."     You hadn't -- it didn't appear you

11     completed your answer.

12                  THE WITNESS:   Okay.

13                  THE COURT:   Why don't you put another question,

14     Mr. Hafer.

15     Q.    With respect to this agreement, did anyone ask you to

16     change the amount, standard amount from 50,000 to 25,000?

17     A.    Yes.

18     Q.    Who?

19     A.    The mayor.

20     Q.    Did he tell you why he wanted you to change it from 50 to

21     25?

22     A.    Yes.

23     Q.    What did he say?

24     A.    He said that because the place, Saliby's place was so

25     small, that he should only have to pay 25.         So that's what he
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 44 of 235
                                                                           10-44




 1     agreed to.    And that's why we added the second sentence.        If

 2     his square footage went over 1,500 square feet, the annual fee

 3     went up to 50.

 4     Q.    In any of the Host Community Agreements that you

 5     participated in the process of executing, did the mayor ask you

 6     to change this amount from 50 to 25?

 7     A.    No.

 8     Q.    And that 50 per year is money that goes to the City of

 9     Fall River, correct?

10     A.    Yes.

11     Q.    Did you ever have a conversation with the mayor where he

12     told you that the reason he wanted you to change it to 25 was

13     because he had made a separate deal with Mr. Saliby where

14     Mr. Saliby was going to pay him cash in return for a

15     Non-Opposition Letter?

16     A.    No, I never had that conversation.        Never heard those

17     words.

18     Q.    I'm going to switch subjects with you now, sir, and ask

19     you to please turn to tab 153.

20     A.    Yes, I have it.

21     Q.    As part of the documents you produced to the government in

22     this case, were you asked to produce the personnel file of a

23     woman named Gen Andrade?

24     A.    Yes.

25     Q.    And did you, in fact, produce that?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 45 of 235
                                                                         10-45




 1     A.    I did -- or we did.

 2     Q.    I'm sorry.    Are the documents contained at tab 153

 3     documents that came from Ms. Andrade's official Fall River

 4     personnel file?

 5     A.    Yes.

 6                  MR. HAFER:   Your Honor, I offer Exhibit 153.

 7                  THE COURT:   It's received.

 8                  (Exhibit 153 admitted into evidence.)

 9                  MR. HAFER:   Ms. DiPaolo, could I have page 3 first,

10     please.

11     Q.    Looking, if you would, at the screen in front of you,

12     Mr. Macy -- it may be easier to do it that way -- is this

13     Ms. Andrade's employment agreement with the city?

14     A.    Yes.

15     Q.    And Ms. Andrade was going to be Jasiel Correia's chief of

16     staff according to the first sentence of this agreement,

17     correct?

18     A.    That's correct.

19                  MR. HAFER:   Ms. DiPaolo, could you highlight the lower

20     portion of this document.

21     Q.    And this agreement sets out a salary of $78,780; is that

22     right?

23     A.    Yes.

24     Q.    And her employment per this agreement commenced on

25     November 27 of 2017; is that right?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 46 of 235
                                                                         10-46




 1     A.    That's right.

 2     Q.    And this indicates, actually, it's a term appointment that

 3     is good until or will continue until December 31 of 2018 under

 4     this agreement; is that right?       The paragraph titled "Term."

 5     A.    Yes.

 6                  MR. HAFER:   If I could have the second page with the

 7     signatures, Ms. DiPaolo, the next page of this agreement.

 8     Q.    And just turning to the second page, this document,

 9     Mr. Macy, is signed by -- well, who signed this document?

10     A.    It was signed by Mayor Correia on behalf of the city,

11     signed by Genoveva Andrade herself; and as with all city

12     contracts, it was approved as to form and manner of execution

13     by me.

14     Q.    Prior to approving this by form and manner of execution,

15     did you ever have a conversation with Jasiel Correia in which

16     he told you he had a separate arrangement with Ms. Andrade by

17     which she had to give him half of her salary?

18     A.    No.

19                  MR. HAFER:   Could I have page 5, please.

20     Q.    Mr. Macy, I'm putting on the screen in front of you the

21     fifth page of this exhibit.       It's titled "Policy Acknowledgment

22     Form."    Do you see that?

23     A.    I do.

24     Q.    And could you just briefly explain what this document is.

25     A.    It's a document that every employee is supposed to sign
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 47 of 235
                                                                         10-47




 1     acknowledging receipt of various employment policies from the

 2     city, the sexual harassment, drug-free workplace, the ethics

 3     commission.       They're given copies of almost all of this, and

 4     they just -- this particular form acknowledges that they

 5     received it.

 6     Q.      Including, among other things you mentioned ethics, it

 7     indicates here a conflict of interest summary, correct?

 8     A.      Yes, they're acknowledging that they got each and every

 9     one of these numbered documents.

10     Q.      And I don't think I asked this.     This is Ms. Andrade in

11     this case on or about November 16 of 2017 acknowledging that

12     she's receiving these documents and policies, correct?

13     A.      Yes.

14                    MR. HAFER:   Ms. DiPaolo, could I have page 1 of the

15     exhibit.       Could you see if you can get all the handwriting as

16     well.

17     Q.      I'm now turning to the first page of this exhibit,

18     Mr. Macy.       This is a letter dated December 14 of 2017; is that

19     correct?

20     A.      It is.

21     Q.      And I'm just going to read this letter and ask you a few

22     questions.       The letter is addressed to a Ms. -- how do you say

23     that?    Coelho?

24     A.      Madelyn Coelho.

25     Q.      Coelho.    "Dear Ms. Coelho, This letter is confirmation to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 48 of 235
                                                                         10-48




 1     pay Genoveva Andrade, chief of staff, a snow stipend in the

 2     amount of $10,000.        This stipend is to be paid half in December

 3     2017 and half in January 2018."       Have I read that correctly?

 4     A.    Yes.

 5     Q.    And who signed that letter awarding the snow stipend to

 6     Ms. Andrade?

 7     A.    Mayor Correia did.

 8     Q.    Did you ever, in connection with this snow stipend, have a

 9     conversation with Jasiel Correia in which he told you he had a

10     separate arrangement with Ms. Andrade, and she was going to

11     give him most of the money from this snow stipend?

12     A.    No, I never had that conversation.

13                  MR. HAFER:    Could I have page 2.   I think it's the

14     only one I haven't published, Ms. DiPaolo.

15     Q.    I'm just showing you the final page of this exhibit,

16     Mr. Macy.     This is a January 7 of 2019 document reflecting that

17     Ms. Andrade has resigned as chief of staff.

18     A.    I see it, yes.

19     Q.    And according to this, the effective date of the

20     resignation is January 4 of 2019; is that correct?

21     A.    That's correct.

22     Q.    Mr. Macy, as part of the series of documents and

23     productions you made to the federal government in this case,

24     were you asked to produce any particular documents in your

25     possession related to ethics, waivers, and disclosures by
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 49 of 235
                                                                         10-49




 1     certain employees of Fall River?

 2     A.    I don't recall if I was asked to produce specific

 3     documents.    My memory is I was asked to produce all documents

 4     pertaining to specific individuals, in this case, Ms. Andrade.

 5     Q.    Thank you for the --

 6     A.    Mrs. Andrade.

 7     Q.    Thank you.    And did you, in fact, produce any documents in

 8     your possession regarding conflict of interest waivers that

 9     Ms. Andrade had filled out?

10     A.    Those documents wouldn't have been in my possession, but

11     in conformance with my agreement with you and the subpoena, I

12     collected appropriate documents from the appropriate

13     departments, particularly human resources and the city clerk.

14     Q.    And in fact, after collecting those documents, did you

15     produce to the government documents related in the first

16     instance to Ms. Andrade's conflict of interest waivers?

17     A.    I produced -- yes, I produced them.

18     Q.    Could you turn to -- and this was in approximately July of

19     2019, correct, sir?

20     A.    Yes, sir.

21     Q.    That you made a --

22     A.    I would speculate -- there are a lot of requests, and I

23     answered a lot of them.      The documents I have in front of me

24     don't contain the subpoena, but that sounds about right.

25     Q.    Could you turn to tab 154.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 50 of 235
                                                                         10-50




 1     A.    Yes, I have it.

 2     Q.    Okay.    What is contained at tab 154?

 3     A.    It's a disclosure form.

 4     Q.    By whom?

 5     A.    Ms. Andrade.

 6                  MR. HAFER:   I offer Exhibit 154, Your Honor.

 7                  THE COURT:   It's received.

 8                  (Exhibit 154 admitted into evidence.)

 9     Q.    Mr. Macy, this was the only disclosure form that you

10     obtained with respect to Ms. Andrade; is that correct?

11     A.    Yes.

12     Q.    And in general, what are these conflict of interest

13     disclosures?     What's the point of them?

14     A.    Well, they're required to be filed with the city clerk

15     under the statute just to put people on notice that there is or

16     might be a conflict of interest.        It's pretty broadly viewed.

17     In this one I note that what she disclosed was her cousin

18     worked in the Mayor's office.       Sometimes there's a more

19     elaborate filing if somebody does business with the city.         But

20     that's what this one says.

21     Q.    Was this the only one you found with respect to

22     Ms. Andrade?

23     A.    Yes.

24     Q.    Were you also asked to produce whatever you could find

25     with respect to Jasiel Correia and conflict of interest
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 51 of 235
                                                                         10-51




 1     disclosures?

 2     A.    Yes.

 3     Q.    Could you turn to tab 155, please.        Do you recognize the

 4     documents at tab 155?

 5     A.    I do.

 6     Q.    What are those, Mr. Macy?

 7     A.    These are filings by Jasiel Correia as mayor with the city

 8     clerk.    Looks like there are three.

 9                  MR. HAFER:   I offer Exhibit 155, Your Honor.

10                  THE COURT:   It's received.

11                  (Exhibit 155 admitted into evidence.)

12     Q.    Mr. Macy, I'm going to go through these one at a time.        I

13     believe you said there are three in here total?

14     A.    There were three in my package, yes.

15                  MR. HAFER:   Ms. DiPaolo, can you highlight the section

16     beginning a little more than halfway down, "Appearance of

17     Favoritism Or Influence."

18     Q.    This first one, Mr. Macy, indicates that it pertains to

19     the sale of Lincoln School to a man named David Hebert; is that

20     correct?

21     A.    It is.

22     Q.    Mr. Correia on this form indicates he signed the deed and

23     that Mr. Hebert is his landlord to whom he pays monthly rent;

24     is that correct?

25     A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 52 of 235
                                                                         10-52




 1     Q.    He's essentially making that disclosure because it's a

 2     potential conflict of interest?

 3     A.    Yes.    The sale was approved by the city council but as

 4     mayor he had to sign the deed and he made the disclosure.

 5                  MR. HAFER:   Could you go to the next one, please, and

 6     could you highlight the same section.

 7     Q.    This is the second one.      Do you see the second one here

 8     related to a Mr. Hildegar Camara?

 9     A.    Yes.

10     Q.    And on this one, in essence, Mr. Correia is disclosing

11     that he appointed Hildegar Camara to a position but that

12     Hildegar Camara had invested in a startup corporation that

13     Mr. Correia organized; is that correct?

14     A.    Yes.

15                  MR. HAFER:   And could you turn to the final one,

16     Ms. DiPaolo.

17     Q.    This last one indicates it relates to the sale of a Silvia

18     School to that same individual, David Hebert, Mr. Macy; is that

19     right?

20     A.    Yes.

21     Q.    Mr. Correia makes the disclosure regarding the monthly

22     rent, right?

23     A.    That's correct.

24     Q.    When you searched Mr. Correia's ethics disclosures, were

25     there any disclosures related to the receipt of payments in
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 53 of 235
                                                                           10-53




 1     return for Non-Opposition Letters?

 2     A.    No.

 3     Q.    Were there any disclosures related to any agreements with

 4     Gen Andrade about paying him portions of her salary?

 5     A.    No.

 6     Q.    Sir, could you turn to the final tab in your binder,

 7     please, tab 156.

 8     A.    Yes, I have it.

 9     Q.    It's a two-page document.      Do you recognize that?       Maybe

10     starting with the second page is easier.

11     A.    Let me start with the first page.        Yes, I recognize it.

12     Q.    What is that, Mr. Macy?      What is tab 156?     What is

13     contained at tab 156?

14     A.    Well, the way it's presented, it's a letter from the mayor

15     to the Fall River City Council dated August 19, 2019 vetoing an

16     ordinance they passed, which is on the reverse side of the

17     document I have, attempting to limit the number of marijuana

18     licenses that could be issued by the City of Fall River.           The

19     letter speaks for itself, but essentially he's vetoing it

20     because they didn't have that authority.

21                 MR. HAFER:   Your Honor, may I offer Exhibit 156.

22                 THE COURT:   Yes, it's received.

23                 (Exhibit 156 admitted into evidence.)

24                 MR. HAFER:   Ms. DiPaolo, could I have the second page

25     first.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 54 of 235
                                                                         10-54




 1     Q.    Mr. Macy, thank you for that explanation.         I'm just going

 2     to walk you through these two documents.         You indicated there

 3     was an ordinance that the City of Fall River had passed

 4     regarding the number of marijuana licenses in the city; is that

 5     right?

 6     A.    They passed the proposed ordinance.        The ordinance wasn't

 7     -- wouldn't be law -- it wouldn't be an ordinance until it was

 8     signed by the mayor.

 9     Q.    Thank you for that clarification.

10           According to this document, the proposed ordinance reads

11     that the maximum number of marijuana licenses available at any

12     one time in the City of Fall River will be limited to 20

13     percent of off-premise liquor licenses or 11, whichever number

14     is greater, correct?

15     A.    Yes, it says that.

16     Q.    And you testified previously that, as best you recall,

17     when you left or when Mayor Correia left, at least 14 had been

18     approved, correct?

19     A.    At the time I left, yes.

20                MR. HAFER:    Could I have the first page, please.

21     Could you highlight the entire letter, if you wouldn't mind.

22     Q.    Mr. Macy, you indicated that proposed ordinance from the

23     city council was vetoed by then Mayor Correia, correct?

24     A.    That's right.

25     Q.    I'm going to read portions of this letter and just ask you
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 55 of 235
                                                                         10-55




 1     a couple of followup questions.       You refer in the first

 2     instance to the veto being because the proposed ordinance

 3     exceeded the scope of the city council's authority in some

 4     measure; is that right?

 5     A.      The first -- well, the first full paragraph says that --

 6     it says that the city council cannot -- well, it says that

 7     whether or not the city council can legally limit the number of

 8     marijuana licenses, it appears that that's within the executive

 9     authority of the Cannabis Control Commission.          So the ordinance

10     as written would only expose the city to unnecessary

11     litigation.    In other words, in English, it says you can't do

12     that.

13     Q.      Going to the second paragraph, I'm going to read it and

14     ask you a question.      It indicates, "By unilaterally and

15     arbitrarily attempting to limit the number of licenses, the

16     ordinance eliminates competition, artificially inflates the

17     value of licenses already issued, removes the legal sale of

18     marijuana products from market forces, and eliminates a

19     valuable source of additional revenue to the city."          Correct?

20     A.      Yes.

21     Q.      The next paragraph, "In addition, a sitting councillor

22     voted inappropriately to limit the number of licenses available

23     in Fall River while serving as town administrator of Seekonk, a

24     community which itself is in the process of granting marijuana

25     permissions."     Have I read that correctly?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 56 of 235
                                                                         10-56




 1     A.    That's correct.

 2     Q.    Mayor Correia is saying there's a city councilman who

 3     failed to disclose a conflict; is that right, or town

 4     administrator?

 5     A.    I don't know that he's saying he failed to disclose a

 6     conflict.    He's saying that he voted against what he considers

 7     to be the interest of Fall River to advantage another

 8     community.

 9     Q.    The next sentence says, "In limiting the number in Fall

10     River, he advantages the town by which he is employed by

11     eliminating competition and disadvantaging this city."

12     Correct?

13     A.    That's correct.

14     Q.    Does the mayor say anything in this letter about reducing

15     Mr. Saliby's annual payment from 50,000 to 25,000 for the City

16     of Fall River?

17     A.    No.    The letter answers a general question as to whether

18     the ordinance is legal, but that language is not in there, no.

19     Q.    Was the City of Fall River disadvantaged by receiving

20     $25,000 less than it was supposed to under most Host Community

21     Agreements?

22     A.    Well, it could have been if he ever got the license.        But

23     to my knowledge, even with the controversy over the number of

24     licenses, only three have been issued to date.

25     Q.    At this time?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 57 of 235
                                                                             10-57




 1     A.      As a practical matter, they weren't.        They could have

 2     been.

 3     Q.      If Mr. Saliby had received his license, his annual payment

 4     would have been 25,000?

 5     A.      That's correct.

 6     Q.      So ultimately Mayor Correia, then Mayor Correia, vetoes

 7     this proposed ordinance; is that right?

 8     A.      Yes.    Well, he vetoed the proposed ordinance, yes.

 9                    MR. HAFER:   Thank you, Your Honor.    I have no further

10     questions.

11                    THE COURT:   All right.   Mr. Reddington.

12                    MR. REDDINGTON:   Yes, Your Honor.

13     CROSS-EXAMINATION BY MR. REDDINGTON:

14     Q.      Good morning.

15     A.      Good morning.

16     Q.      Just picking up on that last question that Mr. Hafer asked

17     you and your response.        It's your understanding that at this

18     point, as you indicated, despite the controversies, three

19     licenses have been issued.        Is that your understanding?

20     A.      At the time that letter was issued, I don't know if any

21     licenses had been issued because I don't have the dates.

22     Q.      Right.

23     A.      I know that at some point, probably up until today,

24     although I haven't checked, there were only three valid

25     marijuana licenses in Fall River issued by the Cannabis Control
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 58 of 235
                                                                           10-58




 1     Commission.

 2     Q.    Exactly.    That's the point I'm getting it.       In other

 3     words, the process that you were dealing with would be that an

 4     applicant has to submit the request, obtain ultimately the

 5     Letter of Non-Opposition, obtain ultimately the Community Host

 6     Agreement, and then it's up to the Cannabis Control Commission

 7     whether that person is approved and licensed, correct?

 8     A.    That's right.    That was -- they always had that exclusive

 9     authority, and that's the way we operate.

10     Q.    All right.    And as it relates to -- Mr. Hafer was asking

11     you about Mr. Saliby.      Did he have a very, very tiny business

12     store?

13     A.    Excuse me?

14     Q.    Did he have a small store, Saliby?

15     A.    Yeah, it wasn't -- I mean, particularly compared to some

16     of the other stores, it was small.

17     Q.    Right.    And you indicated that Mr. Saliby was in your

18     office a lot?

19     A.    He was always running around, anxious to get his

20     agreement.     And at one point the only really time I remember is

21     he wanted it before he went on vacation.         And I don't remember

22     if I got it done in time or not.        I tried to deal with his

23     lawyer for the most part.

24     Q.    And that would be Mark Levin?

25     A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 59 of 235
                                                                         10-59




 1     Q.    And many of the applicants, if not all, were represented

 2     by attorneys when they were dealing with you and the city law

 3     department in filing applications for these Letters of

 4     Non-Opposition, correct?

 5     A.    To my memory, almost everybody was represented by an

 6     attorney, yes.

 7     Q.    And is it fair to say that it was important to you and to

 8     City Hall that the location be a valid, appropriate location

 9     for this type of a business?

10     A.    Yes.

11     Q.    And it was important that there not have any schools or

12     dance studios or anything nearby, playgrounds, things of that

13     nature, correct?

14     A.    Well, there are two things.       One is the statute requires

15     that you can't locate within so many feet of a school, church,

16     I think a park; and the other is that certain locations were

17     simply inappropriate because they were too close to a

18     neighborhood or too close perhaps to another vendor, not a

19     commercially viable location.

20     Q.    And the person would put together, with the assistance of

21     counsel most likely, their application, including their

22     articles of organization for the corporation, correct?

23     A.    Either that or they were an LLC, or some people were

24     individuals, and I think the contract might have said "or their

25     nominee" so that they could form whatever entity they wanted
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 60 of 235
                                                                         10-60




 1     to.

 2     Q.    Okay.   So what I'm getting at is that it's a requirement

 3     that a person have the advice of a board of directors, for

 4     example, which would consist of a medical or cannabis

 5     specialist, perhaps a security specialist, things of that

 6     nature?

 7     A.    I'm not sure I understand the question, but that was all

 8     to be vetted by the Cannabis Control Commission.          I mean, if

 9     somebody came to us and said, "I'm General Motors.          We've got

10     their articles of incorporation," but otherwise, we took them

11     at face value.

12     Q.    So when you take them at face value, basically you would

13     agree that an investigation was done regarding the location,

14     regarding the unit that was going to house the business that

15     was investigated, correct?

16     A.    Yeah, we -- the city had to satisfy itself that these

17     people were viable.      In terms of an investigation, I wouldn't

18     call it that.     Some of these people were known entities, some

19     of them were known to the mayor.        But I don't think it's fair

20     to characterize what we did as an investigation.

21     Q.    Well, didn't people have to come in and make a

22     presentation to you, for example, Chris Parayno, for example,

23     Jasiel Correia, for example?

24     A.    Some of them did, yes.

25     Q.    And where would that take place, in City Hall?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 61 of 235
                                                                         10-61




 1     A.    Well, yes.    If there were meetings, they would take place

 2     in City Hall, yes.

 3     Q.    And you were involved in a number of these meetings,

 4     correct?

 5     A.    Yes.

 6     Q.    And the people would present basically what I was just

 7     asking about, what type of business they have, the location, to

 8     ensure that it would be a viable decent business, right?

 9     A.    Well, it was up to them to make sure their business was

10     viable.    We were more concerned in the location, make sure the

11     location was appropriate.

12     Q.    Of course.

13     A.    And very often they'd bring their marijuana growing person

14     so we knew they had experience.

15     Q.    All right.    And these could be lengthy meetings, correct?

16     A.    Excuse me?

17     Q.    They could be lengthy meetings?

18     A.    I'm missing that one.

19     Q.    They could be lengthy, long, a lot of work went into these

20     meetings.    First they'd show up.      They'd have their attorney.

21     They'd have many times their representative, their supplier, as

22     it were.     It takes some time for these meetings, right?

23     A.    Well, it wasn't a very involved process, but we met with

24     them, yeah.

25     Q.    Now, you worked under the prior administration, Mayor
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 62 of 235
                                                                             10-62




 1     Sutter --

 2     A.    Yes, I did.

 3     Q.    -- correct?

 4           And for how many years did you work for Mr. Sutter?

 5     A.    I don't know if it was a year or it was 11 months.          I

 6     started in the middle of the term.        I started in July of 2015.

 7     Q.    And when Mr. Sutter lost the election to Jasiel Correia,

 8     and Jasiel Correia was then sworn in as mayor, he kept you on

 9     so to speak?

10     A.    He did, yes.    Yes.

11     Q.    Along with your staff, other attorneys, I think there's

12     another fellow that works for you, and your secretaries and

13     whatnot?

14     A.    There was a lot of turnover in the secretaries, but, yes,

15     basically he kept my assistant and he kept whatever office

16     staff was there.     They changed over after a while.

17     Q.    Right.   My point is that he basically kept your office the

18     way it was.    He didn't take it and do anything with it?

19     A.    That's right.

20     Q.    And who is Carla Dutra?

21     A.    She is my secretary.      She came -- she wasn't the original

22     secretary there, but she's the secretary who was there for the

23     most time, and she's there now.

24     Q.    And for how many years were you corporation counsel under

25     Jasiel Correia's administration?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 63 of 235
                                                                           10-63




 1     A.    I don't know how many years it was.        However long he was

 2     mayor, I was there.

 3     Q.    And you had occasion to observe his job performance, if

 4     you will, as mayor working for the city and the people,

 5     correct?

 6     A.    I didn't hear that one, Mr. --

 7     Q.    Well, did you think he did a good job as mayor?

 8     A.    Excuse me?

 9     Q.    Did you think he did a good job as mayor?

10     A.    Yeah, I thought as mayor he did a good job, yes.

11     Q.    And one of the things that you were familiar with would be

12     his philosophy, if you will, regarding the number of marijuana

13     businesses that could operate in the City of Fall River.          You

14     knew about that, right?

15     A.    I don't think he had a philosophy.        I never heard it.

16     Q.    Well, okay.    Did you ever discuss with him and, as you

17     know, according to that document that shows the veto of the

18     city council, for example, he did not want to limit to three or

19     four businesses.     He wanted free enterprise, if you will, with

20     a number of applicants and the possibility of a number of

21     marijuana businesses.

22     A.    I never heard him articulate that.        But it's clear as a

23     practical matter the City of Fall River and the mayor were

24     interested in issuing any number of viable marijuana licenses.

25     Q.    Thank you.    And to anyone who was qualified, no
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 64 of 235
                                                                           10-64




 1     discrimination, correct?

 2     A.    I'm not sure about saying anyone.        I mean, there were

 3     people who were qualified who came in too late.          In other

 4     words, after the city council was just, you know, very, very

 5     difficult.    There were other people who were qualified in one

 6     way who just didn't seem to be able to locate a correct

 7     location.

 8     Q.    Okay.

 9     A.    So I'm not sure it's fair to say anybody who wanted a

10     license could get one.

11     Q.    Would you agree, sir, that -- and I think you do -- that,

12     for example, there were about 14 Letters of Non-Opposition that

13     were issued by Jasiel Correia?

14     A.    Yes.

15     Q.    And assume that these businesses that had received their

16     Letters of Non-Opposition, for example -- if I may, I just have

17     a little chart here, if I could ask a couple of questions just

18     as a guide for myself more or less.

19           For example, Agricultural Healing Incorporated, fellow by

20     the name of Colin Geoffroy.       You're familiar with that Letter

21     of Non-Opposition being issued, correct?

22     A.    I -- these vendors came up with all sorts of names that I

23     just processed.     I knew about most of the vendors by the name

24     of the principal.

25     Q.    Okay.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 65 of 235
                                                                         10-65




 1     A.    So that one doesn't -- I mean, it rings a bell.

 2     Q.    Colin Geoffroy?

 3     A.    Excuse me?

 4     Q.    Colin Geoffroy?

 5     A.    Yes, that was -- I think I used to pronounce it Colin

 6     Geoffroy, but that's the one, yes.

 7     Q.    Okay.   So let's just -- Robert Sabin and Sidney Adler,

 8     does that ring a bell?

 9     A.    Say that name again.

10     Q.    Robert Sabin and Sidney Adler.

11     A.    That does not ring a bell.

12     Q.    The business being Canna 1, LLC?

13     A.    What was the name of the corporation?

14     Q.    Canna 1, LLC.

15     A.    That name I remember, yes.

16     Q.    Okay.   Premium Chef Edibles, Ricky Granoff?

17     A.    I don't remember the person, but I remember the edible

18     production.    They were going to make candy or something.

19     Q.    Okay.   Okay.   CannaTech Medicinals Inc., Randy Maslow and

20     John Henderson?

21     A.    I remember that name.      I'm not sure if they were the

22     doctors' group that was in first or not.         But I remember that

23     name, yeah.

24     Q.    You remember the name.

25           Greener Leaf Incorporated, Charles Saliby?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 66 of 235
                                                                         10-66




 1     A.    I remember him.

 2     Q.    Hope Heal Health Incorporated, John Rogue, Amy Ferrie?

 3     A.    Yes, I remember Mr. Rogue very well.        He came in early and

 4     had an elaborate presentation and actually bought his own

 5     building.

 6     Q.    So each one of these Letters of Non-Opposition that were

 7     issued to these individuals -- for example, there was another

 8     fellow by the name of Mr. Brayton.        Do you remember

 9     Mr. Brayton?

10     A.    Yes, I remember Mr. Brayton.

11     Q.    Mr. Bairos?

12     A.    What was the next one?

13     Q.    Bairos, B-a-i-r-o-s.

14     A.    That name doesn't ring a bell, no.

15     Q.    So these individuals, assuming that they were licensed,

16     would be generating revenue, $50,000 per license, to the City

17     of Fall River, correct?

18     A.    Yes, they would.

19     Q.    And they also would be paying a percentage, in accordance

20     with the Community Host Agreement, to the City of Fall River

21     once they were up and running, correct?

22     A.    Yes.

23     Q.    Now, the Community Host Agreement and the Letter of

24     Non-Opposition, who wrote that; who legally prepared that?

25     A.    Well, the Host Community Agreements were generated by my
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 67 of 235
                                                                         10-67




 1     office, and the original one was a combination of myself and

 2     another lawyer who represented, I think maybe Cannatech.          But

 3     in any event, we used the same agreement all along.

 4     Q.    And then you --

 5     A.    And the Letter of Non-Opposition was pretty much in

 6     statutory form.

 7     Q.    Okay.   And it was obviously prepared or reviewed by you.

 8     You would agree with that?

 9     A.    They were generated by me, yeah.

10     Q.    And then you would provide them, for example, to Jasiel as

11     the chief executive officer of the city in the event he

12     approved location, business, all the items we talked about, he

13     would then sign it and then return it to your office, correct?

14     A.    No.

15     Q.    How would that --

16     A.    He would present the approved party to me.

17     Q.    Okay.

18     A.    And then I would generate the paperwork.

19     Q.    All right.    So after you were presented the approved

20     party, you would then generate the paperwork, meaning the

21     Letter of Non-Opposition and the Community Host Agreement,

22     right?

23     A.    That's correct.

24     Q.    And what would happen to that then; would it be given to

25     Jasiel to sign?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 68 of 235
                                                                         10-68




 1     A.      Well, what I used to try to do -- I don't know that it

 2     always worked -- is I would send a draft Host Community

 3     Agreement to the attorney.       If the terms were correct, that is,

 4     the name of the entity and the address of the premises, I would

 5     send two host agreements to the attorney for their client to

 6     sign.

 7             When I got two signed agreements back, I would have the

 8     mayor sign them.      I would then have the mayor sign the letter

 9     of opposition, and I would send the Letter of Non-Opposition

10     and one Host Community Agreement back to the lawyer, retaining

11     a signed Host Community Agreement for us.

12     Q.      Okay.    And that was done on a regular basis, correct?

13     A.      That was the way it worked for the most part.       I'm not

14     saying they didn't cross in the mail ever.

15     Q.      Okay.    So people would basically have kind of like a

16     heads-up that they were looking pretty good to be approved to

17     get the Community Host Agreement to sign before the letter of

18     commitment was even issued, right?

19     A.      I wouldn't send it out unless he told me they were

20     approved.

21     Q.      Right.   But then you indicated you'd send a draft

22     Community Host Agreement to the individual's lawyer, right?

23     A.      That's right.

24     Q.      So the lawyer, at least, if not the client, the business

25     person, would have a heads-up that you're looking pretty good
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 69 of 235
                                                                         10-69




 1     even before the Letter of Non-Opposition is signed, right?

 2     A.    I think the accurate way to phrase it is the lawyer would

 3     know they've been approved.       He was to look at and approve the

 4     business terms for his client, and he was to look at and

 5     approve the entity terms so that we knew we were dealing with

 6     the correct LLC.

 7     Q.    Okay.   So if someone has a business and they want to sell

 8     marijuana and get a license in the City of Fall River, their

 9     hope or aspiration would be they're going to make a lot of

10     money, right?

11     A.    They would do what?

12     Q.    Make a lot of money.

13     A.    They thought they would, yes.

14     Q.    Okay.   So the people many times were kind of excited and

15     anxious to get this portion of the process completed, right?

16     A.    I'm not following that.

17     Q.    Well, if somebody wants to get a license, they know they

18     have to be approved by the Cannabis Control Commission, right?

19     A.    Yes.

20     Q.    So they know that the thing that has to be done first is

21     to get a Letter of Non-Opposition from the mayor and the

22     Community Host Agreement, right?

23     A.    They knew that was the first step, that's right.

24     Q.    And many times people were anxious, they were anxious to

25     have that process complete and would inquire as to what the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 70 of 235
                                                                         10-70




 1     status is of my --

 2     A.    Yes, they would.

 3     Q.    All right.    And all I'm asking you is, once you guys

 4     determined that this business was going to be approved, you

 5     would then send, as I understand it, two community host

 6     agreements out to the person or their attorney to sign both,

 7     right?

 8     A.    That's right.

 9     Q.    Then they would sign them and send them back to you or the

10     law department, correct?

11     A.    That's right.

12     Q.    And then you would have Jasiel sign that Community Host

13     Agreement, right?

14     A.    Yes.

15     Q.    Then you would have him then sign the Letter of

16     Non-Opposition, right?

17     A.    That's right.

18     Q.    But the person well before they received the Letter of

19     Non-Opposition at least had an inkling that they had been

20     approved because of the Community Host Agreement that was going

21     to be signed in duplicate, right?

22     A.    That's right.       It was a cumbersome process, but I wanted

23     their signature.

24     Q.    Absolutely.    All right.    Now --

25                  THE COURT:    Mr. Reddington, is this maybe a point to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 71 of 235
                                                                         10-71




 1     break here?

 2                 MR. REDDINGTON:   Sure, absolutely.

 3                 THE COURT:   Okay.   Ladies and gentlemen, we'll take

 4     our morning recess.      We'll be back a little bit before 11:20.

 5                 (Jury exits the courtroom.)

 6                 THE COURT:   Anything we need to take up?

 7                 MR. REDDINGTON:   Not from me, Your Honor.

 8                 MR. HAFER:   Not from us, Your Honor.

 9                 THE COURT:   All right.    So we'll be in recess.

10                 (Recess taken 11:06 a.m. - 11:23 a.m.)

11                 THE COURT:   Ready for the jury.     Let's get the witness

12     on the stand here.

13                 MR. HAFER:   Yes, Your Honor.

14                 (Jury enters the courtroom.)

15                 THE COURT:   You can take your mask off again,

16     Mr. Macy.

17                 MR. REDDINGTON:   Thank you, Your Honor.

18                 THE COURT:   Mr. Reddington, go ahead.

19                 MR. REDDINGTON:   Yes.

20     Q.    Just a question, sir, regarding Mr. Saliby.         Mr. Saliby

21     was represented by Attorney Mark Levin, was he not?

22     A.    I'm not sure who represents him now.        At the time he was

23     represented by Mark Levin.

24     Q.    Okay.   And the agreement with Mr. Saliby was basically

25     negotiated by Mark Levin with the city, correct?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 72 of 235
                                                                         10-72




 1     A.    Those -- no, that's not correct.       Those agreements were

 2     not negotiated.     They were presented, with the exception of

 3     Mr. Saliby's 25 versus 50.

 4     Q.    That's what I'm asking about.

 5     A.    They were approved.

 6     Q.    And that was, Mr. Levin was pleading and cajoling that he

 7     should pay less because of the size of his business, right?

 8     A.    I didn't speak to Mr. Levin about the money.

 9     Q.    You know Gen Andrade, right?

10     A.    Excuse me?

11     Q.    You knew Gen Andrade.

12     A.    Oh, yeah.

13     Q.    Tell us about Gen.     You know, how long had she been

14     working in City Hall?

15     A.    I can't give you a time because there was a time when

16     she -- she worked on the campaign, and she was in and out, but

17     she had no official position.       And I'm pretty sure that she

18     worked in the City Hall only after she signed the contract to

19     be chief of staff.

20     Q.    And you knew that she was married to a physician, correct?

21     A.    Excuse me?

22     Q.    You knew she was married to a physician, correct?

23     A.    Oh, yeah.

24     Q.    You knew that she was very close and friendly with Jasiel,

25     correct?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 73 of 235
                                                                            10-73




 1     A.      Absolutely.

 2     Q.      You knew that she was like a mother adviser to him, right?

 3     A.      I don't know how I would characterize it, but they were

 4     very close.     She drove him around.     She fed him.    They had

 5     always been friends, as far as I knew.

 6     Q.      And was she involved in his initial campaign when he was

 7     running as city councillor against Sam Sutter?

 8     A.      Yes.

 9     Q.      She was, in fact, his campaign manager, was she not?

10     A.      That's what I understood, yes.

11     Q.      And then when he was elected and sworn in as mayor, he had

12     to then, as any elected official does, had to create a staff,

13     true?

14     A.      Yes.

15     Q.      And he would hire a number of people to work in various

16     departments within the city, right?

17     A.      Yes.

18     Q.      Now, when he first became mayor, he did not appoint Gen

19     Andrade as his chief of staff.       He had a guy by the name of

20     Chris Parayno, I believe.

21     A.      That's right.

22     Q.      You knew Chris Parayno.

23     A.      Sure.

24     Q.      And you knew how long he was involved as chief of staff to

25     Jasiel?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 74 of 235
                                                                         10-74




 1     A.    Yes.

 2     Q.    And about how long was he chief of staff?

 3     A.    I couldn't tell you.

 4     Q.    So in any event, after Mr. Parayno, there was another

 5     gentleman, I think he was a retired or a police officer, a

 6     fellow by the name of Michael Hoar, H-o-a-r.

 7     A.    Yes, Sergeant Hoar.

 8     Q.    And how long was Sergeant Hoar chief of staff for Jasiel?

 9     A.    I couldn't tell you that.      I would estimate six months,

10     but it might have been a little more, a little less.

11     Q.    And Mr. Moore left that position, and it was at that point

12     that Jasiel then appointed Gen Andrade to be his chief of

13     staff, right?

14     A.    Yes.

15     Q.    And she then worked in that capacity in City Hall up until

16     the time of her resignation, which is around the time of the

17     indictments and the investigation in this case, right?

18     A.    I don't know what was coterminous with what, but she

19     worked there.     Ultimately she resigned.

20     Q.    You knew in reference to the snow stipend that was

21     referenced by the government -- basically a snow stipend is a

22     payment that's made to a city employee to do a particular job

23     or function, right?

24     A.    Well, a snow stipend is particularly with respect to the

25     snow removal.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 75 of 235
                                                                         10-75




 1     Q.    Exactly.    But there are other stipends that are given out

 2     to people in the city as employees?

 3     A.    Yes.

 4     Q.    So as relates to the snow stipend, that was $10,000; 5,000

 5     to be one year, 5,000 to be paid the following January, right?

 6     A.    That's what the contract says, yes.

 7     Q.    And you knew that or you had the opportunity to observe

 8     the work and the effort that Gen Andrade put into that position

 9     as being in charge of snow removal in the city?

10     A.    Yes.

11     Q.    She worked very hard, didn't she?

12     A.    To my observation she did, yes.

13     Q.    And she was known on occasion actually to basically take

14     up residence in the City Hall during snow emergencies, 24 hours

15     a day?

16     A.    Well, I don't know if she was there 24 hours a day, but

17     the problem with snow removal is it doesn't always snow in the

18     daytime.     So if there were a snowstorm coming, she would plan.

19     She would -- if the snow -- if it was snowing at night, she'd

20     be in the City Hall at night.       I wasn't there.     But I know she

21     worked very hard.

22     Q.    Okay.    You knew that the Federal Bureau of Investigation

23     and various investigators for any number of federal agencies

24     were in the City of Fall River interviewing many, many, many

25     people for a long period of time before any indictments were
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 76 of 235
                                                                         10-76




 1     returned, correct?

 2     A.    I had heard that, yes.

 3     Q.    And pretty much everybody -- in City Hall, it was pretty

 4     much a known fact that the federal authorities were in and out

 5     and interviewing people and conducting an investigation on

 6     Jasiel Correia, right?

 7     A.    I would hear from time to time, yes, "The FBI is here.

 8     Did you know the FBI was here?"

 9     Q.    Okay.   And the Fall River Herald was actually very active

10     in printing many, many articles about the ongoing

11     investigation, correct?

12     A.    They were active.     And every time I think they heard the

13     FBI was there, they published it.        I don't really know.

14     Q.    You also knew that -- let me back up.        On occasion I think

15     you described your relationship with Jasiel that at times you'd

16     be like the 70-year-old guy giving advice to the 20-year-old

17     guy, things of that nature, right?

18     A.    I think at one point I said, you know, I was 75, he was

19     25.   We were friendly.     How friendly can you be?

20     Q.    Right, right.    But you'd also give him advice and he'd ask

21     you your opinion and advice, right?

22     A.    Yes.

23     Q.    Now, you knew he was under investigation and, of course,

24     once he was indicted about SnoOwl, you knew he was represented

25     by an attorney, correct?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 77 of 235
                                                                         10-77




 1     A.    Yes.

 2     Q.    And you knew the attorney was a guy by the name of Mark

 3     Berthiaume, right?

 4     A.    What was his last name?      I knew his first name was Mark.

 5     Q.    Mark Berthiaume.

 6     A.    Yes, yes.

 7     Q.    You knew that Jasiel was quite vocal about the fact that

 8     he had to pay Mr. Berthiaume and his firm an awful lot of money

 9     for legal fees, right?

10     A.    I don't know if he used the term "awful lot of money" but

11     he was complaining about the amount and the size of the legal

12     fees, yes.

13     Q.    And at some point he set up what's called a legal defense

14     fund; is that correct?

15     A.    I found -- I knew he did, yes.       I didn't know --

16     Q.    Well, you knew he did because it was on the front page of

17     the Herald, right?

18     A.    Yes.

19     Q.    Everybody knew that.

20           And if a person was to donate to the legal defense fund,

21     their name would probably the next day be on the front page of

22     the Fall River Herald, right?

23     A.    I believe -- I didn't participate, and I didn't set it up,

24     but I believe that it's a matter of public record who

25     contributes to campaigns and defense funds.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 78 of 235
                                                                         10-78




 1     Q.    And he would ask people for a donation to the legal

 2     defense fund, but pretty much nobody wanted to get involved

 3     with it because they didn't want their name in the paper,

 4     right?

 5     A.    I don't know how that operated.

 6     Q.    So you knew that he had consulted with the executive

 7     commission for -- I forget what they're called -- a woman by

 8     the name of Sarah Hartry, she was counsel to the election

 9     commission in Boston?

10     A.    I knew that he told me he had passed it by an appropriate

11     commissioner, and they said yes, you can set that up.

12     Q.    Okay.   And also he had, obviously as any politician would,

13     his campaign fund?

14     A.    Yes.

15     Q.    And he would have events.      He would run, or his staff

16     would run events to try to generate money for his campaign,

17     such as on the Battleship, I think, is one of the places where

18     they -- or also a restaurant named Barker's or Cinderella's,

19     he'd have functions, correct?

20     A.    I don't know that he had any fundraisers at Cinderella's.

21     He always had one every summer on the Battleship.

22     Q.    And people would purchase tickets for those fundraisers,

23     right?

24     A.    Yeah.

25     Q.    And they would go and maybe have a drink or two and talk
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 79 of 235
                                                                            10-79




 1     and socialize and listen to the person who is seeking public

 2     office, right?

 3     A.     Yes.

 4                   MR. REDDINGTON:   That's all I have, Your Honor.    Thank

 5     you.

 6                   THE COURT:   All right.   Mr. Hafer.

 7                   MR. HAFER:   Just very briefly, Your Honor.

 8     REDIRECT EXAMINATION BY MR. HAFER:

 9     Q.     Mr. Macy, Mr. Reddington asked you some questions about

10     the authority of the Cannabis Commission to ultimately issue

11     licenses to applicants in Massachusetts.         Do you remember those

12     questions?

13     A.     Yes.

14     Q.     Between 2016 and 2018, who in Fall River had the exclusive

15     legal authority to issue Letters of Non-Opposition?

16     A.     The mayor of the City of Fall River.

17     Q.     And who was that between 2016 and 2018?

18     A.     I'm trying to remember if Sam might have been mayor for a

19     month, but the fact is whoever was the mayor, and I believe

20     Jasiel became mayor in 2016, had the exclusive power and

21     authority to issue the letters and the Host Community

22     Agreements.

23                   MR. HAFER:   Thank you.   Nothing further, Your Honor.

24                   MR. REDDINGTON:   Nothing, Your Honor.    Thank you.

25                   THE COURT:   You may step down.   Thank you.    If you
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 80 of 235
                                                                         10-80




 1     could take the top off the microphone.

 2                 MR. TOBIN:   Your Honor, the United States next calls

 3     Brian Bairos.

 4                 BRIAN BAIROS, Sworn

 5                 COURTROOM CLERK:    Please be seated and state your full

 6     name and please spell your last name.

 7                 THE WITNESS:   Brian Bairos.    Last name spelled

 8     B-a-i-r-o-s.

 9                 THE COURT:   You may inquire, Mr. Tobin.

10                 MR. TOBIN:   Thank you, Your Honor.

11     DIRECT EXAMINATION BY MR. TOBIN:

12     Q.    Good morning, sir.

13     A.    Good morning.

14     Q.    How old are you?

15     A.    42.

16     Q.    Where did you grow up?

17     A.    East Bridgewater, Massachusetts.

18     Q.    How far did you go in school?

19     A.    I had a paralegal program at Northeastern University.

20     Q.    Where do you live?

21     A.    West Bridgewater, Mass.

22     Q.    Are you currently employed?

23     A.    I am unemployed at the moment.

24     Q.    How were you recently employed?

25     A.    I had a tobacco distribution company.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 81 of 235
                                                                         10-81




 1     Q.    How long were you involved in the tobacco distribution

 2     company?

 3     A.    About eight or nine years.

 4     Q.    And you left that company how recently?

 5     A.    Very recently.

 6     Q.    Sir, are you testifying today with an immunity agreement

 7     from the United States?

 8     A.    Yes, I am.

 9     Q.    Sir, there is a binder in front of you, and I would ask

10     you to open that and look at tab 159.        Do you recognize the

11     document at tab 159?

12     A.    Yes, I do.

13     Q.    What is it?

14     A.    That's the agreement I have with the United States.

15                 MR. TOBIN:   Your Honor, may Exhibit 159 be moved into

16     evidence?

17                 THE COURT:   Yes, it's received.

18                 (Exhibit 159 admitted into evidence.)

19     Q.    Sir, what is the date on the first page of that immunity

20     agreement?

21     A.    August 22, 2019.

22     Q.    And the address for an Attorney Michael Contant is on the

23     document.    Who is Attorney Michael Contant?

24     A.    He's my attorney.

25     Q.    This agreement was negotiated by your attorney with the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 82 of 235
                                                                            10-82




 1     U.S. Attorney's Office?

 2     A.      That's correct.

 3     Q.      If we could please go to the second page of the immunity

 4     agreement, are there signatures on that page?

 5     A.      Yes, there is.

 6     Q.      And whose signatures appear?

 7     A.      Me and Michael's.

 8     Q.      And are there dates next to your signature and your

 9     attorney's signature?

10     A.      Yes, August 22, 2019.

11     Q.      And does Zachary R. Hafer sign as chief of the criminal

12     division on behalf of the United States?

13     A.      Yes, he did.

14                 MR. TOBIN:    If you could go back to the first page of

15     this agreement.

16     Q.      Sir, this is the agreement you have with the United States

17     that governs your situation currently in this matter.             Is that

18     true?

19     A.      That's correct.

20     Q.      I'm going to read ever so briefly from the second

21     paragraph which has a "1," which has a "1" in front of it.            And

22     I'd ask you to read along to yourself.

23             "Your client agrees to provide complete and truthful

24     testimony pursuant to any subpoena compelling his testimony in

25     this matter.     Your client also agrees to meet with
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 83 of 235
                                                                         10-83




 1     representatives of the United States Attorney to answer

 2     questions and/or to prepare for such testimony.          Your client

 3     must answer all questions and must not withhold any

 4     information."

 5           Do you understand that that is your requirement?

 6     A.    Yes, I do.

 7     Q.    What must you do specifically under the terms of this

 8     agreement?

 9     A.    Just tell the truth.

10     Q.    If you can go to the next paragraph, the one with the "2"

11     in front of it.     Sir, does the second paragraph outline what

12     the United States' obligation is under the terms of this

13     agreement?

14     A.    Yes.

15     Q.    Let me read a portion of it and ask you to read along to

16     yourself.

17           "In return for your client's full and truthful testimony

18     and statements, as well as your client's complete production of

19     responsive documents, objects, or other evidence as set forth

20     above, the United States Attorney agrees not to use any

21     statement made or other information provided by your client

22     pursuant to this agreement, or any information directly or

23     indirectly derived therefrom against your client in any

24     criminal case, except in the prosecution of," and then it talks

25     about perjury and acts of violence.        Is that accurate?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 84 of 235
                                                                               10-84




 1     A.    That's correct.

 2     Q.    So sir, as you understand it, if you testify truthfully,

 3     what has the United States pledged to you?

 4     A.    That I don't get in any trouble.

 5     Q.    You don't get prosecuted?

 6     A.    Correct, prosecuted.

 7     Q.    You don't get prosecuted for paying a bribe to the mayor

 8     of Fall River?

 9     A.    That's correct.

10     Q.    Sir, at some point did you get into the legal marijuana

11     business in New England?

12     A.    Yes.

13     Q.    When was that originally?

14     A.    About eight years ago.

15     Q.    Where was that?

16     A.    In Rhode Island.

17     Q.    What kind of legal marijuana business did you have in

18     Rhode Island?

19     A.    Basically I was a caregiver and I grew for my patients,

20     and then we were allowed to sell our excess product to the

21     local dispensaries.

22     Q.    Does that mean you were a grower?

23     A.    Correct, yes, cultivator.

24     Q.    And you mentioned patients.       Explain that to us.       You

25     would grow the marijuana, and where would it go?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 85 of 235
                                                                         10-85




 1     A.    So the patients would identify you as their grower or

 2     caregiver.    So you would grow their medicine and then whatever

 3     they purchased from you -- anything we had left over we were

 4     allowed to sell to the larger dispensary where they have

 5     multiple patients.

 6     Q.    Sir, what was the name of this legal marijuana business in

 7     Rhode Island?

 8     A.    Colorado Ave., LLC.

 9     Q.    Mr. Bairos, at some point did you decide to expand into

10     Massachusetts with the marijuana business?

11     A.    I did, yes.

12     Q.    When was that, approximately?

13     A.    2017, '18.

14     Q.    What was the name of your Massachusetts marijuana

15     business?

16     A.    Giving Tree Health Center.

17     Q.    Giving Tree Health Center?

18     A.    (Witness nodding head.)

19     Q.    And sir, when you decided to expand into Massachusetts,

20     where within the Commonwealth did you decide to or want to open

21     up shop?

22     A.    Fall River, Massachusetts.

23     Q.    What type of marijuana business did you want to open in

24     Fall River, Massachusetts?

25     A.    Complete seed to sale.      We were going to manufacture,
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 86 of 235
                                                                          10-86




 1     produce, extract, everything, make edibles, along with a retail

 2     store.

 3     Q.    How would that differ from what you were doing in the

 4     marijuana world in Rhode Island?

 5     A.    In Rhode Island, we just cultivate and we sell to the

 6     local dispensaries.      So basically we wholesale the product, and

 7     we didn't do any extraction.       We just grew the product.      Where,

 8     in Fall River, we were going to do everything, from making

 9     edibles, to extracting oil, to retailing it.

10     Q.    Sir, what did you need in order to open a marijuana

11     business, as you've described, in Fall River?

12     A.    A Letter of Non-Opposition and a Community Host Agreement,

13     which is two different letters.

14     Q.    Can you tell us what a Letter of Non-Opposition is, as you

15     understood it then?

16     A.    Basically a Letter of Non-Opposition means that the town

17     would allow you to operate there to grow medically.

18     Q.    And what about a Host Community Agreement?

19     A.    A Community Host Agreement is an agreement you make with

20     the town for recreational sales and where you negotiate a

21     percentage or a fee, or whatever the case may be, that the town

22     requires.

23     Q.    You needed both a Letter of Non-Opposition and the Host

24     Community Agreement in this instance from Fall River because

25     that's where you wanted to do business?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 87 of 235
                                                                         10-87




 1     A.      Correct, yes.

 2     Q.      Who ultimately gives the license to open up a marijuana

 3     shop?

 4     A.      The Cannabis Control Commission gives the license.

 5     Q.      Do they require the Letter of Non-Opposition and Host

 6     Community Agreement from the municipality, as you understood

 7     it?

 8     A.      Yes, you have to have that.

 9     Q.      Sir, who in Fall River had the power to give you a Letter

10     of Non-Opposition and a Host Community Agreement?

11     A.      At the time it was Mayor Correia.

12     Q.      What steps did you take to open a marijuana business in

13     Fall River, focusing primarily, or at least at this point, on

14     obtaining the Non-Opposition Letter and the Host Community

15     Agreement?    What steps did you take?

16     A.      I just reached out to the town to try to set up a meeting

17     with them and see if we can just sit down and I can kind of go

18     over my plan and tell them what I wanted to do and see if it's

19     something the town would allow.

20     Q.      Were you ultimately successful in setting up a meeting

21     with town officials?

22     A.      Not really, no.

23     Q.      Well, did you ultimately have a meeting -- well, did you

24     ultimately have a meeting with the mayor of Fall River?

25     A.      Correct, yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 88 of 235
                                                                         10-88




 1     Q.    And the mayor at the time was who?

 2     A.    Mr. Correia.

 3     Q.    And who else was present at the meeting?

 4     A.    His chief of staff, Gen Andrade.

 5     Q.    And during the meeting, what did you do?         What did you

 6     tell the mayor and his chief of staff Gen Andrade?

 7     A.    I told them my plan, what I wanted to do with -- I told

 8     them my location, what I wanted to do there.         How I was going

 9     to go about it and the timeframe.

10     Q.    And what did the mayor say to you during that meeting, or

11     perhaps at the conclusion of that meeting, about your plan?

12     A.    He seemed interested.      He liked the idea that I had, and

13     he kind of, just kind of stayed neutral.

14     Q.    I'm sorry.    I missed that last sentence.

15     A.    He did like what I had to say but, you know.

16     Q.    Sir, after the meeting -- and this meeting, where was it,

17     was it at City Hall in the mayor's office?

18     A.    Correct, yes.

19     Q.    After that meeting at City Hall in the mayor's office with

20     the mayor and Gen Andrade, did you hear anything from Mayor

21     Jasiel Correia or anything from City Hall?

22     A.    Afterwards, no, not really.

23     Q.    At some point did you become frustrated because of not

24     getting any word back from City Hall?

25     A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 89 of 235
                                                                         10-89




 1     Q.    What happened next?

 2     A.    Basically I was introduced to somebody else that could

 3     help me facilitate this whole thing.

 4     Q.    Who did the introduction?

 5     A.    Craig.

 6     Q.    Do you know Craig's last name, do you recall it?

 7     A.    I don't recall, no.

 8     Q.    Well, who is Craig and how did you know him?

 9     A.    He owns a local, like a supply house for like grow

10     facilities where they supply lights, nutrients and that type of

11     thing, and his landlord had a good relationship with

12     Mr. Correia.

13     Q.    So you knew Craig because he owned this shop?

14     A.    Correct.

15     Q.    Did you buy things from Craig for your Rhode Island

16     business?

17     A.    We were introduced together from a mutual friend.

18     Q.    And what assistance did -- did you tell Craig about your

19     frustration that you've talked to City Hall but they haven't

20     gotten back to you?

21     A.    Correct.

22     Q.    What did Craig say to you?

23     A.    He said that he could introduce me to his landlord, who

24     had a good relationship with Mr. Correia.

25     Q.    Did he tell you, or did you learn who Craig's landlord
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 90 of 235
                                                                         10-90




 1     was?

 2     A.      Yes, I did.

 3     Q.      And your understanding from Craig was that this

 4     individual, the landlord, had a good relationship with the

 5     mayor?

 6     A.      Yes.

 7     Q.      And who was this individual?     Who was this landlord?

 8     A.      Tony Costa.

 9     Q.      Sir, did Craig -- by the way, did you know Tony Costa at

10     this point?

11     A.      No.

12     Q.      Had you ever heard of Tony Costa at this point?

13     A.      No, not before that.

14     Q.      Did Craig, in fact, set up a meeting for you and Tony

15     Costa?

16     A.      Yes.

17     Q.      Where was the meeting?

18     A.      At Dunkin' Donuts.

19     Q.      In which city or town?

20     A.      Fall River.

21     Q.      Who was present at the meeting?

22     A.      In the beginning it was me, Craig, John and Tony, but then

23     Craig and John left, and it was just me and Tony afterwards.

24     Q.      I think you've described who these folks are, but who is

25     John?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 91 of 235
                                                                         10-91




 1     A.    Just the other individual, the mutual friend.

 2     Q.    Okay.    Eventually Craig and John left, and you're at

 3     Dunkin' Donuts with Tony Costa; is that true?

 4     A.    Yes.

 5     Q.    Tell us about the conversation you had that first time you

 6     met Tony Costa.

 7                  MR. REDDINGTON:    Your Honor, I would object just to

 8     renew, and I know I believe under Petrozziello, I have a

 9     standing objection.

10                  THE COURT:   Yes, as to this one in particular I

11     overrule the objection.        You may have the question.

12                  MR. TOBIN:   Thank you.

13     Q.    I'll repeat the question, sir.

14           Tell us about the conversation you had with Tony Costa

15     that first time you met him at Dunkin' Donuts.

16     A.    He was basically saying that, you know, he had a good

17     relationship with the mayor, and that he could get me the

18     letters that I need to move forward with my license.

19     Q.    And did he mention to you if there would be a cost in

20     getting the license or getting the documents you need?

21     A.    Yes, he did.

22     Q.    What did he tell you that would be?

23     A.    The initial offer was he said he could do it for $250,000.

24     Q.    And did you understand that $250,000 was some sort of

25     legal fee, or was it something else?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 92 of 235
                                                                         10-92




 1     A.    Something else.

 2     Q.    What did you think it was?

 3     A.    Basically a bribe.

 4     Q.    What was your reaction when you were confronted with this,

 5     "You need to pay a bribe of 250,000"?

 6     A.    You know, surprise, but, you know, I thought he was crazy

 7     for the amount.

 8     Q.    Did you say something about the amount to Tony Costa?

 9     A.    Yeah.    I did, yes.

10     Q.    What did you tell Tony about the amount?

11     A.    I told him he was crazy.

12                  THE COURT:   Mr. Bairos, if you could get a little

13     closer to the microphone so your voice can be picked up.          Maybe

14     move the microphone closer to you as well.

15                  MR. TOBIN:   Okay.   Thank you.

16     Q.    You told him he was crazy.      Was there further conversation

17     during that meeting with Tony Costa about an amount less than

18     $250,000 for a bribe?

19     A.    Yes.    The second part of the negotiation he came down to

20     150,000, along with a percentage of the company.          And then I

21     also told him he was out of his mind.          So we finally agreed on

22     $150,000 total.

23     Q.    And was there an agreement at that meeting between you and

24     Tony Costa as to how or when you would pay the 150,000?

25     A.    Yes.    I was going to pay $75,000 up front, and when we got
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 93 of 235
                                                                           10-93




 1     the license, the other 75 was going to be paid.

 2     Q.    Did Tony Costa seem to be okay with the division of that

 3     $150,000 payment into two $75,000 blocks?

 4     A.    Yes.

 5     Q.    Who did you understand was to get this $150,000?

 6     A.    First, initially I thought it was him, but as time went

 7     on, it came to light that it was not.

 8     Q.    And who did it come to light would be getting this money?

 9     A.    Mr. Correia.

10     Q.    And again, who and who alone in the City of Fall River had

11     the ability to provide you with the documentation, the letter

12     and the agreement you needed?

13     A.    The mayor, Mr. Correia.

14     Q.    Sir, why were you willing to pay a bribe of $150,000 in

15     order to get a Letter of Non-Opposition and a Host Community

16     Agreement?

17     A.    There's a lot of steps you take to get this license as far

18     as, you know, locking down real estate, this and that.            So we

19     had a lot of time and energy invested into it.          So, you know,

20     it's tough to give that up and move to a different location.

21     So for that type of fee, you just pay it and move forward.

22     Q.    The cost of doing business?

23     A.    Correct.

24     Q.    Sir, did you communicate with Tony Costa by text messages?

25     A.    Yes, I did.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 94 of 235
                                                                         10-94




 1     Q.      I'd ask you, if you would, in the binder in front of you,

 2     to open up to tab 139.      Tell me if you recognize what appears

 3     at tab 139.

 4     A.      Yes, I do.

 5     Q.      These are already in evidence, but I will make reference

 6     to them.    Sir, please direct your attention to the very first

 7     text on page 1 in box 1.      What is the date of that text?

 8     A.      May 25, 2018.

 9     Q.      And who sent the text?

10     A.      Tony Costa to me.

11     Q.      Please read the text to the ladies and gentlemen of the

12     jury.

13     A.      "He just gave me a call and told me that the deal -- it's

14     a done deal so no worries. "

15     Q.      Who do you understand that Tony Costa was referring to

16     when he said "He just gave me a call"?

17     A.      The mayor, Mr. Correia.

18     Q.      Sir, how did you understand this short message, "He just

19     gave me a call and told me it's a done deal so no worries"?

20     How did you understand that?

21     A.      Basically all the terms were accepted that were discussed.

22     Q.      And what were the terms?

23     A.      The $150,000 split into two payments, 75 in the beginning

24     and 75 at the end when the license was issued.

25     Q.      And as you understood it, those terms were accepted by
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 95 of 235
                                                                            10-95




 1     whom?

 2     A.      Tony and the mayor.

 3     Q.      Sir, did you and Tony Costa exchange texts on June 17,

 4     2018?    I'll direct your attention to the same exhibit, 139,

 5     pages 11 and 12, boxes 119 and 120.        119 and 120, if we might.

 6     A.      Yes.

 7     Q.      Okay.   Let's start with 119, if we might.

 8     A.      Sure.

 9     Q.      I'm sorry.   Give me just a moment, please.

10             Okay.   And this is a text on what date?

11     A.      June 17, 2018.

12     Q.      Sent by whom?

13     A.      Tony Costa to me.

14     Q.      And what does Tony Costa write to you on June 17?

15     A.      "What are we doing?   Are you moving forward?      Are you

16     pulling out?"

17     Q.      What did you believe he was referring to, moving forward

18     with what?

19     A.      The deal, paying the fee and getting the letters.

20     Q.      Do you respond by text shortly thereafter?

21     A.      Yes, I do.

22     Q.      Directing your attention to the next box, 120, that is a

23     text in response from you to Tony Costa; is that true?

24     A.      Correct.

25     Q.      What did you write to him?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 96 of 235
                                                                         10-96




 1     A.      "Definitely moving forward."

 2     Q.      Sir, did you have dinner with Mayor Jasiel Correia in the

 3     City of Boston on June 19, 2018?

 4     A.      Yes, I did.

 5     Q.      Where was the dinner?

 6     A.      At Ocean Prime in Boston Seaport.

 7     Q.      That's right -- not too far from this courthouse; is that

 8     true?

 9     A.      That's correct.

10     Q.      Had you ever gone to dinner with the mayor before?

11     A.      No.

12     Q.      Were you social friends with the mayor?

13     A.      No.

14     Q.      Had you only met him that once in the office when you gave

15     him your pitch?

16     A.      Correct.

17     Q.      Yet you went to dinner with him on June 19; is that

18     accurate?

19     A.      That's correct.

20     Q.      Who was present at the dinner at Ocean Prime?

21     A.      Just me and him.

22     Q.      How did you come to meet Mayor Jasiel Correia that day for

23     dinner?

24     A.      Just through text message.    We were communicating back and

25     forth.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 97 of 235
                                                                              10-97




 1     Q.     Sir, with regard to those text messages, I'm going to ask

 2     you to direct your attention to Exhibit 160 in the binder in

 3     front of you.     And if you can just examine what makes up

 4     Exhibit 160.      Do you recognize what makes up 160?

 5     A.     Yes, I do.

 6     Q.     What are these?

 7     A.     Text messages between me and the mayor.

 8     Q.     Some of these text messages deal with setting up the

 9     dinner at Ocean Prime on June 19; is that true?

10     A.     Correct.

11     Q.     Sir, I'd ask you to please direct your attention -- excuse

12     me.

13                MR. TOBIN:    Your Honor, may Exhibit 149 [sic] be moved

14     into evidence?

15                THE COURT:    Yes, it's received.

16                MR. TOBIN:    Thank you.

17     Q.     Sir, I'd ask you to direct your attention to page 2 of

18     Exhibit 169 and specifically to boxes 29 through 54.              29

19     through 54.    Do you see those boxes?

20                THE COURT:    No, Mr. Tobin.    I think you mean Exhibit

21     160.

22                MR. TOBIN:    Yes, I do.    Oh, I'm sorry.    I gave the

23     wrong number.     I apologize.

24                THE COURT:    Okay.   So I'm receiving in evidence 160.

25                MR. TOBIN:    Thank you, Your Honor.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 98 of 235
                                                                          10-98




 1                  (Exhibit 160 admitted into evidence.)

 2     Q.    Again, directing your attention to boxes 29 through 54,

 3     what do those texts concern?

 4     A.    Through me and Mr. Correia.

 5     Q.    We'll notice that they say "Incoming" and "Outgoing."          Who

 6     wrote the incoming texts?

 7     A.    That was him to me.

 8     Q.    So Jasiel Correia wrote the incoming texts?

 9     A.    Mm-hmm.

10     Q.    And who wrote the outgoing texts?

11     A.    I did.

12     Q.    And on that date, June 19, the first text is at 1:16 p.m.;

13     is that true?

14     A.    Yes.

15     Q.    And if we look at 54, the last text between you and Mayor

16     Correia is at 7:06 p.m., correct?

17     A.    Correct.

18     Q.    So incoming was the mayor, outgoing was you?

19     A.    Correct.

20     Q.    So perhaps the best way for us to do this and present it

21     to the jury, I will read the incoming as Mayor Jasiel Correia.

22     I would like you then to read the outgoing as yourself.           Okay?

23     A.    Sure.

24     Q.    "Just checking in to see if the attorneys have reached

25     agreement?     Do you need anything?     Also, I am in Cambridge for
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 99 of 235
                                                                         10-99




 1     the rest of the week and available after 5:30 most days except

 2     Thursday night."

 3     A.    "Is there any chance you're going to be at the governor's

 4     event today at the base at Fenway."

 5     Q.    "Hey, just finished up.      Where do you want to meet?"

 6     A.    "You tell me.    Not sure where you are."

 7     Q.    "I'm over in Cambridge.      We could do the cigar bar or

 8     Seaport area.     Have you had dinner?"

 9     A.    "Sounds great."

10     Q.    "Okay.    Where do you want to meet and when?"

11     A.    "Name the location."

12     Q.    "Let's go over to the Seaport since it's a nice day.

13     Legal Seafood, something like that?"

14     A.    "7:38.    I'm at Fenway.    I just need to drive over."

15     Q.    Next box.

16     A.    "I will text you a time once I put it in my GPS."

17     Q.    "Okay.    Legal Harborside is packed.      No available

18     reservations.     You haven't had dinner, have you?"

19     A.    "No, I haven't.     I'm always down to eat.      See you there."

20     Q.    "Perfect.    See you there."

21     A.    "My ETA is 7:10 p.m."

22     Q.    "Mine is 7:03."

23     A.    "Perfect."

24     Q.    "Just got here.     I'm at the bar."

25     A.    "Two minutes away."
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 100 of 235
                                                                          10-100




 1      Q.    These were the text messages setting up the dinner that

 2      you and Jasiel Correia would have at Ocean Prime; is that true?

 3      A.    Yes.

 4      Q.    Who was present for that dinner?       Was there anybody

 5      present, other than you and Jasiel Correia?

 6      A.    No.    Just me and him.

 7      Q.    And after leaving Ocean Prime -- oh, by the way, who paid

 8      the bill at Ocean Prime?

 9      A.    I did.

10      Q.    Sir, I'd ask you to direct your attention to Exhibit

11      163.1.   If you open up to 163, you'll see a secondary file of 1

12      after that.     Do you see that?

13      A.    Yes.

14      Q.    Do you recognize what makes up Exhibit 163.1?

15      A.    Yeah.    That's the bill from Ocean Prime.

16      Q.    Or the credit card statement indicating what you paid?

17      A.    Correct.

18                   MR. TOBIN:   Your Honor, may 163.1 be moved into

19      evidence?

20                   THE COURT:   Yes, it's received.

21                   MR. TOBIN:   Thank you.

22                   (Exhibit 163.1 admitted into evidence.)

23      Q.    If we could look at that for a moment.        Again, this is

24      from your bank statement; is that accurate?

25      A.    Correct.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 101 of 235
                                                                          10-101




 1      Q.    And the posting date of 6-21-18, are there expenses from

 2      Ocean Prime Boston?

 3      A.    Correct.

 4      Q.    What's the top expense?

 5      A.    Probably either a tip or a drink.

 6      Q.    Oh, what I meant actually is how much is the amount?

 7      A.    Oh.    $23.91.

 8      Q.    And what is the bottom number or amount?

 9      A.    $257.58.

10      Q.    And that was the bill for you and Mayor Jasiel Correia's

11      dinner at Ocean Prime?

12      A.    Correct.

13      Q.    Sir, after you and Jasiel Correia finished dinner at Ocean

14      Prime, did the two of you go someplace?

15      A.    We went to a cigar bar in the North End.

16      Q.    And again, at the cigar bar at the North End, was it just

17      the two of you?

18      A.    Yes.

19      Q.    Nobody else joined your party, if you will?

20      A.    Correct.

21      Q.    Now, while at the cigar bar in the North End with Mayor

22      Correia, what, if anything, did you and he discuss?

23      A.    We basically just got to know each other, just kind of

24      gentlemen's talk.

25      Q.    And before leaving the cigar bar, did he say anything
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 102 of 235
                                                                            10-102




 1      specific to you which you understood referenced the bribe you

 2      were going to pay?

 3      A.    He just basically asked if we were all set.         "Is

 4      everything good?"

 5      Q.    "Are we all set?     Is everything good?"

 6      A.    Yes.

 7      Q.    How did you understand the mayor's words?        What did you

 8      think he was talking about?

 9                   MR. REDDINGTON:   Objection.

10                   THE COURT:   Overruled.   You may answer.

11      A.    Basically he was referring to the deal I had with Tony

12      Costa.

13      Q.    You didn't think he was referring to the quality of the

14      cigar you were smoking?

15      A.    No.

16      Q.    You didn't think he was referring to the weather in the

17      night that evening?

18      A.    No.

19      Q.    How did you respond to the mayor asking or saying

20      essentially, "Are we all set?       Are we good?"

21      A.    I told him yes, we were.

22      Q.    You told him yes, we were.       Is that because you were

23      prepared and had pledged to pay the bribe?

24      A.    Correct.

25      Q.    Sir, jumping now, if we might, to June 29, 2018.            Did
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 103 of 235
                                                                           10-103




 1      Mayor Jasiel Correia visit you at your place of business?

 2      A.    Yes, he did.

 3      Q.    Where was that?

 4      A.    In Avon.

 5      Q.    What was that?

 6      A.    My tobacco warehouse.

 7      Q.    And did you and Jasiel Correia exchange text messages

 8      setting up the June 29, 2018 meeting at your warehouse?

 9      A.    Correct, yes.

10      Q.    Again, I would ask you to go back to Exhibit 160, and I

11      would ask you to look at the texts from June 29, 2018.            I will

12      direct your attention to the third page of that exhibit and

13      specifically boxes 86 through 96.

14            Do you see those series of communications between you and

15      Mayor Jasiel Correia on June 29?

16      A.    Yes.

17      Q.    And again, the incoming represents either -- who, you or

18      Jasiel's writings?

19      A.    That's him.

20      Q.    And the outgoing?

21      A.    Is me.

22      Q.    And so if we look at the first one on June 29, at 2:47

23      p.m., incoming, what does it say?

24      A.    "Send me the location, places."

25      Q.    What do you respond?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 104 of 235
                                                                          10-104




 1      A.      "Target in Stoughton or my warehouse at 238 Bodwell

 2      Street, Avon, Mass.

 3      Q.      What does the mayor say?

 4      A.      "See you there in 30 minutes or so.     Thank you again."

 5      Q.      What do you respond?

 6      A.      "Come to the warehouse."

 7      Q.      What does he ultimately respond?

 8      A.      "Okay.    I'll be there by 3:40."

 9      Q.      What do you say?

10      A.      "Okay."

11      Q.      What does he then say at 3:43?

12      A.      "Just got here."   Then I put --

13      Q.      That would be the end of the June 29 messages; is that

14      true?

15      A.      Correct.

16      Q.      And, in fact, had he just gotten there at your Avon

17      warehouse?

18      A.      Yes.

19      Q.      And did he come into the warehouse?

20      A.      Yes.

21      Q.      And what did Mayor Jasiel Correia ask you during his visit

22      to your warehouse on that date?

23      A.      To donate to his legal fund.

24      Q.      Did he indicate how much he was asking for?       What did he

25      want you to donate?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 105 of 235
                                                                           10-105




 1      A.      Approximately $25,000.

 2      Q.      What did you say to him when he asked for 25,000?

 3      A.      I just offered to him in cash.

 4      Q.      Did you believe -- we'll get to that in a moment.         Did you

 5      believe that this request for 25,000 was in addition to the

 6      bribe you had agreed to pay?

 7      A.      Yes.

 8      Q.      You said to him you could give it to him in cash, meaning

 9      the 25,000 to the defense fund; is that true?

10      A.      Correct.

11      Q.      Was there a specific reason why you told the mayor you

12      could only give him the cash -- give his donation to the

13      defense fund in cash?

14      A.      I didn't think it was going to be accepted.

15      Q.      And did you want to give an extra 25,000 to his defense

16      fund?

17      A.      No.

18      Q.      And when you said it was cash, what did he say?

19      A.      That he didn't think it was going to work or --

20      Q.      He couldn't take it, and you didn't --

21                     MR. REDDINGTON:   Your Honor --

22                     MR. TOBIN:   I'm sorry.

23                     THE COURT:   Mr. Tobin, it's the witness who testifies

24      rather than you.

25                     MR. TOBIN:   Of course.   Thank you.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 106 of 235
                                                                            10-106




 1      Q.    Did you ever pay $25,000?

 2                   MR. REDDINGTON:    Could he finish his answer?

 3                   THE COURT:    I'm sorry?

 4                   MR. REDDINGTON:    I don't think he finished his answer.

 5      Q.    Please, sir, finish your answer.

 6      A.    I'm finished.       What was the question again?    Maybe I

 7      missed it.

 8                   THE COURT:    Why don't you put a new question,

 9      Mr. Tobin.

10                   MR. TOBIN:    Thank you.

11      Q.    Did you ever donate any money to the defendant Jasiel

12      Correia's legal defense fund?

13      A.    It was offered but he couldn't use it.

14      Q.    Sir, at some point did you receive a Letter of

15      Non-Opposition?

16      A.    Yes.

17      Q.    Please open to Exhibit 162 in the binder in front of you.

18      Do you recognize what makes up 162?

19      A.    Yes.

20      Q.    What is that?

21      A.    That's a Letter of Non-Opposition.

22      Q.    Signed by whom?

23      A.    By the mayor and the City of Fall River.

24      Q.    Dated what?

25      A.    July 2, 2018.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 107 of 235
                                                                          10-107




 1                 MR. TOBIN:   Your Honor, may 162 come into evidence,

 2      please?

 3                 THE COURT:   Yes, it's received.

 4                 (Exhibit 162 admitted into evidence.)

 5      Q.     Again, sir, now that the ladies and gentlemen of the jury

 6      can see it, what is the date on the Letter of Non-Opposition?

 7      A.     July 2, 2018.

 8      Q.     And there's a signature on this letter; is that true?

 9      A.     Correct.

10      Q.     What is the signature -- whose signature is it, I should

11      say?

12      A.     Jasiel Correia, II, the mayor.

13      Q.     And please tell me if I read this correctly.        Does this

14      letter state, "I, Jasiel F. Correia, II, Mayor of the City of

15      Fall River, do hereby provide this statement of non-opposition

16      to the Giving Tree Health Center, Inc. to operate a registered

17      marijuana dispensary in Fall River.

18             "I have verified with the appropriate local officials that

19      the proposed RMD facility is located in a zoning district that

20      allows such use by right or pursuant to local permitting.          This

21      letter is subject to withdrawal or revocation at any time."

22      Sir, did I read that correctly?

23      A.     Yes, you did.

24      Q.     What did this letter cost you?

25      A.     $150,000.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 108 of 235
                                                                          10-108




 1      Q.      And the last sentence of the second paragraph, "This

 2      letter is subject to withdrawal or revocation at any time,"

 3      what did you understand that to mean?

 4      A.      That the letter could be pulled back and not be given or I

 5      would be restricted again.

 6      Q.      And sir, again, the date of this letter is July 2, 2018.

 7      Is that approximately when you received this letter?

 8      A.      Correct.

 9      Q.      Sir, did you visit Tony Costa's home on July 7, 2018?

10      A.      Yes.

11      Q.      Why did you go to Tony Costa's house on July 7, 2018?

12      A.      To give him money.

13      Q.      How much money did you give Tony Costa on July 7, 2018?

14      A.      $25,000.

15      Q.      Did you give him cash, check or some other form of

16      payment?

17      A.      Cash.

18      Q.      Why did you give Tony Costa $25,000 in cash on July 7,

19      2018?

20      A.      It was part of the first portion of the agreement.

21      Q.      And who did you believe that the $25,000 was going to?

22                     MR. REDDINGTON:   Objection.

23                     THE COURT:   You may answer this question.

24      Q.      Who did you believe the $25,000 was going to?

25      A.      To Tony and the mayor, Correia.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 109 of 235
                                                                          10-109




 1      Q.    Did you know what division or split the mayor and Tony

 2      would have made?

 3      A.    No.

 4      Q.    Sir, where did you get the $25,000 in cash you gave to

 5      Tony Costa?

 6      A.    I withdrew it out of my bank account.

 7      Q.    Sir, I'm going to ask you to look at Exhibit 163.2 and

 8      163.3.   Would you look at those two tabs, please.

 9            Sir, do you recognize what makes up Exhibits 163.2 and

10      163.3?

11      A.    Yes, I do.

12      Q.    What is that?       What are those?

13      A.    Those are the withdrawals from the bank account.

14      Q.    Where you got ultimately the 25,000 to give to Tony?

15      A.    Correct.

16                   MR. TOBIN:    Your Honor, may Exhibits 163.2 and 163.3

17      be admitted.

18                   THE COURT:    They're received.

19                   (Exhibit 163.2-163.3 admitted into evidence.)

20      Q.    And could we please look at 163.2.       Again, this is your

21      bank record; is that true?

22      A.    Yes.

23      Q.    And these are for three transactions on 163.2; is that

24      accurate?

25      A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 110 of 235
                                                                          10-110




 1      Q.    And were these three transactions made on the same day?

 2      A.    Yes.

 3      Q.    And according to your bank record, what day was that?

 4      A.    June 29, 2018.

 5      Q.    And the three transactions, were they deposits or

 6      withdrawals?

 7      A.    Withdrawals.

 8      Q.    How much was each of the three withdrawals for?

 9      A.    $5,000.

10      Q.    For a total of?

11      A.    15,000.

12      Q.    And that was on June 29, correct?

13      A.    Yes, sir.

14      Q.    If we go to 163.3, again, this is your bank record; is

15      that true?

16      A.    Yes.

17      Q.    And at the very bottom -- we can see it now -- is there a

18      date for this transaction?

19      A.    July 3, 2018.

20      Q.    And what kind of transaction is it?

21      A.    A cash withdrawal.

22      Q.    How much is that for?

23      A.    $10,000.

24      Q.    And, again, the math is simple, I suppose.        15 and 10

25      equals how much?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 111 of 235
                                                                          10-111




 1      A.     25,000.

 2      Q.     Did you and Tony Costa exchange text messages before you

 3      went to his house on July 7, 2018?

 4      A.     Yes, we did.

 5      Q.     Again, I'll ask you to direct your attention to Exhibit

 6      139.   I'll focus you, please, on pages 13 and 14.         And I'm

 7      going to ask you to look at boxes 138 through 146.          That goes

 8      into the second page.     So on page 13, if you could look at 138

 9      to 141 at the bottom, okay?

10      A.     Mm-hmm.

11      Q.     The first message is July 7 at 10:50 a.m.; is that

12      correct?

13      A.     Correct.

14      Q.     Who was sending the message?

15      A.     I was.

16      Q.     To whom?

17      A.     To Tony Costa.

18      Q.     What do you write?

19      A.     "How you looking?"

20      Q.     He responds?

21      A.     "I'm home."

22      Q.     He responds further?

23      A.     "I had to break up a dog fight, twisted my ankle, at

24      animal control.      Tough morning.   So I'm home."

25      Q.     Your reply to that?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 112 of 235
                                                                          10-112




 1      A.    "Is that a no-go or can I come down?"

 2      Q.    Can we go to the next page, please, and look at box 142.

 3      At 142, that's a message -- box 142, excuse me.         Who is sending

 4      this message?

 5      A.    Tony to me.

 6      Q.    What does he say to you?

 7      A.    "Yes, come now.    Yes.   I'm home."

 8      Q.    And you respond?

 9      A.    "Okay."

10      Q.    He then -- then what happens, what's the next message?

11      A.    He says, "You almost here?"      And then he gave me his

12      address of 207 Sterling Street.

13      Q.    Thank you.    Do you, in fact, go to 207 Sterling Street on

14      that day?

15      A.    Yes.

16      Q.    What do you have in your possession when you go to that

17      house?

18      A.    The cash.

19      Q.    Now, sir, this is July 7, correct?

20      A.    Yes.

21      Q.    Did you already have the Letter of Non-Opposition?

22      A.    I believe so, yes.

23      Q.    If you had the Letter of Non-Opposition, then why were you

24      going to pay?     Didn't you have what you wanted?

25      A.    But it could be redacted or taken away at any time.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 113 of 235
                                                                          10-113




 1      Q.    Were you still intent on that time to pay the bribe?

 2      A.    Yes.

 3      Q.    Did you still believe that the bribe was going at least

 4      partly to the mayor?

 5      A.    Yes.

 6      Q.    What happened when you got to Tony Costa's residence?

 7      A.    I gave him the money.

 8      Q.    Presumably you then left at some point?

 9      A.    Correct, yes.

10      Q.    Did Tony Costa contact you at some point after you gave

11      him the $25,000 in cash?

12      A.    Yes, he did.

13      Q.    What did he say to you?

14      A.    That they didn't like the money and that they thought it

15      was fed money.

16      Q.    Who did you understand "they" to be?

17      A.    The mayor and, I forget, Camara.       I think it was Hil

18      Camara.

19      Q.    Do you know what happened -- at the time did you know what

20      happened to the $25,000 that the mayor and others didn't like

21      because they thought it was fed money.        What happened to that

22      money; do you know?

23      A.    Tony just switched it out for them for different cash.          He

24      resolved the issue for them.

25      Q.    Tony Costa resolved the issue; that was your
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 114 of 235
                                                                          10-114




 1      understanding?

 2      A.    Correct, yes.

 3      Q.    You got credit for the 25,000; is that your understanding?

 4      A.    Yes.

 5      Q.    You mentioned when I asked you who you believed "they"

 6      were, you mentioned the mayor and another person.          Who was the

 7      other person you mentioned?

 8      A.    I don't know.

 9      Q.    I think you said Hil or something.

10      A.    Oh, Hil Camara, yeah, but I didn't know who he was.

11      Q.    Did you know who Hil Camara was at that time?

12      A.    No, I did not.

13      Q.    You're using the word or the name Hil now.        At the time

14      did you -- when he said "they" don't like it, did you have any

15      idea who he was referring to, other than the mayor?

16      A.    No.

17      Q.    Sir, did you make any additional payments on the 150 you

18      had promised, a bribe, did you make any additional payments on

19      that after that first $25,000 in cash?

20      A.    Yes, I did.

21      Q.    And that additional, or those additional payments, who did

22      you think it was going to?

23      A.    To Tony and the mayor.

24      Q.    Sir, for these additional payments, did you pay entirely

25      in cash, or did you make a partial payment in another way?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 115 of 235
                                                                          10-115




 1      A.      Part of it was in cash and part was another way.

 2      Q.      And that other way was what?

 3      A.      Cannabis, marijuana.

 4      Q.      Who came up with the idea that you could pay part of the

 5      $150,000 in cannabis or marijuana?

 6      A.      Tony Costa.

 7      Q.      Did Tony Costa further explain what he was going to do

 8      with the cannabis that you gave him, what he was going to do

 9      with it?

10      A.      He was basically just using the mayor's money to make his

11      own money and then turning it into cash to give to him.

12      Q.      When you say "turning the cannabis into cash to give to

13      him," you understand the "him" was who?

14      A.      The mayor.

15      Q.      Sir, did you and Tony Costa exchange texts on July 12,

16      2018?

17      A.      Yes.

18      Q.      Let me direct your attention again to Exhibit 139.        I'd

19      ask you to look on page 15 and boxes 160 and 161.          On box 160,

20      that date is July 12; is that correct?

21      A.      Correct.

22      Q.      And this is a text from whom to whom?

23      A.      Tony to me.

24      Q.      And what does he write to you?

25      A.      "Just got a call asking what your time schedule."
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 116 of 235
                                                                            10-116




 1      Q.     And then you respond later that day to that, do you not?

 2      A.     Yes.

 3      Q.     What do you say?

 4      A.     "Couple more days, just trying to finish up this deal."

 5      Q.     And when you said I was trying to -- or wrote "I'm just

 6      trying to finish up the deal," what deal; what were you trying

 7      to do?

 8      A.     I was trying to gather the product that he asked me to

 9      get.

10      Q.     Sir, again drawing your attention to Exhibit 139, this

11      time to page 21, and specifically to boxes 228 to 229, the last

12      two boxes on that page, I would suggest.        What did Tony Costa

13      text you?     Do you see --

14      A.     "I have been calling my phone looking for paper.           I told

15      him it's almost here."      And then he sent a correction saying,

16      "He has been calling."

17      Q.     How did you understand those two texts taken together?

18      A.     The second text was a correction on the first one to

19      basically say, "He has been calling my phone looking for paper.

20      Told him it's almost here."

21      Q.     Who did you understand the "he" was?      Who was looking for

22      paper, as you understood it?

23      A.     Mayor Correia.

24      Q.     And if the mayor was looking for paper, what did you

25      understand "paper" was?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 117 of 235
                                                                          10-117




 1      A.      Money.

 2      Q.      Sir, I'd like to ask you some questions about July 20,

 3      four days after these texts.      July 20, 2018.     Did you make a

 4      second payment to Tony Costa on that date?

 5      A.      Yes.

 6      Q.      Did you give him both marijuana, as you had discussed, and

 7      cash?

 8      A.      Yes.

 9      Q.      Where did you get the money that you used to buy

10      marijuana, and where did you get the money that you used to

11      also give to Tony Costa at that time?

12      A.      Out of my bank account.

13      Q.      Sir, again I'd ask you to go back to Exhibit 163, this

14      time point 4.     Do you see that?

15      A.      Yes, I do.

16      Q.      And is that a cash withdrawal from July 20?

17      A.      Yes.

18      Q.      How much did you withdraw?

19      A.      50,000.

20      Q.      Where did you get the marijuana you gave Tony Costa?

21      A.      Numerous resources.

22      Q.      In and around Fall River?

23      A.      Yeah, all over, around that area.

24      Q.      How much marijuana did you give Tony Costa?

25      A.      Approximately, about 12, 13 pounds.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 118 of 235
                                                                          10-118




 1      Q.    Now, if the marijuana was going to be a substitute for

 2      cash --

 3                   MR. TOBIN:   Your Honor, may I offer 163.4, please.

 4                   THE COURT:   Yes, it's received.

 5                   (Exhibit 163.4 admitted into evidence.)

 6                   MR. TOBIN:   Thank you.   If that may be shown.

 7      Q.    Again, this is a bank record, your bank record?

 8      A.    Yes.

 9      Q.    And the date of this transaction?

10      A.    July 20, 2018.

11      Q.    Is this a cash withdrawal?

12      A.    Yes.

13      Q.    For how much money?

14      A.    50,000.

15      Q.    That's the money you used to pay for the weed and to give

16      additional cash to Tony Costa for the payment?

17      A.    That's correct.

18      Q.    Thank you.    You indicated just a moment ago, sir, that it

19      was ultimately 12 or 13 pounds of marijuana that you gave to

20      Tony in partial payment; is that true?

21      A.    Correct, yes.

22      Q.    Was there a value or a worth associated with each pound?

23      A.    Yes, there was.

24      Q.    That was negotiated between whom?

25      A.    Me and Tony.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 119 of 235
                                                                          10-119




 1      Q.    So originally, how much was each of these pounds of

 2      marijuana going to be worth?

 3      A.    Approximately about $1,400, $1,500, approximately.

 4      Q.    And sir, directing your attention, do you actually go to

 5      Tony Costa's house with the marijuana and the cash?

 6      A.    Yes.

 7      Q.    What happens at Tony Costa's residence?

 8      A.    He basically takes everything, and then he calls me up

 9      later or texts me later.

10      Q.    Talking about that text, could we go to Exhibit 139, page

11      27.   And directing your attention to box 294.        What's the date

12      of this text?

13      A.    July 20, 2018.

14      Q.    And what time is the text?

15      A.    6:39:54 p.m.

16      Q.    And had you already left Tony Costa's house?

17      A.    Yes.

18      Q.    Had you already given him the marijuana and the cash?

19      A.    Correct.

20      Q.    What does he text you?

21      A.    "Received 67,550."

22      Q.    Sir, what did you understand Tony Costa's text, "Received,

23      67,550" to mean?

24      A.    That's what I paid up to that point.

25      Q.    Did that include the $25,000 in cash you had previously
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 120 of 235
                                                                          10-120




 1      provided?

 2      A.    Correct, yes.

 3      Q.    And by your understanding did that also include the cash

 4      you provided him on this day?

 5      A.    Yes.

 6      Q.    July 20?

 7      A.    Yes.

 8      Q.    And the value of the marijuana as determined by you and

 9      Tony Costa?

10      A.    Correct.

11      Q.    Sir, ultimately would you receive text messages from Tony

12      Costa complaining about the quality or the lack of quality of

13      the weed you had provided to him?

14      A.    Yes, there was complaints.

15      Q.    Was it moldy or smelly or something like that?

16      A.    That's what he says.

17      Q.    So the value of it, was it taken down?

18      A.    Correct, yes.

19      Q.    When I say "the value," you understand that to mean the

20      credit you were receiving from each pound towards the bribe

21      amount?

22      A.    Correct, yes.

23      Q.    Sir, did you meet with Jasiel Correia again at a bar in --

24      when I say "again," did you meet with him again?         And let me

25      focus you to a bar in Providence.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 121 of 235
                                                                          10-121




 1      A.    Yes, I did.

 2      Q.    Where did you meet him specifically?

 3      A.    Tel Aviv.

 4      Q.    And was that on September 6, 2018?

 5      A.    Yes.

 6      Q.    Who was present at the meeting at the Tel Aviv in

 7      Providence?

 8      A.    Just me and the mayor.

 9      Q.    How was the meeting arranged between you and the mayor?

10      A.    Just through text messages back and forth.

11      Q.    Sir, again, I'm going to ask you to look at Exhibit 160,

12      the text between you and Mayor Correia.        Okay?   I'm going to

13      specifically ask you to look at page 4 of 160 and to focus on

14      boxes 120 through 122.

15      A.    Mm-hmm.

16      Q.    And, again, they're on the screen now.        These are texts

17      between you and Mayor Correia?

18      A.    Correct.

19      Q.    And outgoing is you; is that true?

20      A.    Yes.

21      Q.    What do you write?

22      A.    "Can I have five minutes of your time, please."

23      Q.    Then what do you write?

24      A.    "Here and outside."

25      Q.    And give me one moment, if you would, please.         So those
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 122 of 235
                                                                            10-122




 1      were on 9-5; is that accurate?

 2      A.      Correct.

 3      Q.      You ultimately meet him and talk with him at the Tel Aviv

 4      on September 5, 2018; is that true?

 5      A.      Yes.

 6      Q.      The next day would have, of course, been September 6; is

 7      that correct?

 8      A.      Yes.

 9      Q.      Do you send him a text message that next day, on September

10      6, about meeting him the night before?

11      A.      Yes.

12      Q.      I would direct you to box 123.     What's the date of that

13      text?

14      A.      9-6-2018, September 6, 2018.

15      Q.      And that's outgoing from you?

16      A.      Correct.

17      Q.      To whom?

18      A.      The mayor.

19      Q.      And what do you write to the mayor that morning?

20      A.      "Mr. Mayor, it was great to see you yesterday.       Just

21      wanted to follow up.     Since I'm running out of time, along with

22      sending a letter, could you please call Jen Barrow, Chief of

23      Staff at the DPH."     There was a phone number.      "And ask her to

24      expedite their approval.      Please tell her this clinic just

25      provides medical services.      It's not a place where children
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 123 of 235
                                                                          10-123




 1      commonly congregate for day programs.        Need their approval

 2      ASAP.    Thank you so much."

 3      Q.      So when you wrote originally the day after the meeting,

 4      "Mr. Mayor, it was great to see you yesterday," what meeting

 5      were you referring to?

 6      A.      At the Tel Aviv.

 7      Q.      So I'd like to go back to that meeting at the Tel Aviv.

 8      Again, were you social friends with Mayor Correia?

 9      A.      No.

10      Q.      What did Mayor Correia tell you at the Tel Aviv the night

11      before?

12      A.      He was just concerned that, you know, everything was still

13      going forward and everything was moving, that everything was

14      good.

15      Q.      What was good?   What was going forward, as you understood

16      it?

17      A.      The money.

18      Q.      And what did he say?   What were his words?

19      A.      He just was just wondering if everything was good.        "Are

20      we all set?"

21      Q.      Did he say, "Why isn't this done?"

22      A.      Yes.

23      Q.      Did he say, "Are we all set?"

24      A.      Yes.

25      Q.      Did he say, "Is the money good?"
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 124 of 235
                                                                          10-124




 1                     MR. REDDINGTON:   I'm going to object, Your Honor, to

 2      the leading.

 3                     THE COURT:   Yes, sustained.

 4                     Mr. Tobin, no more leading questions.   We want to hear

 5      from the witness, not from you.

 6      Q.      What did Jasiel Correia say to you, if anything, about

 7      money during that meeting?

 8      A.      He asked if we were all good.     "Is the money good?     Are we

 9      all set?"

10      Q.      What did you understand he was referring to?

11      A.      Finish paying off the first portion of the bribe.

12      Q.      Which would have been how much money?

13      A.      $75,000.

14      Q.      Had you paid the full 75 yet?

15      A.      No.

16      Q.      What did you respond when the mayor made that inquiry?

17      A.      I just told him that there was a few hiccups here and

18      there.    There was some additional costs that came through, and

19      that it was just taking a little bit more time, but it would be

20      done.

21      Q.      Who paid the bill or the tab at the Tel Aviv?

22      A.      I did.

23      Q.      Sir, again directing your attention to 163.5.       Do you

24      recognize what's at 163.5?

25      A.      Yes.    That's the --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 125 of 235
                                                                          10-125




 1      Q.    What is that?

 2      A.    The tab that I paid.

 3      Q.    Your credit card statement, if you will?

 4      A.    Correct.

 5                   MR. TOBIN:   Your Honor, may 163.5 come into evidence?

 6                   THE COURT:   Yes, it's received.

 7                   (Exhibit 163.5 admitted into evidence.)

 8      Q.    Sir, looking at that now, the posting date is September 6;

 9      is that accurate?

10      A.    Yes.

11      Q.    And the charge was from the Tel Aviv Cigar Bar and G,

12      Providence; is that true?

13      A.    Yes.

14      Q.    And how much did you pay?

15      A.    $86.20.

16      Q.    Was that for the meeting with the mayor?

17      A.    Yes.

18      Q.    Sir, did you make a final payment on the bribe?

19      A.    Yes.

20      Q.    Who did you pay?

21      A.    Tony Costa.

22      Q.    Where did you meet Tony Costa?

23      A.    We met off Airport Road in Fall River at a Cumberland

24      Farms.

25      Q.    When you met Tony Costa at Cumberland Farms parking lot,
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 126 of 235
                                                                          10-126




 1      what did you give him?

 2      A.    $10,000.

 3      Q.    Cash or check?

 4      A.    Cash.

 5      Q.    Any marijuana or just the 10,000?

 6      A.    Just the 10,000.

 7      Q.    And did you exchange texts with Tony Costa setting up the

 8      meeting at the Cumberland Farms?

 9      A.    Yes.

10      Q.    Again, I'm going to ask you to look at Exhibit 139.         And

11      this time I'll focus you to pages 59 and 60.         And specifically

12      looking at boxes or texts 646 through 658 -- and, again, 646

13      and 647 are on one page and the remaining on the next two

14      pages; is that true?

15      A.    Yes.

16      Q.    So sir, looking at the text from March 28, 2019, who is

17      that from?

18      A.    Tony to me.

19      Q.    What does he say?     What does he write, I should say?

20      A.    "Are you on your way?"

21      Q.    And what do you respond?

22      A.    "Can you meet me off Airport Road?"

23      Q.    What does he respond?

24      A.    "Yup.   Where, at the Dunkin' Donuts."

25      Q.    And then you say?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 127 of 235
                                                                          10-127




 1      A.    "Cumberland Farms at the rotary."

 2      Q.    He responds?

 3      A.    "Okay.    When?"

 4      Q.    You reply?

 5      A.    "Ten minutes, 15 minutes."

 6      Q.    He replies?

 7      A.    He replies, "Okay, okay."

 8      Q.    And then?

 9      A.    I wrote, "10, 15 minutes."

10      Q.    And he replies?

11      A.    "Okay."

12      Q.    Do you, in fact, meet him at the Cumberland Farms, as you

13      were planning during these texts?

14      A.    Yes.

15      Q.    And, again, what happens there?

16      A.    I give him the $10,000.

17      Q.    Sir, later after the meeting, at 6:32 did you send Tony

18      Costa a text message?

19      A.    Yes.

20      Q.    Is that at box 659?

21      A.    Yes.

22      Q.    It's 6:32 in the afternoon or evening; is that true?

23      A.    Correct.

24      Q.    What do you text him?

25      A.    "Please confirm 10k."
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 128 of 235
                                                                          10-128




 1      Q.    What does he respond?

 2      A.    "Yup."

 3      Q.    And the 10K you were referring to was what?

 4      A.    $10,000.

 5      Q.    So just by way of -- the first amount of cash was?

 6      A.    25.

 7      Q.    And this third amount was?

 8      A.    10,000.

 9      Q.    And then in between there was cash and weed; is that

10      accurate?

11      A.    Correct.

12      Q.    Sir, at some point did Mayor Jasiel Correia ever tell you

13      how many Letters of Non-Opposition he intended to sign or

14      issue?

15      A.    Yes, he did.

16      Q.    Approximately what did he say?

17      A.    About six or seven.

18      Q.    Do you know how many, in fact, he did issue?

19      A.    13 or 14.

20      Q.    Sir, do you know Charles Saliby?

21      A.    Yes, I do.

22      Q.    How do you know Charles Saliby?

23      A.    He's my best friend.

24      Q.    And at some point did you converse with Charles Saliby

25      about the arrangement you had to pay a bribe?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 129 of 235
                                                                          10-129




 1      A.    Yes.

 2                   MR. TOBIN:   I don't have any further questions, but

 3      please remain seated.

 4                   THE COURT:   Mr. Reddington.

 5      CROSS-EXAMINATION BY MR. REDDINGTON:

 6      Q.    So, sir, we've had obviously testimony regarding the

 7      intent and the effect of proffer agreement letters, cooperation

 8      agreement letters, and you received both, correct?

 9      A.    Correct.

10      Q.    Your cooperation agreement basically indicates that you

11      will cooperate with law enforcement, that you will testify if

12      they require that you testify, and that in consideration of

13      that, you will receive certain benefits, right?

14      A.    Yeah, basically said that I have to tell the truth.

15      Q.    I understand you want to tell the truth.        But the benefit

16      is, sir, that you will not be charged with any criminal

17      offense, true?

18      A.    Yes.

19      Q.    And the proffer agreement was signed on June 17 of '19,

20      correct?

21      A.    Yes.

22      Q.    And in September of '19, that's when you signed the actual

23      cooperation agreement?

24      A.    Okay.

25      Q.    Now, you knew, and when you -- by the way, when you were
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 130 of 235
                                                                          10-130




 1      represented by counsel, you had occasion to go upstairs in this

 2      building to do this proffer, right?

 3      A.    Correct.

 4      Q.    And what is a proffer?     What does that mean?

 5      A.    Say again.

 6      Q.    What is a proffer?     When you sign a proffer agreement and

 7      you go and you meet with people to proffer, do you know what

 8      that means?

 9      A.    No.

10      Q.    Do you recall meeting in the United States Attorney's

11      Office in this building?

12      A.    Yes.

13      Q.    And you recall going into a room where a number of people

14      were there, right?

15      A.    Yes.

16      Q.    Present would be your attorney, Mr. Contant, correct?         He

17      was with you?

18      A.    Correct.

19      Q.    There was an FBI special agent that was there, correct?

20      A.    Yeah.

21      Q.    There was a senior investigator, Daniel O'Neil, from the

22      State of Massachusetts that was there, correct?

23      A.    Okay.

24      Q.    There was a representative of the Office of the Inspector

25      General that was there, correct?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 131 of 235
                                                                          10-131




 1      A.      Okay.

 2      Q.      Sandy Lemanski from the Internal Revenue Service was

 3      there, right?

 4      A.      Yeah.

 5      Q.      And Assistant United States Attorney Zach Hafer was

 6      present, correct?

 7      A.      Do you have four people or five?

 8      Q.      Well, let's see.

 9      A.      Besides my attorney.

10      Q.      Excluding you and your attorney, would be one, two, three,

11      four, five, six, seven people.

12      A.      No.

13      Q.      So you don't -- in any event, you recall that there were a

14      number of people that were at this meeting, correct?

15      A.      Yes.

16      Q.      And it was during this meeting that you were asked a lot

17      of questions about your activities, right?

18      A.      Correct.

19      Q.      You also at the time had fairly successful business or

20      businesses, did you not?

21      A.      Yes.

22      Q.      And how many different businesses did you have at that

23      time?

24      A.      Two or three.

25      Q.      And what were the nature of those businesses?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 132 of 235
                                                                          10-132




 1      A.    One was a tobacco wholesale company, and the other one was

 2      just cannabis.

 3      Q.    And where was the tobacco wholesale company located?

 4      A.    Avon.

 5      Q.    And where was the cannabis company located?

 6      A.    In Rhode Island.

 7      Q.    Did you own real estate and property with or in

 8      consideration of those businesses?

 9      A.    No.    We leased.

10      Q.    And did you -- obviously you filed your income taxes for

11      the corporations, I would imagine, correct?

12      A.    Correct.

13      Q.    You declared all the income that you made, as far as

14      you're concerned, on those income tax returns, right?

15      A.    Correct.

16      Q.    And you were also involved in drug dealing itself, right?

17      A.    Yes.

18      Q.    Right.    And how much money -- let's just randomly say

19      2018, how much money did you make on dealing illegal marijuana,

20      not legal marijuana?

21      A.    I didn't make anything.

22      Q.    You were involved in drug dealing, sir?        When I say "drug

23      dealing," I'm not referring to selling cannabis or medicinal

24      product.     You were involved in illegal drug dealing, correct?

25      A.    Yeah, I know what you were referring to.        No.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 133 of 235
                                                                          10-133




 1      Q.    You were not?

 2      A.    Correct.

 3      Q.    Okay.   When you were doing your proffer, for example, the

 4      representative of the Internal Revenue Service, did she ask you

 5      to produce your tax returns or your business records?

 6      A.    They could get those themselves.

 7      Q.    I asked you about at the proffer, sir, did they ask you

 8      prior to that or at the time of to produce any records?

 9      A.    Yes.

10      Q.    Did you produce the records?

11      A.    Yes.

12      Q.    What did you produce?

13      A.    Bank statements.

14      Q.    And all of your bank statements, or just the ones we

15      looked at on the little screen here?

16      A.    All the bank statements.

17      Q.    Do you recall how long the proffer agreement was, how long

18      it took?

19      A.    How long did it take?

20      Q.    Yeah.

21      A.    I don't know.

22      Q.    Fair to say, sir, that you submitted an application of

23      intent to open a registered marijuana dispensary, and you had

24      one year to obtain a provisional certificate of registration or

25      PCR, right?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 134 of 235
                                                                          10-134




 1      A.    Repeat your question again.

 2      Q.    Do you know what a PCR is, a provisional certificate of

 3      registration?

 4      A.    Yes, I do.

 5      Q.    What is that?

 6      A.    That just basically allows you to operate -- it's like the

 7      beginning licensing for marijuana.

 8      Q.    And you have one year to obtain that PCR, correct?

 9      A.    Correct.

10      Q.    So you were looking into opening a business in the City of

11      Fall River, and you were reaching out to Fall River, as it

12      were, elected officials, to get the process going for your

13      business, and you were pretty much running into a stone wall,

14      right?

15      A.    Correct.

16      Q.    You felt for a passage of time that you were not -- they

17      were not responsive to your inquiries and requests, correct?

18      A.    Correct.

19      Q.    And how long had you been reaching out trying to open up a

20      marijuana business in Fall River without having any response

21      from anybody?

22      A.    A few months.

23      Q.    So you were somewhat frustrated at that point, right?

24      A.    Correct.

25      Q.    So as a result of being frustrated, you spoke to this
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 135 of 235
                                                                          10-135




 1      fellow Craig that you've described from East Coast Hydro, a

 2      marijuana retail supply company, right?

 3      A.    Yes.

 4      Q.    And how did you know Craig?

 5      A.    Just through a mutual friend.

 6      Q.    What is Craig's last name?

 7      A.    I don't recall.

 8      Q.    So when you spoke with Craig -- and where did that

 9      conversation take place?

10      A.    At his place.

11      Q.    And you spoke with him about the fact that you wanted to

12      open your marijuana dispensary but it was really going nowhere.

13      At that point Craig told you that his landlord, Tony Costa,

14      knew the mayor of Fall River, right?

15      A.    That's correct.

16      Q.    Through Craig you were able to meet Mr. Costa, correct?

17      A.    Yes.

18      Q.    First time that you met Mr. Costa you told Mr. Costa that

19      you wanted to open this retail store and shop in Fall River,

20      Mass., and Costa told you that he had a good relationship with

21      the mayor, Jasiel Correia, right?

22      A.    Yes.

23      Q.    And Costa said that he would speak to Correia on your

24      behalf, correct?

25      A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 136 of 235
                                                                          10-136




 1      Q.    And that after speaking with the mayor, Costa then told

 2      you, reached out to you, and stated that the cost of the Letter

 3      of Non-Opposition from the City of Fall River was $250,000 is

 4      what you testified to, correct?

 5      A.    Yes, that was the negotiation.

 6      Q.    And a percentage of the business.       This is what Costa told

 7      you, right?

 8      A.    That was the second part of the negotiation, yes.

 9      Q.    So this is what Costa told you, though, right?

10      A.    Correct.

11      Q.    And that you told Costa -- you were negotiating with

12      Costa.    You said, "I'll pay $100,000," right?

13      A.    150 was the final.

14      Q.    Oh.

15      A.    150 was the final agreement.

16      Q.    Yeah.   Do you remember telling him that you'd pay

17      $100,000?

18      A.    Yes, that was part of the negotiation.

19      Q.    And then eventually you agreed to pay $150,000, right?

20      A.    That's correct.

21      Q.    And this money would be given to Costa, but it was your

22      understanding that Costa was going to use it to bribe the mayor

23      apparently, right?

24      A.    I thought it was initially for Mr. Costa at first, but

25      then --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 137 of 235
                                                                          10-137




 1      Q.    You thought it was for Costa?

 2      A.    Yes.    I was not sure, but --

 3      Q.    So is it fair to say that you always dealt with Costa when

 4      attempting to get the Letter of Non-Opposition?

 5      A.    Yes.

 6      Q.    And that at one point you were able to meet with Jasiel,

 7      the mayor, at his office at City Hall on one occasion, right?

 8      A.    Correct.

 9      Q.    And he was with some other people, one of which would be

10      Gen Andrade, right?

11      A.    Yeah.

12      Q.    And how many other people were at the meeting?

13      A.    Craig and John.

14      Q.    John?

15      A.    Craig is the mutual friend and Craig is the owner of the

16      store.

17      Q.    Okay.   And you basically kind of pitched the business?

18      A.    Correct.

19      Q.    Good location, you know, good product, good staff, things

20      of that nature, correct?

21      A.    Absolutely.

22      Q.    And that was in your effort to obtain this Letter of

23      Non-Opposition, right?

24      A.    Yes.

25      Q.    And the meeting went pretty good, didn't it?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 138 of 235
                                                                          10-138




 1      A.    Yeah, pretty good.

 2      Q.    Now, at this point you hadn't met up with Jasiel Correia

 3      at all other than this meeting, right?

 4      A.    Correct.

 5      Q.    You had no dinners, no Ocean Prime, no meeting at Tel

 6      Aviv, things of that nature; it was just pretty much

 7      straightforward you went in, had your interview regarding

 8      getting the Letter of Non-Opposition, right?

 9      A.    Yes.

10      Q.    And ultimately, sir, the Letter of Non-Opposition was

11      indeed issued, was it not?

12      A.    It was.

13      Q.    And you received the Letter of Non-Opposition before any

14      payments whatsoever were made to Tony Costa, right?

15      A.    I have to check the dates.

16      Q.    You'd have to check the dates?

17      A.    Yeah, but I believe so, yeah.

18      Q.    Check the dates of what, the cash that you put in an

19      envelope?

20      A.    Yeah, the withdrawals from my bank account, yeah.

21      Q.    Okay.    So the withdrawals -- how about search your memory

22      as to when you made the withdrawal from the five, five and five

23      that we already looked at --

24                   MR. REDDINGTON:   Can you pull that up for me, please,

25      Alyssa.   Thank you.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 139 of 235
                                                                          10-139




 1      Q.      Now, June 29, 2018, you make a withdrawal of 5,000, right?

 2      A.      Yup.

 3      Q.      June 29, another five and another five, correct?

 4      A.      Yup.

 5      Q.      Now, do you know when you received the Letter of

 6      Non-Opposition, sir?

 7      A.      It's dated July 2, but I received it there a little bit

 8      after.

 9      Q.      And when you received the Letter of Non-Opposition, you

10      also received a Community Host Agreement?

11      A.      I believe so, yes.

12      Q.      You know what a Community Host Agreement is, right?

13      A.      Yeah, that's the recreational part of marijuana.

14      Q.      And did you receive two copies of that, if you recall, to

15      sign both of them and return them?

16      A.      I don't know if I received two copies, but I did receive a

17      copy.

18      Q.      So when you went to the bank and you withdrew the cash,

19      you put it in a manila envelope, and then you reached out to

20      Tony Costa, correct?

21      A.      Yes.

22      Q.      And that's when you ended up having the meeting with

23      Mr. Costa; you went to his house?

24      A.      Correct, afterwards, yeah.

25      Q.      When you went to his house, where did you meet him
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 140 of 235
                                                                          10-140




 1      actually, in the yard, driveway?

 2      A.    Out front, front of his house.

 3      Q.    And you had a conversation with Mr. Costa, I imagine, when

 4      you handed him the envelope?

 5      A.    Yes.

 6      Q.    And what was the conversation you had with Costa?

 7      A.    Just about the cash, just, you know, just talking

 8      gentlemen's talk, just say, "How you doing?         How's everything

 9      going?"   That sort of thing.

10      Q.    And it was 25,000.     It wasn't 50,000, right?

11      A.    Correct.

12      Q.    It wasn't 27,000.     It was 25, correct?

13      A.    Mm-hmm.

14      Q.    All $100 bills?

15      A.    Correct.

16      Q.    And Mr. Costa, after exchanging pleasantries with you,

17      ended up leaving and you left.       He went back in his house and

18      you left, right?

19      A.    Correct.

20      Q.    And it was in June of 2018 that you went to the Ocean

21      Prime with Jasiel Correia, right?

22      A.    Yes.

23      Q.    It was June that same evening that you went to the cigar

24      bar in the North End where you discussed or told the jury about

25      the conversation regarding "How we looking with the money" and
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 141 of 235
                                                                          10-141




 1      all of that, right?

 2      A.    Yes.

 3      Q.    Because he asked you at the Ocean Prime, "How we looking

 4      with the money," right?

 5      A.    No.    Just gentlemen's talk, getting to know each other.

 6      Q.    Okay.    So he did not have any conversation with you at the

 7      Ocean Prime about money and bribes or anything.         It was at the

 8      Tel Aviv, right?

 9      A.    No.    There was two cigar bars on two different dates.

10      Q.    Okay.    Ocean Prime --

11      A.    The first one was Ocean Prime.       After there --

12      Q.    Go ahead.

13      A.    -- we went to a cigar bar in the North End.         And at that

14      moment when we left, that's when he asked me those questions.

15      Q.    Right.    And this is monumental to you.      It's anchored in

16      your brain.    You remember where this conversation took place,

17      right?

18      A.    Correct.

19      Q.    You recall on July 15 of 2019 when you were involved with

20      the FBI and investigators that you were asked about going to

21      the Ocean Prime restaurant located in the Seaport District of

22      Boston, Mass.

23      A.    Okay.

24      Q.    You talked to them about it, didn't you?

25      A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 142 of 235
                                                                          10-142




 1      Q.     And you provided receipts and everything for the cigar bar

 2      and for the dinner, correct?

 3      A.     It was on the bank statements, yes.

 4      Q.     And you provided that to them, right?

 5      A.     Correct.

 6      Q.     And you indicated that Bairos, that would be you, and

 7      Correia had dinner together because he was taking a class at

 8      Harvard.     So you guys met up, had general conversation, right?

 9      A.     Correct.

10      Q.     And it was at this point Correia was cautious but asked

11      you at the Ocean Prime if "he was good with the money."           That

12      would be you?

13      A.     That was not at Ocean Prime.

14      Q.     You told the FBI it was at Ocean Prime, didn't you?

15      A.     No.   It was afterwards.

16      Q.     Do you remember talking to the FBI, and when they asked

17      you about it, you indicated in June of 2018 that you met with

18      Jasiel Correia, you had dinner together, general conversation,

19      and Correia was cautious but asked you if you were good with

20      the money?

21      A.     Yes, at the end of the night, yes.

22      Q.     Okay.   That was at the Ocean Prime is what you told the

23      FBI?

24      A.     We went to Ocean Prime.     Then we went to a cigar bar.      And

25      at the end of the night, that's when it was asked.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 143 of 235
                                                                           10-143




 1      Q.      Well, you did mention the fact that after that you went to

 2      the cigar bar in the North End, right?        That's where you went

 3      to the cigar bar?

 4      A.      Right, after Ocean Prime.

 5      Q.      I understand that.    That's what you told the FBI.       So

 6      initially you indicated to the FBI, sir, that you had dinner --

 7                  THE COURT:   Well, Mr. Reddington, it's this witness's

 8      testimony, not something that you found somewhere that you

 9      think supports this.     The testimony is the witness's, not some

10      notes that you may have made.

11                  MR. REDDINGTON:    This is the --

12                  THE COURT:   And so using a document like that is

13      improper for that purpose, and I'll ask you to put it down.

14      You can ask him what he said.       He can respond.    And then we'll

15      deal with that as necessary.

16      Q.      Do you have a memory of telling the investigators or the

17      agents when you were being debriefed that the conversation that

18      you had with Jasiel Correia regarding money took place at the

19      Ocean Prime restaurant?

20      A.      It happened that night.

21      Q.      And do you recall further --

22                  THE COURT:   As I indicated, please put the document

23      down.    It suggests to the jury that there's some documentation,

24      and there's no basis for that.

25                  MR. REDDINGTON:    Okay.   I was just using it as a
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 144 of 235
                                                                          10-144




 1      guide.

 2                  THE COURT:   Yes, I understand what you were using it

 3      for.    That's why I've asked you to put it down.

 4                  MR. REDDINGTON:   Okay.

 5      Q.      Do you recall indicating to the investigators, sir, about

 6      the cigar bar in the North End that, in fact, you had no

 7      conversation regarding, "Is it okay."        You guys just kind of

 8      socialized and smoked cigars?

 9      A.      We socialized at both events, and at the end of the night

10      is when that came up.

11                  THE COURT:   Are we moving now on to another topic?

12                  MR. REDDINGTON:   Yes, Your Honor.

13                  THE COURT:   So ladies and gentlemen, we'll take our

14      break.

15                  Let me give you a little brief lesson on the use of

16      documentation and that sort of thing.        As I've told you, the

17      law is and evidence is particularly concerned that we hear

18      testimony of the witness.      You get to see the witness live and

19      hear how they respond.      That's the primary concern.      From time

20      to time it's suggested that the witness has made inconsistent

21      statements perhaps on some other occasion.         And the witness is

22      given the opportunity to respond to that suggestion, as it was

23      here.    But without something more, we don't go to the purported

24      inconsistent statements.      You ask the question about

25      inconsistent statements and the evidence is left with the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 145 of 235
                                                                          10-145




 1      witness's response.

 2                 For that reason, the idea of using some documentation

 3      or waving some documentation around or that sort of thing is

 4      not proper.    And that's the basis for my instruction to

 5      Mr. Reddington.

 6                 So you've heard what the witness has to say here in

 7      court.    Unless there's some additional evidence offered

 8      separately, then we have his testimony, whether you believe it

 9      or not.   But that's up to you.      That's the kind of basic rules

10      of the road for dealing with suggestions of inconsistent

11      statement, as we've had here.

12            So we'll take our break.      We'll be back at around 1:30.

13      And remember, again, that we'll be breaking about 3:00 today.

14                 (Jury exits the courtroom.)

15                 THE COURT:   Anything else before the break?

16                 MR. HAFER:   Not from us, Your Honor.

17                 MR. REDDINGTON:    No.

18                 THE COURT:   All right.    We'll be in recess.

19                 (Recess taken 12:50 p.m.)

20                 (Resumed at 1:35 p.m.)

21                 THE CLERK:   All rise.

22                 (Court entered the courtroom.

23                 THE CLERK:   Please be seated.

24                 THE COURT:   I understand that counsel wants to take up

25      some matters.    I assume that they are in camera?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 146 of 235
                                                                              10-146




 1                 MR. REDDINGTON:    Yes, Your Honor.

 2                 THE COURT:   Okay.    So I'll ask the press

 3      representative to leave the courtroom at this point.

 4                 (Press representative left the courtroom.)

 5                 THE COURT:   So, Mr. Reddington, I understand that

 6      there's a matter that you wanted to take up?

 7                 MR. REDDINGTON:    Yes, Your Honor, thank you.         I

 8      appreciate it.

 9                 I don't want to incur the ire of the Court, so I'm

10      kind of looking for a little guidance as to the confrontation

11      of cross-examination of this witness.

12                 The 302 that I have received in discovery is my guide,

13      if you will, as to not only the testimony but also what this

14      gentleman indicated to Sara O'Leary, the FBI agent who prepared

15      the 302.

16                 So my question to Your Honor is, I have clean copies

17      of the 302 not marked up.       Would it be acceptable for me to put

18      one copy on the witness stand, ask the gentleman, "Did you tell

19      the FBI X," for example, he can then say, "No."         I could then

20      say, "Would you please look at paragraph," whatever it may

21      be --

22                 THE COURT:   Let me tell you how I believe it is

23      properly done.    That is to say, ask the witness, did he say

24      such and such, the witness answers.        He doesn't have his

25      recollection refreshed by looking at some other document.              If
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 147 of 235
                                                                          10-147




 1      he says, "I don't recall," you might be able to refresh his

 2      recollection with such a document.       Although, I'll be very

 3      careful about it.     I've been, perhaps, too lax in enforcing the

 4      basic rule that a 302 is not evidence, it is -- it becomes a --

 5      contents may become evidence if certain preconditions are met.

 6      And the danger is what I observed, which is to wave a document

 7      in front of the jury as if it were evidence, as if it were

 8      grand jury testimony, as if it were something that has an

 9      independent significance.      I'm not going to let that happen

10      anymore.

11                 I've permitted a fair amount of leeway in this case.

12      I've let leading questions go forward on certain matters, but I

13      have an independent responsibility to assure that the jury has

14      brought to their attention only those things that are properly

15      admissible.

16                 302s, whether under the guise of waving a document in

17      front of them or actually attempting to submit the document or

18      offering it or referencing it in a way that suggests that there

19      exists such a document that has some independent significance

20      is not proper.

21                 Now, the one way of dealing with it, not to go through

22      all of them, is to call the FBI agent in.        I doubt I'll let

23      that happen because the nature of the impeachment by prior

24      inconsistent statement was so collateral to the defendant's

25      (sic.) testimony that it seems to me that we aren't going to be
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 148 of 235
                                                                          10-148




 1      spending time searching through and contradicting with

 2      extrinsic evidence of the testimony what the witness had to

 3      say.

 4                So you can ask.     The witness answers however they

 5      answer, "I don't recall," "No, I didn't," "No, that was in the

 6      North End, not in Ocean Prime," and I'll rule on it from there,

 7      but the document itself is not going to be produced in the

 8      presence of the jury without some further foundation.

 9                So that's my basic rule with respect to it, it's the

10      one I followed all along, I think it is consistent with the

11      Federal Rules of Evidence.

12                I have made similarly sharp comments, directed

13      comments most recently to Mr. Tobin about him testifying as

14      opposed to the witness testifying.       It's improper.     And when it

15      goes to the heart of the witness' testimony, like your name is

16      X or back on and there's a throat clearing and some leading

17      questions are offered, when it goes to the heart of the

18      witness' testimony, I want the witness' testimony, that's what

19      the jury is entitled to, not Mr. Tobin saying, "Agree?"

20      Because this is direct examination.

21                Now, I use those as two illustrations of basic

22      proposition that the Court, that is, the trial judge, exercises

23      fairly substantial control over the admission of evidence with

24      a view toward avoiding redundancy, unfair prejudice or

25      inconsequential tangential matters because we've got to get
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 149 of 235
                                                                          10-149




 1      right to the core of it, and that goes back to the larger

 2      purpose that I've been pressing here, we've got to get through

 3      this case promptly.     Not unfairly, but promptly.

 4                And so the distractions of me having to instruct with

 5      respect to those rules of evidence are time I will take to

 6      explain to the jury what's going on here because I think I have

 7      to here, but I'm going to be enforcing them very strictly at

 8      this point, And I hope that explains where I'm going on it.

 9                It's not a matter of incurring my ire one way or the

10      other.   As you know, I'm blunt spoken, brusque, but an equal

11      opportunity blunt spoken and brusque person.         And this applies

12      to both parties in service of getting this case fairly to the

13      jury as promptly as possible.

14                MR. REDDINGTON:     So, could I just ask, Your Honor, I

15      respectfully would disagree that it's inconsequential when I

16      have allegedly a statement that is clearly inconsistent and

17      diametrically opposed to a very, very important portion of his

18      testimony.    I would believe that I should be allowed to at

19      least confront the witness with the prior inconsistent

20      statement, not offered for the truth of the matter it --

21                THE COURT:    No, you have an opportunity -- you ask him

22      the question.    He answers the question.      He said, no, it wasn't

23      what you say, it was something else.

24                MR. REDDINGTON:     Okay.

25                THE COURT:    And now the question is:      Do we get to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 150 of 235
                                                                          10-150




 1      extrinsic evidence, that is, the statement of the FBI agent,

 2      because the FBI agent would have to come in and contradict it.

 3                And my view of this contradiction is it's so marginal,

 4      if even that, that I'm not going to permit extrinsic evidence

 5      with respect to it.

 6                He says it was at the bar afterwards, the 302, if -- I

 7      trust you that that's what the 302 says, but, you know, this is

 8      relatively modest, I guess, so modest that I wouldn't permit

 9      extrinsic evidence of it.

10                I mean, you can offer it if you want, and I'll rule on

11      it, and you'll have a record with respect to my ruling on that.

12                MR. REDDINGTON:     So could I put the clean 302 without

13      referencing it on the witness stand in the event that --

14                THE COURT:    No, no, he has not indicated that he

15      doesn't recall what he said.      The only reason to have it in

16      front of him is to refresh his recollection, that's the only

17      reason to have it in front of him.

18                MR. REDDINGTON:     Or as I understand it to impeach him

19      with a prior inconsistent statement.

20                THE COURT:    You do that orally.     You don't do that

21      with a document in front because then the document before the

22      jury suggests to the jury that there is some document that

23      contradicts him which is a backdoor way of getting before the

24      jury a matter that is extrinsic evidence, and I'm not

25      permitting it.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 151 of 235
                                                                          10-151




 1                 MR. REDDINGTON:    I understand that.

 2                 But -- so, if I were to at least have -- how else

 3      would I refresh his memory?      In other words, to have him --

 4                 THE COURT:   You'll have to wait and see when he has an

 5      unrefreshed memory and whether or not I think it's worth the

 6      effort to permit the request to refresh his memory.          Is there

 7      something that would refresh your memory?

 8                 You could say, "Does my hair refresh your memory,"

 9      remember, because we were talking about hair, see my hair -- I

10      mean, it's the usual stuff about refreshing recollection.

11                 Is it -- does thinking about a moonshot refresh your

12      recollection about what happened on such and such a day?          It

13      doesn't have to be a document, it can be anything It, hank of

14      hair, a stone, a moonshot.      But when it becomes a document,

15      then it is a backdoor introduction of the document itself or

16      the significance of the document.       I'm not going to permit it.

17                 So that's how I'm going to treat those -- those

18      matters.

19                 MR. REDDINGTON:    So just so Your Honor knows what I

20      would try to do, because actually, this is kind of like the

21      only template, if you will, that I have --

22                 THE COURT:   Sure.   I have been permitting it --

23                 MR. REDDINGTON:    Oh, I know.

24                 THE COURT:   Just a moment.

25                 I'm not trying to cut you off, but I just want you to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 152 of 235
                                                                          10-152




 1      be clear on this.     I've been permitting it because that's how

 2      everybody does it.     You know, they make notes along the side of

 3      the 302s and that provides a good way to identify those things

 4      that you want to pursue and that sort of thing, that's fine; I

 5      don't disagree with it.      But now it took on this life of its

 6      own, not as a set of notes for you to ask questions of the

 7      defendant (sic.), but something that independently itself

 8      impeaches the defendant and -- sorry, the witness, and that it

 9      may not do without further foundation.

10                MR. REDDINGTON:     I think I understand, Your Honor.

11                THE COURT:    Okay.

12                MR. REDDINGTON:     Could I respectfully note my

13      objection, please?

14                THE COURT:    Well, with respect to the question of

15      extrinsic evidence as to contradiction having to do with at

16      what point was there a discussion about money, Ocean Prime or

17      at the cigar bar afterwards, yes.

18                MR. REDDINGTON:     Thank you.

19                And I just want to make sure, Your Honor, that you

20      understand, because I don't want to obviously, you know,

21      question by question and have you get mad at me, so what I'd

22      like to do --

23                THE COURT:    Listen, I don't get mad.

24                MR. REDDINGTON:     Could I have an objection to the

25      fact -- the ruling that I cannot impeach the witness by prior
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 153 of 235
                                                                          10-153




 1      inconsistent statement?

 2                THE COURT:    I have no made such ruling.

 3                MR. REDDINGTON:     Oh.

 4                THE COURT:    You can impeach by prior inconsistent

 5      statement, you just got to do it right, and you can't do it

 6      with extrinsic evidence until we've gotten to that point.

 7                So the short of it is you can do impeachment by prior

 8      inconsistent statement as you choose; what you can't do is

 9      introduce extrinsic evidence or have the effective equivalent

10      of introducing extrinsic evidence.

11                So there's no standing objection to my not permitting

12      impeachment by prior inconsistent statement.         I permit it, if

13      it's properly supported.

14                MR. REDDINGTON:     Okay.

15                THE COURT:    Okay.

16                So are we ready for the witness?

17                MR. TOBIN:    Yes, Your Honor.

18                THE COURT:    Okay.

19                (Pause.)

20                THE CLERK:    All rise.

21                (Jury entered the courtroom.)

22                THE CLERK:    Please be seated.

23                THE COURT:    So we'll continue with the examination of

24      Mr. Bairos, Mr. Reddington.

25                MR. REDDINGTON:     Thank you, Judge.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 154 of 235
                                                                          10-154




 1      BY MR. REDDINGTON:

 2      Q.      So, sir, I think you had indicated that the first payment

 3      that you made was to Mr. Costa for $25,000 cash, correct?

 4      A.      Yes.

 5      Q.      Then the second so-called payment would have been through

 6      the use of marijuana, correct?

 7      A.      Correct.

 8      Q.      And you purchased marijuana and paid $2,000 a pound for

 9      that marijuana, correct?

10      A.      That was a guesstimate, but it was less.

11      Q.      You went to Rhode Island to purchase the marijuana,

12      correct?

13      A.      No.

14      Q.      Did you obtain the marijuana from multiple sources?

15      A.      Correct.

16      Q.      Did you obtain the marijuana from a fellow by the name of

17      Rich?

18      A.      No.

19      Q.      From Bridgewater/Raynham area?

20      A.      There was multiple people.

21      Q.      Did you go to Rhode Island and obtain the marijuana from

22      Paul?

23      A.      Everything was done in state.    I didn't go out of state.

24      Q.      Did you ever tell the FBI that you went to Rhode Island to

25      meet up with Paul to purchase the marijuana?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 155 of 235
                                                                          10-155




 1      A.    That's where he's from, but I didn't go there.

 2      Q.    And what's his name?

 3      A.    Paul.

 4      Q.    Paul what?

 5      A.    I don't know his last name.

 6      Q.    Well, you then dealt directly with Mr. Costa, and you gave

 7      him the marijuana, correct, about 13 or 14 pounds?

 8      A.    That's correct, yeah.

 9      Q.    And then it was your understanding -- you knew Mr. Costa

10      was a drug dealer, correct?

11      A.    I had an idea, I didn't know.

12      Q.    And in reference to -- you knew that Jasiel Correia had a

13      legal defense fund, right?

14      A.    Yes.

15      Q.    And in fact, he had talked about the legal defense fund on

16      a number of occasions with you, correct?

17      A.    A couple of times, maybe.

18      Q.    You knew he was basically asking for a donation or money,

19      right?

20      A.    Yeah.

21      Q.    To pay the lawyer that he had representing him, right?

22      A.    Yes.

23      Q.    And in fact, one of the discussions that you had at the

24      Ocean Prime was regarding the legal defense fund, right?

25      A.    I don't recall.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 156 of 235
                                                                          10-156




 1      Q.    Do you recall telling him that you were a big contributor

 2      to politicians?

 3      A.    I wouldn't consider myself a big contributor.

 4                   THE COURT:   Mr. Bairos, listen to the question.     The

 5      question was being asked -- stating that, excuse me.

 6                   Listen very carefully to what Mr. Reddington asks you,

 7      only answer that question, not answer some other -- with some

 8      other thoughts.

 9                   THE WITNESS:   Sure.

10      BY MR. REDDINGTON:

11      Q.    Do you recall discussing the fact that you were a --

12      perhaps large is not the right word, but that you had made

13      many, many political contributions to politicians?

14      A.    Yes.

15      Q.    And in fact, sir, you file -- or the Office of Campaign

16      Finance keeps records on the amount of money that is paid by

17      citizens or an individual to politicians, correct?

18      A.    Correct.

19      Q.    And for example, Charles Baker, you donated -- well, on

20      one occasion, July 19th of 2016, $1,000, right?

21      A.    Mm-hmm.

22      Q.    Pretty much all of your donations to the politicians were

23      in increments of a thousand dollars, right?

24      A.    Correct.

25      Q.    Maura Healey, correct?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 157 of 235
                                                                          10-157




 1      A.    Correct.

 2      Q.    Robert DeLeo?

 3      A.    Okay.

 4      Q.    And numbers of politicians from, for example, September

 5      10th of 2002 until 2020, was a total of $101,220, does that

 6      sound about right?

 7      A.    I'm going to have to add it up, but --

 8      Q.    Fairly significant donations, though, right?

 9      A.    Yeah.

10      Q.    And that would be to hopefully foster any consideration

11      that you may need in your business, right?

12      A.    Yeah.

13      Q.    And you don't have any interest in that Fall River

14      marijuana dispensary anymore, do you?

15      A.    No, I do not.

16      Q.    Do you recall that on one occasion, I think you mentioned

17      about the Broadwell Street property in Avon, Massachusetts,

18      that Mr. Correia asked you to donate, yet again, to his legal

19      defense fund, right?

20      A.    Yes.

21      Q.    He drove there in the city vehicle, the Tahoe, right?

22      A.    Yeah.

23      Q.    And that, in fact, you told Correia that you would give

24      him cash for the legal defense fund, correct?

25      A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 158 of 235
                                                                          10-158




 1      Q.    And it was about $25,000 that you were going to give him,

 2      cash, right?

 3      A.    Yes.

 4      Q.    And in fact, Jasiel told you that he could not take and

 5      would not take cash, would not accept cash, right?

 6      A.    Correct.

 7      Q.    And so you never, obviously, gave him the $25,000 cash?

 8      A.    Correct.

 9      Q.    You then, as you testified, made the weed delivery to

10      Costa, now he's out of the house that he was living in, he's

11      living with his mother now, right, at 207 Sterling Street?

12      A.    Okay.

13      Q.    Do you remember that as the location?

14      A.    Yeah, I don't know whose house it is, but --

15      Q.    Okay.    Do you recall that Mr. Costa asked you and

16      discussed the marijuana for payment and you hated to do that

17      but he asked you to do it?

18      A.    That's correct.

19      Q.    So that's when you actually handed him over the marijuana

20      that you had paid approximately $2,000 a pound for the weed,

21      right?

22      A.    Yeah, that's when I handed it to him, yes.

23      Q.    And after you dealt with Mr. Costa and made the payment of

24      cash and the payment of weed, subsequent to that is when you

25      indicated that you met up with Mr. Correia at the Tel Aviv,
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 159 of 235
                                                                          10-159




 1      right?

 2      A.    Yes.

 3      Q.    You believed, sir, that he was apparently unaware of

 4      anything to do with the marijuana at that point, to Costa,

 5      right?

 6      A.    Yeah.

 7      Q.    Did you know that Costa was, to coin a phrase, playing

 8      both ends against the middle or playing off each other?

 9      A.    I would agree with that.

10      Q.    And the cigar bar and the Tel Aviv, you actually went

11      there, correct?

12      A.    Yes.

13      Q.    But you knew that he had already reached out again and

14      asked if you could give him a check for a donation to his legal

15      defense fund, that's why he wanted to meet with you, and he was

16      there actually with a number of people from his administration.

17            Do you remember that?

18      A.    I remember people showed up towards the end, but they were

19      not there in the beginning.

20      Q.    Okay.   But you knew that they were from his

21      administration, right?

22      A.    I had no clue who they were.

23      Q.    And then at some point you provided another $10,000

24      directly to Mr. Costa, correct?

25      A.    At the end, yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 160 of 235
                                                                          10-160




 1      Q.    And you had no idea whether or not Mr. Costa was keeping

 2      this money for himself, did you?

 3      A.    I do not, no.

 4      Q.    And in fact, you thought that Mr. Costa was actually

 5      pretty much the guy that was receiving the weed and the cash

 6      and it wasn't going to the mayor, right?

 7      A.    The marijuana, I would say yes, but to make it liquid for

 8      cash to give.

 9      Q.    Well, isn't it true, sir, that it wasn't until you

10      received a text after he was indicted for the SnoOwl case and

11      you received a text from Mr. Costa saying, "just don't screw

12      the kid, he did what he had to do for you."

13            You remember that, right?

14      A.    Correct.

15      Q.    And would you agree with me, sir, that at all times you

16      assumed that the money that you were giving to Costa was for

17      Correia, was your assumption, correct?

18      A.    Correct.

19      Q.    However, it was not until after Costa sent you the text

20      message that I just read that you then knew that, in fact, it

21      was allegedly being given to Correia by Costa?

22      A.    Well, there was more than one instance, because he would

23      refer to them as "they," as far as their first --

24      Q.    My question was, sir, is in reference to that text.

25      That's what I'm asking you about.       That's when you determined
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 161 of 235
                                                                          10-161




 1      or found out --

 2      A.    Can you repeat the question?

 3      Q.    -- from Costa that the money was going to Correia.

 4      A.    Repeat the question again.

 5      Q.    The text that I just read to you --

 6      A.    Which text?

 7      Q.    Which text?    Okay.   I'll read it again.

 8                The text was, "just don't screw the kid, he did what

 9      he had to do for you," from Costa.       That text.

10      A.    Okay.

11      Q.    And does it refresh your memory, sir, that up to this

12      point, you had assumed that, in fact, Costa was keeping the

13      money and the weed but then you confirm after that text that

14      the money was, according to Costa, for Correia?

15      A.    Okay.

16      Q.    Okay.   Now, at some point you were asked to go to a

17      fund-raising event and purchase tickets, $125 a ticket and you

18      got 20 tickets, right?

19      A.    I believe so.

20      Q.    And you went to the fund-raising event, did you not?

21      A.    I did, yes.

22      Q.    And one of the things that you were concerned about was

23      getting approval for your building permits by the Fall River

24      building inspector by the end of August of 2019, right?

25      A.    Not sure of the dates, but, yeah, I do remember --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 162 of 235
                                                                           10-162




 1      Q.    Because, obviously, you were concerned, you wanted to

 2      begin to build your growth facility, correct?

 3      A.    Correct.

 4      Q.    And that's in reference to the issue of, you know, time is

 5      running out with the DPH and that you wanted a letter.            Doesn't

 6      that deal with your growth facility?

 7      A.    Yes, that wasn't regarding the building permit, though.

 8      Q.    Okay.

 9            You know Mr. Saliby, right?

10      A.    Yes.

11      Q.    You're friends?

12      A.    Yes.

13      Q.    You've had occasion to socialize, and in fact, would meet

14      up with him and discuss any number of matters, including the

15      business, right?

16      A.    Yes.

17      Q.    Do you recall, sir, that the night before you went in to

18      see for your proffer session that we talked about, that you met

19      up with and spoke with Mr. Saliby, right?

20      A.    I don't recall exactly when.

21      Q.    Well, Mr. Saliby knew that the authorities were looking

22      into his business and money and things of that nature, right?

23      A.    Yeah.

24      Q.    And Mr. Saliby knew that you were going in to see the

25      United States Attorney and that you were going to be able to
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 163 of 235
                                                                          10-163




 1      negotiate immunity agreement and any crimes, tax crimes,

 2      marijuana crimes, anything, you knew that, right?

 3      A.      That I knew that or did he know that?

 4      Q.      You knew that about yourself, right?

 5      A.      No, I did not.

 6      Q.      Well, you knew you were going the next day to see with

 7      your attorney to discuss this.

 8      A.      Right.

 9      Q.      And you told that to Mr. Saliby, did you not?

10      A.      I believe so, yes.

11      Q.      And Mr. Saliby said that he wanted to come in and talk to

12      the authorities as well, right?

13      A.      He didn't want to, no.

14      Q.      Did Mr. Saliby indicate to you that, in fact, he had made

15      a payment to Mr. Correia at his store?

16      A.      We really didn't --

17      Q.      What?

18      A.      We didn't discuss his, exactly details of his part of what

19      he did.

20      Q.      Well, does it refresh your memory, sir, that Mr. Saliby

21      indicated that he provided $75,000 in cash directly to

22      Mr. Correia?

23      A.      I can't speak for him.

24      Q.      I'm just asking if you had a conversation with him about

25      that.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 164 of 235
                                                                          10-164




 1      A.    Like I said, we didn't, you know, discuss it in specific

 2      detail.

 3      Q.    Did you know that Mr. Saliby is alleged to have paid

 4      $75,000 in cash to Jasiel Correia?

 5      A.    Yes.

 6                   MR. TOBIN:   Objection.

 7                   THE COURT:   Overruled.

 8      BY MR. REDDINGTON:

 9      Q.    The answer is yes, correct?

10      A.    Yes.

11      Q.    And he indicated -- well, let me ask you:        Does it refresh

12      your memory -- let me back myself up.

13                   Do you know where he made that payment?       Did Saliby

14      tell you where he is alleged to have made that payment?

15      A.    No.

16      Q.    Does it refresh your memory, sir, that if Mr. Saliby

17      indicated that Correia came to the store and that they went for

18      a ride and that he gave Correia the cash in Correia's vehicle,

19      does that refresh your memory?

20      A.    Okay, yes.

21      Q.    And there were, according to you, five people that knew

22      about alleged bribe payments that you paid to Costa, five

23      people, correct?     That would be you, right?      Yes?

24      A.    Yes.

25      Q.    Costa, right?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 165 of 235
                                                                          10-165




 1      A.    Yup.

 2      Q.    Bairos -- I'm sorry, that would be you.

 3      A.    Yes.

 4      Q.    Right?

 5            And Saliby?

 6      A.    Okay.

 7      Q.    Because you discussed it with Saliby, didn't you?

 8      A.    Yes.

 9      Q.    When you received your Letter of Non-Opposition in -- was

10      it July, is that what it was, I think?

11      A.    I think so, yes.

12      Q.    You had already known back in May that you were approved;

13      isn't that right?

14      A.    Verbally.

15      Q.    Verbally.

16            Because you knew, sir, that there were drafts of the

17      Letter of Non-Opposition and drafts of the Community Host

18      Agreement that had already been written and circulated to your

19      attorney at the end of May of 2018, right?

20      A.    I knew there was discussions back and forth regarding it.

21      Q.    Okay.    I know there were discussions back and forth, sir.

22      Does it refresh your memory, sir, that you received the letters

23      of Non-Opposition draft as well as the Community Host Agreement

24      draft to your attorney at the end of May of 2018?

25      A.    Okay.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 166 of 235
                                                                          10-166




 1      Q.    And Joe Macy, retired judge, was the guy that was dealing

 2      with your attorney, right?

 3      A.    Correct.

 4      Q.    And your attorney went over the draft Community Host

 5      Agreement and the draft Letter of Non-Opposition with you,

 6      right?

 7      A.    Yeah.

 8      Q.    Okay.   And this is well before any alleged cash payments

 9      were made to Tony Costa, right?

10      A.    Correct.

11                MR. REDDINGTON:     That's all I have.

12                                DIRECT EXAMINATION

13      BY MR. TOBIN:

14      Q.    Sir, Mr. Reddington asked you a question about the timing

15      of various things in his last segment of questions.

16            Following up on that, did you agree to pay a bribe before

17      the city notified you that they would bless your endeavor?

18      A.    That they would what my endeavor?

19      Q.    Okay.

20      A.    Can you repeat --

21      Q.    Let me rephrase that question.

22      A.    Yeah.

23      Q.    You went to Tony Costa, and he told you you had to pay

24      $250,000 to get into Fall River for a marijuana business; is

25      that accurate?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 167 of 235
                                                                          10-167




 1      A.    That's correct, yes.

 2      Q.    You told him in that meeting you would, but you agreed to

 3      how much?

 4      A.    $150,000.

 5      Q.    At the time you agreed to the $150,000, had the city given

 6      you any sort of approval?

 7      A.    No.

 8      Q.    Now, you testified and you were asked various questions

 9      about your belief from and who the money was going to by

10      Mr. Reddington.

11            Did the statements made by the defendant, the statements

12      made by the defendant at Ocean Prime, have any effect on

13      whether or not you believed he was going to be the recipient of

14      the money?

15      A.    At Ocean Prime?    No.

16      Q.    At the cigar bar?

17      A.    Yes.

18      Q.    Did the statements that the defendant made to you at the

19      Tel Aviv have any effect on your belief that contribute to your

20      belief that the money was going to him?

21      A.    Yes.

22      Q.    Did the various texts you got from Tony Costa referencing

23      "he," and "he's looking for money," have any effect on your

24      belief that it was going to him?

25      A.    Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 168 of 235
                                                                          10-168




 1      Q.    Sir, Mr. Reddington asked you about the various political

 2      contributions you have made to the Governor and the Attorney

 3      General and the Speaker of the Massachusetts House.

 4            Do you remember that?

 5      A.    Yes.

 6      Q.    Sir, have you ever stuffed $25,000 in cash in an envelope

 7      for Charlie Baker?

 8      A.    No.

 9                   MR. TOBIN:   Thank you.

10                   THE COURT:   Mr. Reddington, anything further?

11                   MR. REDDINGTON:   No, your Honor, thank you.

12                   THE COURT:   All right.   You may step down, thank you.

13                   And if you could take the cap off the microphone,

14      please.

15                   MR. HAFER:   Your Honor, the government calls Hildegar

16      Camara.

17                   THE CLERK:   Please raise your right hand.

18                   HILDEGAR CAMARA, having been duly sworn by the Clerk,

19      was examined and testified as follows:

20                   THE CLERK:   Please be seated and state your full name

21      and please spell your last name.

22                   THE WITNESS:   Hildegar Camara, C-a-m-a-r-a.

23                   THE COURT:   Mr. Camara, if you could put a cap on the

24      top of the microphone there, and can you take your mask off at

25      this point.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 169 of 235
                                                                          10-169




 1                  THE WITNESS:   Thank you.

 2                  THE COURT:   Mr. Hafer will be examining you.

 3                  Mr. Hafer.

 4                  MR. HAFER:   Thank you, Your Honor.

 5                                 DIRECT EXAMINATION

 6      BY MR. HAFER:

 7      Q.    Mr. Camara, how old are you?

 8      A.    Sixty.

 9      Q.    Where do you currently live?

10      A.    260 Horizon Way.

11      Q.    What city is that in?

12      A.    Fall River, Massachusetts.

13      Q.    Where did you grow up?

14      A.    Fall River, Massachusetts.

15      Q.    How far did you go in school?

16      A.    Some college.

17      Q.    Are you currently working?

18      A.    No.

19      Q.    How are you most recently employed?

20      A.    The executive director of Bristol County Training

21      Consortium.

22      Q.    What is the Bristol County Training Consortium?

23      A.    Consortium.    It's a reemployment or unemployment, putting

24      people back to work with the MassHire logo at this point.

25      Q.    What was your title at the Bristol County Training
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 170 of 235
                                                                          10-170




 1      Consortium?

 2      A.    Executive director.

 3      Q.    Approximately from when until when were you the executive

 4      director of the Bristol County Training Consortium?

 5      A.    July of 2016 -- or July of 2016 to November of 2019.

 6      Q.    Is that an appointed position?

 7      A.    Yes, it is.

 8      Q.    Who appointed you to that position?

 9      A.    Mayor Jasiel Correia.

10      Q.    In addition to the executive director at the Bristol

11      County Training Consortium, did you have some previous

12      involvement with the business HITEP or something like that?

13      A.    Yes, I did.

14      Q.    What is that?

15      A.    That's a CNA training school in Rhode Island.

16      Q.    Mr. Camara, immediately prior to being appointed executive

17      director of the Bristol County Training Consortium, were you

18      employed?

19      A.    No.

20      Q.    Approximately how long had you been unemployed prior to

21      your appointment as the executive director?

22      A.    About six years.

23      Q.    When did you first meet the defendant, Jasiel Correia?

24      A.    I would say October of 2006.

25      Q.    Where did you meet him, if you recall?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 171 of 235
                                                                          10-171




 1      A.    At home.

 2      Q.    Could you describe the circumstances under which you first

 3      met him.

 4      A.    Jasiel at the time was going to Bishop Connolly High

 5      School where my daughter was going, he was a sophomore, she was

 6      a freshman, and they had to do some school project together, so

 7      they came over to do the project.

 8      Q.    Did your relationship with Mr. Correia evolve over the

 9      years?

10      A.    Absolutely.

11      Q.    How would you describe it?

12      A.    He became very close to us, to both me and my wife.         My

13      wife is also a graduate of Bishop Connolly High School, she was

14      the alumni president.     We had dinner many times and tried to

15      help him and mentor him and talk and exchange -- have

16      conversations, had plenty of dinners.

17      Q.    Mr. Camara, before I get into the agreements that you have

18      with the federal government, I just want to ask you some

19      questions about your interactions with law enforcement related

20      to this matter, if that's okay.

21                   Directing your attention first, sir, to August of

22      2017, did you testify in the grand jury related to SnoOwl?

23      A.    Yes.

24      Q.    At some point in about June of 2019, were you contacted by

25      federal agents in connection with your involvement in the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 172 of 235
                                                                          10-172




 1      issuance of marijuana Non-Opposition Letters?

 2      A.    Yes.

 3      Q.    And when you were contacted in June of 2019, did you have

 4      an attorney?

 5      A.    Yes.

 6      Q.    Could you -- Mr. Camara, there's a binder in front of you.

 7      Could I ask you to turn to tab 166 first, please, and tell me

 8      if you recognize the agreement at tab 166.

 9      A.    Yes, I believe this is the proffer letter.

10                   MR. HAFER:   Your Honor, I offer Exhibit 166, please.

11                   THE COURT:   It's received.

12                    (Exhibit 166 received into evidence.)

13      BY MR. HAFER:

14      Q.    Mr. Camara, I'm just going to read briefly from this

15      document.     The address block indicates, "Mr. Paul Kelly, Esq";

16      is that right?

17      A.    Yes.

18      Q.    And is he your attorney?

19      A.    Yes.

20      Q.    Reading from paragraph 1, briefly, Mr. Camara, it says no

21      statements or other information provided by you will be used by

22      the United States Attorney directly against you; is that

23      correct?

24      A.    Correct.

25      Q.    And was that your understanding of this agreement, that if
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 173 of 235
                                                                          10-173




 1      you came in and proffered, your statements wouldn't be used

 2      directly against you?

 3      A.    Correct.

 4      Q.    However, there were some exceptions for -- if you didn't

 5      tell the truth and other matters; is that right?

 6      A.    Correct.

 7      Q.    Going to paragraph 2, it indicates the government's

 8      permitted to make what's called derivative use of your

 9      statements, that is, the government's allowed to pursue any

10      leads that may be generated by your statements; is that

11      correct?

12      A.    Yes.

13      Q.    When you --

14                   MR. HAFER:   Could I have the second page?

15      Q.    And this agreement is signed by you, Mr. Camara?

16      A.    Yes.

17      Q.    And Mr. Kelly, your attorney?

18      A.    Correct.

19      Q.    And me, right?

20      A.    Correct.

21      Q.    In this proffer session that you had after signing this

22      agreement, were you entirely truthful with the government?          Did

23      you tell the complete truth about your involvement in the

24      marijuana Non-Opposition Letters?

25      A.    No.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 174 of 235
                                                                          10-174




 1      Q.    In September of 2019 --

 2      A.    I'm sorry, at the --

 3      Q.    At the initial proffer you were asked about your

 4      involvement in the Non-Opposition Letters, correct?

 5      A.    Correct.

 6      Q.    Ultimately you've pled guilty to several crimes in

 7      connection with this matter; is that correct?

 8      A.    Correct.

 9      Q.    And two of those crimes pertain to false statements --

10      A.    Correct.

11      Q.    -- from this proffer; is that fair to say?

12      A.    Correct.

13      Q.    In September of 2019, were you ultimately charged with

14      several federal crimes, including the false statements related

15      to this proffer?

16      A.    Yes.

17      Q.    And did you enter into a plea agreement with the

18      government?

19      A.    Yes.

20      Q.    Could you turn, Mr. Camara, to tab 164?

21                   Do you recognize the document at tab 164?

22      A.    Yes.

23      Q.    Is that your plea agreement?

24      A.    Yes, change of plea, yes.

25                   MR. HAFER:   Your Honor, I offer Exhibit 164, please.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 175 of 235
                                                                          10-175




 1                   THE COURT:   It's received.

 2                    (Exhibit 164 received into evidence.)

 3                   MR. HAFER:   Could I have through the change of plea

 4      paragraph?

 5                   Thank you.

 6      BY MR. HAFER:

 7      Q.    Mr. Camara, in the interest of time, I'm going to just

 8      summarize this first paragraph and will you tell me if I have

 9      it right or wrong.

10                   Did you agree, essentially, to plead guilty to six

11      different federal crimes?

12      A.    Yes.

13      Q.    The last two were the false statements we already

14      discussed, right?

15      A.    Correct.

16      Q.    The first four pertain to two different charged

17      extortions; is that fair to say?

18      A.    Yes.

19      Q.    And the first one of those involve a man named David

20      Brayton?

21      A.    Yes.

22      Q.    And the second one involved a man you came to learn whose

23      name was Brian Bairos?

24      A.    Yes.

25      Q.    And, Mr. Camara, did you agree to plead guilty with
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 176 of 235
                                                                          10-176




 1      respect to those, both to what's called a regular extortion or

 2      a substantive extortion and also an extortion conspiracy?

 3      A.    Yes.

 4      Q.    With respect to the one involving David Brayton, who did

 5      you conspire with?

 6      A.    Tony Costa and Jasiel Correia.

 7      Q.    With respect to the one involving Brian Bairos, who did

 8      you conspire with?

 9      A.    Tony Costa and Jasiel Correia.

10      Q.    Mr. Camara, why did you plead guilty to these six federal

11      crimes?

12      A.    Because it's true.

13                   MR. HAFER:   Ms. DiPaolo, could I have paragraph 2,

14      penalties.

15      Q.    Mr. Camara, does the second paragraph of your agreement

16      set out the maximum penalties that you face for these crimes?

17      A.    Yes.

18      Q.    And with respect to the first four counts that you've

19      discussed, the extortions, what is the maximum term of

20      incarceration?

21      A.    Twenty years.

22      Q.    And with respect to those last two counts on the false

23      statements, what is the maximum term of incarceration?

24      A.    Five years.

25      Q.    Did you eventually agree to cooperate with the government
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 177 of 235
                                                                          10-177




 1      in this matter?

 2      A.    Yes.

 3      Q.    Would you turn, please, to tab 165.

 4                   Do you recognize the document at tab 165?

 5      A.    Yes.

 6      Q.    What is that?

 7      A.    It's a cooperation agreement.

 8                   MR. HAFER:   I offer Exhibit 165, Your Honor.

 9                   THE COURT:   It's received.

10                    (Exhibit 165 received into evidence.)

11                   MR. HAFER:   Ms. DiPaolo, could I have paragraph 1,

12      Terms of Cooperation?

13      BY MR. HAFER:

14      Q.    Mr. Camara, I'm just going to briefly read from the

15      document and ask you if it comports with your understanding.

16                   Defendant agrees to cooperate fully with law

17      enforcement agents and government attorneys.         Defendant must

18      provide complete and truthful information to all law

19      enforcement personnel.

20                   Have I read that correctly?

21      A.    Yes.

22      Q.    Is that your understanding of essentially the -- what you

23      have to do under this agreement?

24      A.    Yes.

25      Q.    And what is your general understanding as to what the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 178 of 235
                                                                          10-178




 1      government will do if you do that?

 2      A.    You'll inform the court of my helping or testifying in

 3      this case for the judge to make an accurate sentence.

 4      Q.    Is it fair to say that in cooperating with the government,

 5      your hope is that you'll receive a lower sentence in

 6      consideration of your cooperation?

 7      A.    Yes.

 8      Q.    I want to turn now, Mr. Camara, to late 2014/early 2015.

 9      Did you speak to the defendant at that time related to a

10      potential investment in SnoOwl?

11      A.    Yes.

12      Q.    In general, how did you become to be aware of SnoOwl?

13      A.    In one of many dinners that we used to have at my house.

14      Jasiel would come over after any college break or on a weekend

15      with Chris Parayno and we sat down and just talk about it, and

16      he mentioned the SnoOwl app.

17      Q.    We'll get into a bit more detail, but did you ultimately

18      invest in SnoOwl?

19      A.    Yes, I did.

20      Q.    How much?

21      A.    $50,000.

22      Q.    You understood SnoOwl to be an app, you said?

23      A.    Correct, a mobile app.

24      Q.    Could you turn, Mr. Camara, to tab 167, please?

25                   Do you recognize the email at tab 167?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 179 of 235
                                                                          10-179




 1      A.    Yes.

 2                   MR. HAFER:   Your Honor, I offer Exhibit 167.

 3                   THE COURT:   That's received.

 4                    (Exhibit 167 received into evidence.)

 5      BY MR. HAFER:

 6      Q.    Mr. Camara, does Exhibit 167 reflect an e-mail from

 7      Jasiel@snoowl.com to you?

 8      A.    Yes.

 9      Q.    Dated December 19th of 2014?

10      A.    Yes.

11      Q.    And is this an email that -- well, I'll read from it, it's

12      in evidence.     The second paragraph.     "Attached you will find

13      the investment documents associated with SnoOwl."

14            Have I read that correctly?

15      A.    Yes.

16      Q.    Did you, in fact, receive SnoOwl investment documents in

17      connection with your $50,000 investment?

18      A.    Yes.

19      Q.    Could you turn to tab 167.1, please?

20                   Do you recognize those documents?

21      A.    The Letter of Intent, yes.

22      Q.    And several other documents related to your SnoOwl

23      investment?

24      A.    Yes.

25                   MR. HAFER:   I offer 167.1, Your Honor.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 180 of 235
                                                                           10-180




 1                     THE COURT:   It's received.

 2                      (Exhibit 167.1 received into evidence.)

 3                     MR. HAFER:   Just have the first paragraph there,

 4      Ms. DiPaolo.

 5      BY MR. HAFER:

 6      Q.      Mr. Camara, essentially the first paragraph here just

 7      indicates that you, Hildegar Camara, have agreed to invest

 8      $50,000 in SnoOwl; is that right?

 9      A.      Correct.

10      Q.      And in return it says, The details shall be incorporated

11      into a convertible promissory note; is that correct?

12      A.      Yes.

13      Q.      And did you, in fact, receive a convertible promissory

14      note?

15      A.      Yes.

16                     MR. HAFER:   Could I have page 4, Ms. DiPaolo.

17      Q.      Showing you page 4 of Exhibit 167.1 --

18                     MR. HAFER:   Could you highlight the first paragraph.

19      Q.      Is this the first page of the Promissory Note, Mr. Camara?

20      A.      Yes.

21      Q.      And again, it's indicating your name and then an

22      investment of $50,000; is that right?

23      A.      Correct.

24                     MR. HAFER:   Could I have the next page or the next

25      payment, I'm sorry, and then paragraph 9 and the signature.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 181 of 235
                                                                          10-181




 1      Q.    Do you recognize the signature at the bottom of the note?

 2      A.    Yes.

 3      Q.    Whose signatures is that?

 4      A.    Jasiel Correia, II.

 5      Q.    I'm going to read you the last sentence right above the

 6      signature.     "In addition, the company hereby represents that it

 7      intends to use the principal of this convertible promissory

 8      note primarily for the operations of its business and not for

 9      any personal, family or household purpose."

10                   Have I read that correctly?

11      A.    Correct.

12      Q.    What did you -- oh, could you turn to tab 167.2, please.

13      A.    Yes.

14      Q.    Do you recognize those documents?

15      A.    Yes.

16      Q.    What are they?

17      A.    They're checks made to SnoOwl.

18      Q.    From you?

19      A.    Yes.

20                   MR. HAFER:   Your Honor, I offer 167.2.

21                   THE COURT:   That's received.

22                    (Exhibit 167.2 received into evidence.)

23      BY MR. HAFER:

24      Q.    Mr. Camara, for the jury's benefit, this is a check dated

25      January 5, 2015?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 182 of 235
                                                                          10-182




 1      A.    Yes.

 2      Q.    From you to SnoOwl for $10,000?

 3      A.    Yes.

 4                   MR. HAFER:   Could I have the next page.

 5      A.    Yes.

 6      Q.    This is a check dated April 13, 2015 for $10,000?

 7      A.    Yes.

 8      Q.    From you to SnoOwl?

 9      A.    Yes.

10      Q.    I'm now showing you a check dated April 14 of 2015 for

11      $5,000; is that correct?

12      A.    Yes.

13      Q.    From you to SnoOwl?

14      A.    Yes.

15                   MR. HAFER:   And the last page.

16      Q.    Finally, Mr. Camara here, showing you a check dated May 28

17      of 2015 for $25,000; is that correct?

18      A.    Yes.

19      Q.    From you to SnoOwl?

20      A.    Yes.

21      Q.    Those four checks totaling $50,000?

22      A.    Correct.

23      Q.    Where did you get the $50,000 that you invested in SnoOwl?

24      A.    Some was money that I had saved up and other was a -- a

25      line of credit on a credit card, that last one was a line of
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 183 of 235
                                                                          10-183




 1      credit on the credit card.

 2      Q.     What was your understanding, Mr. Camara, as to what you

 3      were getting in return for your investment?

 4      A.     I was to get about two-and-a-half percent of the SnoOwl

 5      company.

 6      Q.     Who told you that?

 7      A.     Jasiel did.

 8      Q.     Prior to investing in SnoOwl, did you have any

 9      conversations with Mr. Correia about his involvement in a prior

10      app?

11      A.     Yes.

12      Q.     What did he tell you?

13      A.     That he had done this once before and he had sold it and

14      made a lot of money off of it.

15      Q.     Did he tell you how much money?

16      A.     I believe over a million.

17      Q.     Prior to your investment in SnoOwl, did you have any

18      conversations with Mr. Correia about a patent on SnoOwl?

19      A.     Yes, that he had three patents either granted or pending.

20      Q.     Prior to investing in SnoOwl, did Mr. Correia tell you he

21      intended to take a salary?

22      A.     No.

23      Q.     Did he tell you he intended to use your investment money

24      for personal expenses?

25      A.     No.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 184 of 235
                                                                          10-184




 1      Q.    What was your understanding as to what your $50,000 would

 2      be used for?

 3      A.    It was for marketing and infrastructure of the app and

 4      getting it up and running and eventually selling it.

 5      Q.    If you knew before you invested, Mr. Camara, that what he

 6      had told you about selling the prior app for a million dollars

 7      was false, would you have still invested $50,000?

 8      A.    No.

 9      Q.    If you knew what he told you about the patents was false,

10      would you still have invested $50,000?

11      A.    No.

12      Q.    If you knew what he told you about personal expenses and

13      not using it for personal expenses was false, would you have

14      invested $50,000?

15      A.    No.

16      Q.    As you sit here today, did you receive any -- have you

17      received any of your $50,000 back?

18      A.    No.

19      Q.    Have you received any interest payments on the $50,000?

20      A.    No.

21      Q.    I want to turn now, Mr. Camara, to some of the offenses to

22      which you've pled guilty.      Before I do, I want to ask you, do

23      you know a man named Tony Costa?

24      A.    Yes.

25      Q.    How do you know Tony Costa?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 185 of 235
                                                                          10-185




 1      A.    Tony happened to be a friend and my next door neighbor or

 2      backyard neighbor.

 3      Q.    Could you briefly describe the nature of your relationship

 4      with Mr. Costa?

 5      A.    Tony bought the house in I believe around 2007, 2008 we

 6      became close in 2010 when I got laid off and became good

 7      friends.     I was working on my house, he was working on his, and

 8      we became really good friends.       We golfed a lot, almost every

 9      day; we talked almost every day.

10      Q.    Through Mr. Costa, in the spring or summer of 2016, did

11      you come to meet a man named David Brayton?

12      A.    Yes.

13      Q.    Where did you meet David Brayton?

14      A.    In a golf outing.

15      Q.    When you met Mr. Brayton, did you come to learn at that

16      golf outing what he did for work, Mr. Brayton?

17      A.    Yes.

18      Q.    What did you learn?

19      A.    That he was a medical marijuana vendor out of Rhode

20      Island.

21      Q.    Did you learn if he was trying to open a business in Fall

22      River, for example?

23      A.    Yes.

24      Q.    During that round of golf with Mr. Brayton, did Mr. Costa

25      say anything to Mr. Brayton about you and your relationship
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 186 of 235
                                                                          10-186




 1      with anyone?

 2      A.    Yes.

 3      Q.    What was said?

 4      A.    He said, This is the guy you want to know because he's

 5      very close to the mayor.      He's really good friends with the

 6      mayor.

 7      Q.    Later, several days after the round of golf, did you make

 8      arrangements to meet with Mr. Brayton?

 9      A.    Much later.

10      Q.    Prior to meeting with Mr. Brayton but after the round of

11      golf, did you have a conversation with Tony Costa about some

12      arrangement he had with David Brayton?

13      A.    He asked for my help in getting David Brayton the letter

14      because it was going to even out with the SnoOwl investment.

15      Tony Costa was going to get 2 percent of the company with David

16      Brayton and this way it would washout with SnoOwl.          He wanted

17      to recoup his money from the SnoOwl investment.

18      Q.    Mr. Costa told you that?

19      A.    Yes.

20      Q.    Meaning, essentially, Mr. Costa told you he was going to

21      get 2 percent of the business from Mr. Brayton?

22      A.    Correct.

23      Q.    And Mr. Correia was going to get, essentially, forgiveness

24      of whatever he might have owed Mr. Costa from SnoOwl?

25      A.    Correct.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 187 of 235
                                                                          10-187




 1      Q.    At some point before you met with Mr. Brayton, did you

 2      have a conversation with the defendant, Jasiel Correia, about

 3      the letter Mr. Brayton was trying to get?

 4      A.    Yes.

 5      Q.    Do you remember what he told you?

 6      A.    That he was -- that he had -- he already had the letter

 7      for Tony and his friend ready.

 8      Q.    Mr. Correia told you the letter was for Tony?

 9      A.    Tony and his friend.

10      Q.    At this point, Mr. Camara, does Tony Costa have any formal

11      role in the government of Fall River?

12      A.    No.

13      Q.    Did you eventually meet with Mr. Brayton at a Dunkin'

14      Donuts in Fall River?

15      A.    Yes.

16                   MR. HAFER:   Could I -- is it 123, Ms. DiPaolo?      123?

17      Already in evidence, I believe.

18      Q.    Showing you what's already in evidence, Mr. Camara, is

19      Exhibit 123.     Is this the Dunkin' Donuts where you and

20      Mr. Brayton met?

21      A.    Yes.

22      Q.    And was this sometime in approximately early July of 2016?

23      A.    Yes.

24      Q.    When you were going here to meet Mr. Brayton, you weren't

25      acting in an official capacity for -- on behalf of the City of
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 188 of 235
                                                                          10-188




 1      Fall River?

 2      A.    No.

 3      Q.    When you got to the meeting with Mr. Brayton, what did you

 4      say to him about your relationship with the defendant?

 5      A.    That we were -- that we've been close for a long time.

 6      Q.    Did you observe Mr. Brayton's demeanor during this

 7      meeting?

 8      A.    He was -- both of us were kind of iffy on the subject,

 9      but, yes, we were kind of nervous.

10      Q.    When you mentioned your connections to the mayor to

11      Mr. Brayton, why were you doing that?

12      A.    So, Mr. Brayton at the golf course had asked me for his

13      help in getting the letter.      I had a suggestion to helping him.

14      When I became aware of -- of the letter being already up and

15      running and about to be given, Jasiel told me that it was ready

16      to go out next week, he had told me that in the middle of the

17      week, the prior week, I wanted -- I didn't want to say no to

18      Mr. Brayton and I wanted to gain his favor for somewhere down

19      the road because I figured if I said no, I wasn't helpful in

20      getting the letter; if I had said yes, somewhere down the line

21      if Mr. Correia, the mayor, got voted out or decided to go for

22      another job or move on, I would need a job because I was

23      appointed by the mayor, the most -- the new mayor would

24      probably appoint someone else.       So maybe down the line I would

25      need a job and he would remember that, that I helped him get
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 189 of 235
                                                                          10-189




 1      the letter.     And since I had 30 years of experience in retail,

 2      I would be helpful and maybe he would give me a job.          So I was

 3      planting a seed for somewhere down the line for him to help me

 4      if possible.

 5      Q.    At this meeting, did Mr. Brayton say anything to you about

 6      his relationship with Tony Costa?

 7      A.    Yeah, he goes, You know my loyalty lies with Tony, Hil.

 8      Q.    Mr. Camara, at some point after this meeting, did you have

 9      another conversation with Mr. Costa where you learned more

10      details about the arrangement he had with Jasiel Correia?

11      A.    Yes.

12      Q.    What did he tell you?

13      A.    So after some federal agents had approached Tony's wife,

14      Michelle, which they were separated, he mentioned to me that

15      Michelle told the federal agents --

16                   MR. REDDINGTON:   Objection.

17                   THE COURT:   Yes, sustained.

18      BY MR. HAFER:

19      Q.    Based on what Mr. Costa told you --

20      A.    Right.

21      Q.    -- did you -- based on what Mr. Costa told you, did you

22      learn more information about the details of Mr. Costa's

23      arrangement with Mr. Correia?       Did you learn more information

24      from Tony Costa?     Don't say what it is, did you learn more

25      information?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 190 of 235
                                                                          10-190




 1      A.    Yes.

 2      Q.    Based on what you learned, did you have a meeting with

 3      Jasiel Correia?

 4      A.    Yes.

 5      Q.    Could you describe that meeting.

 6      A.    The next day I went to work and I went straight to the 6th

 7      floor and I said to him that if he had gone to Tony's house and

 8      received any money that he was in big trouble, I actually used

 9      some expletives -- I used some swear words, and said, I don't

10      want to know, but if you did, you're screwed.         He has -- he

11      tells his wife everything and he's got cameras all over the

12      place and I walked out.      I said, I really don't want to know

13      but I'm out of here.

14      Q.    Was that the end of it or did you have another

15      conversation Mr. Correia?

16      A.    The next day Mr. Correia came down and told me that he did

17      not receive any money from Tony.       He swore to me he did not

18      receive any money from Tony.

19      Q.    Was that the end of it or did you have another

20      conversation with Mr. Correia about this?

21      A.    We had several conversations throughout all this time, and

22      he was led to believe that I -- he was a little bit worried

23      that someone was going to talk and the statement was, "If

24      everyone just keeps their mouth shut, we'll be okay."

25      Q.    Mr. Correia said that to you?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 191 of 235
                                                                          10-191




 1      A.      Yes.

 2      Q.      Did he say anything specifically about Mr. Costa's role in

 3      this?

 4      A.      "Tony's the only guy who can screw me."

 5      Q.      Mr. Camara, I want to turn now to your appointment, just

 6      for a moment, as the executive director of the Bristol County

 7      Economic Consortium.        I believe you said that was in July of

 8      2016?

 9      A.      Correct.

10      Q.      Could you turn to Exhibit 199 in your binder?

11      A.      Yes.

12      Q.      Do you recognize that document?

13      A.      Yes.

14      Q.      What is that?

15      A.      That's my letter of appointment.

16                     MR. HAFER:   Your Honor, I offer Exhibit 199.

17                     THE COURT:   It's received.

18                      (Exhibit 199 received into evidence.)

19      BY MR. HAFER:

20      Q.      Mr. Camara, just a couple of questions on this appointment

21      letter.    This is the letter appointing you, Hildegar Camara,

22      the executive director of the Bristol County Training

23      Consortium; is that right?

24      A.      Correct.

25      Q.      And it indicates it's effective on July 6th of 2016?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 192 of 235
                                                                          10-192




 1      A.    Correct.

 2      Q.    With an annual salary of a little bit over $84,000?

 3      A.    Correct.

 4      Q.    And you mentioned that before you got this job from Jasiel

 5      Correia, you had been out of work for several years, right?

 6      A.    Correct.

 7      Q.    And is it also fair to say that this letter is effective

 8      July of 2016, that's right about the same time you're dealing

 9      with Brayton and Tony and all that other stuff?

10      A.    True.

11      Q.    Did you ever have a conversation with the defendant in

12      which the topic of your appointment was tied or connected in

13      any way to the --

14      A.    Absolutely not.

15      Q.    I want to shift gears now --

16                THE COURT:    I think the question was not completed, so

17      the answer is not comprehensible.       If you put the full question

18      and then wait until that's through, you can answer that

19      question, but it was cut off.

20                MR. HAFER:    Oh, I'm sorry, the last question about

21      conversations --

22                THE COURT:    Yes.

23      BY MR. HAFER:

24      Q.    Did you ever have a conversation with the defendant,

25      Mr. Correia, in any way in which your appointment as executive
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 193 of 235
                                                                          10-193




 1      director was connected or applied to the Brayton matter?

 2      A.     No.

 3                    MR. HAFER:   Thank you, Your Honor.

 4      Q.     Mr. Silva -- Mr. Camara, I now want to direct your

 5      attention to a matter involving Mr. Silva sometime in about

 6      November of 2016.

 7                    Do you know Ed Silva?

 8      A.     Yes.

 9      Q.     Who is he?    How do you know him?

10      A.     Ed Silva owns a jewelry store.      He used to be -- he

11      was the one who was in partnership with his brother with

12      Hannoush Jewelers, the franchise, but then they split up and he

13      owns the Silva Jewelers.

14      Q.     Did there come a time in late 2016 when you went to

15      Silva's jewelry store with Jasiel Correia?

16      A.     Yes.

17                    MR. HAFER:   Ms. DiPaolo, could I have Exhibit 144

18      already in evidence.

19      Q.     Showing you on the screen Exhibit 144 in evidence,

20      Mr. Camara, do you recognize that?

21      A.     Yes.

22      Q.     When you went to the store with Mr. Correia in late 2016,

23      what happened?

24      A.     Mr. Correia was talking to Jen and that was a visit for

25      him.   They were looking at some watches.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 194 of 235
                                                                          10-194




 1      Q.    When you say "Jen," who do you mean?

 2      A.    The salesgirl that was working there and she's now

 3      currently his fiancé or wife.

 4      Q.    And you indicated in addition to speaking with her, he was

 5      also looking at some watches?

 6      A.    Correct.

 7      Q.    Eventually -- we'll back up, but, eventually, did

 8      Mr. Correia purchase two watches from Mr. Silva?

 9      A.    Yes, he did.

10      Q.    At the time -- did you leave the store that day with

11      Mr. Correia?

12      A.    Yes, I did.

13      Q.    At the time you left the store, had the watches been

14      purchased yet?

15      A.    No.

16      Q.    What did you and Mr. Correia do after you left the store?

17      A.    We drove to his apartment and we discussed about buying --

18      on the way there, we discussed about buying the watches.          He

19      was interested in impressing Jen and buying both watches.          I

20      talked to him about credit cards or whatever that they have,

21      but, eventually, said he just wanted to buy the watches

22      outright.

23      Q.    Did he, eventually, go into his apartment?

24      A.    Yes, he did.

25      Q.    And you stayed in the car?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 195 of 235
                                                                          10-195




 1      A.    Yes, I did.

 2      Q.    Did he return?

 3      A.    Yes, he did.

 4      Q.    What happened when he returned?

 5      A.    He gave me the amount of about $8,000 -- he gave me the

 6      amount of $8,000.

 7      Q.    In cash?

 8      A.    Yes.

 9      Q.    What was the $8,000 for?

10      A.    For both watches.

11      Q.    Did you have an additional conversation with him about the

12      fact that he had handed you $8,000 in cash?

13      A.    Yes, I did.    I said, "You're going to pay this in cash?"

14      You got $8,000 -- and I remember the statement was, "I make

15      $115,000 a year, I have a car payment of $300 and a rent

16      payment of $600.     I can afford these watches."

17      Q.    What did you do after you received the $8,000,

18      approximately $8,000 in cash from Mr. Correia?

19      A.    I called Ed on the spot and asked him where he was because

20      the mayor decided to buy both watches.        So Eddie said, You

21      don't have to come back to the store, meet me at my house

22      and -- I asked him to bring a receipt.

23      Q.    Did you go to Mr. Silva's home that evening?

24      A.    Yes, I did.

25      Q.    What did you do when you got to Mr. Silva's home?
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 196 of 235
                                                                          10-196




 1      A.    I handed him over the cash.

 2      Q.    Did he give you a receipt?

 3      A.    Yes, he did.

 4      Q.    Do you remember anything about what he wrote on the

 5      receipt in terms of the value of the watches and the name?

 6      A.    Yes.

 7      Q.    What did he write?

 8      A.    I asked to put it in my name, Hil Camara, I did that.

 9      Q.    Why?

10      A.    I was trying to -- I didn't want -- Eddie was famous for

11      going around and showing receipts or checks from people who

12      bought, and I didn't want him going around showing that Mayor

13      Jasiel Correia had bought two watches for $8,000.

14      Q.    Did he eventually give you a receipt?

15      A.    Yes, he did.

16      Q.    What did do you with the receipt he gave you?

17      A.    I gave Jasiel two copies and I kept a copy for myself.

18      Q.    In connection with your cooperation with the government,

19      were you asked to provide that receipt to the government?

20      A.    Yes, I was.

21      Q.    Were you ever able to locate it?

22      A.    No, I could not.

23      Q.    Before you left Mr. Silva's house, did he give you

24      anything?

25      A.    He insisted I take $200 and buy myself dinner with my
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 197 of 235
                                                                          10-197




 1      wife.

 2      Q.      I want to turn now about a month or two after late 2016

 3      into early 2017 now.

 4                     In early 2017, at some point did you receive a call

 5      from Tony Costa about coming over to his house to pick

 6      something up?

 7      A.      Yes.

 8      Q.      Okay.    And did you go to Mr. Costa's house when you got

 9      that call?

10      A.      Yes.

11      Q.      When you got to his house in early 2017, what happened?

12      A.      He handed me a watch.

13      Q.      Do you remember what kind of watch?

14      A.      It was a Rolex.

15      Q.      Do you remember what kind?

16      A.      I think it was a Hulk -- no, I do not remember what kind.

17      Q.      Okay.    He handed you a watch.   And what -- did he say

18      anything to you?

19      A.      To the best of my recollection, I think somewhere along

20      the lines that, This is for -- You need to get give this to him

21      now, okay; he knows what it's for, it's for the property on

22      Kilburn Street.

23      Q.      What did do you with the watch after Tony Costa gave it to

24      you?

25      A.      I gave it to -- I drove to work and gave it to the mayor.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 198 of 235
                                                                          10-198




 1      Q.    Did you say anything when you gave him the watch -- when

 2      you gave Mr. Correia the watch?

 3      A.    I go, "This is from Tony, something about Kilburn Street,

 4      here you go."

 5      Q.    What was the mayor's reaction -- did he seem surprised

 6      when you gave him the watch?

 7      A.    No.

 8      Q.    Moving forward now, I think you previously testified you

 9      went in the grand jury related to SnoOwl in August of 2017; is

10      that correct, Mr. Camara?

11      A.    Yes.

12      Q.    And prior to going in the grand jury in August of 2017,

13      had you become aware that there was an active federal criminal

14      investigation involving SnoOwl?

15      A.    Yes.

16      Q.    Did you have any conversations with Jasiel Correia about

17      the fact that there was an active criminal investigation

18      involving SnoOwl?

19      A.    Yes.

20      Q.    And what were those conversations?

21      A.    Well, he -- we did bring up the subject of salary for the

22      first time, and he asked me -- he goes, You know I wasn't doing

23      this for free, I was going to get some kind of salary.

24      Q.    Mr. Correia said to you --

25      A.    Right.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 199 of 235
                                                                          10-199




 1      Q.    -- sometime prior to going into the grand jury in August

 2      2017, You know I was taking a salary?

 3      A.    Correct.

 4      Q.    Had he mentioned anything about a salary to you at SnoOwl

 5      prior to that?

 6      A.    No.

 7      Q.    I want to turn now, Mr. Camara, to the spring of 2018 and

 8      an individual named Brian Bairos.

 9            Do you now know who the individual named Brian Bairos is?

10      A.    Yes.

11      Q.    Okay.    How -- who first brought Brian Bairos to your

12      attention?

13      A.    Tony Costa.

14      Q.    Okay.    What did Tony Costa tell you that Brian Bairos did

15      or what was he trying to do?

16      A.    I got a call from Tony Costa asking me to ask the mayor if

17      there was another letter available for the marijuana business.

18                   I --

19      Q.    Did you -- did you then talk to the mayor?

20      A.    Yes.

21      Q.    Okay.    Could you describe that conversation.

22      A.    I said, By the way, Tony wants to know if there's another

23      letter available.     I told him -- I told Tony I thought there

24      weren't any more, they were at 10 or something like that, so I

25      had suggested to Tony there was probably no way.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 200 of 235
                                                                          10-200




 1      Q.      What did the defendant say to you about whether more

 2      letters were available?

 3      A.      He said, Yes, he could get that done.

 4      Q.      Did you relay that information back to Tony Costa?

 5      A.      Yes, I did.

 6      Q.      Was there some back and forth between you and Tony Costa

 7      about contributions to the legal defense fund?

 8      A.      Yes.   At one point, I was talking to the mayor and at the

 9      end of the conversation, I went upstairs and while I was

10      leaving the office he said to me, By the way, can you please

11      have Tony and his friends donate to my defense fund.          So I went

12      downstairs and called Tony and asked that, I says, The mayor

13      wants you to donate to the legal defense fund, to help him out

14      and donate to the legal defense fund.

15      Q.      After those conversations about the legal defense fund,

16      did there come a time when you got a call from the defendant

17      when he was near your house?

18      A.      Yes.

19      Q.      Could you describe that.

20      A.      I was having dinner and Jasiel called me and said, are you

21      home?    I said, Yes, I'm having dinner.      He said, Do you mind if

22      I come over?     I said, No.   He says, I'm at the rotary, I'll be

23      right there.

24      Q.      Did he arrive at your house that evening?

25      A.      Yes.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 201 of 235
                                                                          10-201




 1      Q.    What happened when he got to your house?

 2      A.    He made his introductions to the family because we were

 3      having dinner and he asked to go down to my basement and talk,

 4      to my man cave.

 5      Q.    Did you go down to your man cave and talk?

 6      A.    Yes.

 7      Q.    What happened?

 8      A.    Jasiel said, have I heard from Tony and does he know if

 9      him and his friends are going to donate to the defense fund?          I

10      said, I haven't heard, I just assume that he did, but, no, I

11      haven't heard anything.

12      Q.    Did Mr. Correia say anything to you -- well, did you

13      observe Mr. Correia's demeanor during this meeting?

14      A.    You know, he was very stressed out.       He had -- he had told

15      me he's at 460,000 in legal fees and that he would really

16      appreciate the help with his defense fund.

17      Q.    Did you then agree to make a phone call?

18      A.    Correct.

19      Q.    Who did you call?

20      A.    I called Tony.

21      Q.    What did you say to Tony?

22      A.    I said, Tony, the mayor wants to know if you and your

23      friends are going to help out with the defense fund.

24      Q.    What did Tony say?

25      A.    Tony said that he didn't -- that he had asked around about
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 202 of 235
                                                                          10-202




 1      the defense fund and the minute you put your name on the

 2      defense fund, it goes into the paper.        The minute you donate,

 3      it goes into the paper and everyone that he's talked to told

 4      him not to do it, so --

 5      Q.     I'm sorry, I didn't mean to interrupt you.

 6      A.     So he said him and his friends weren't going to do it.

 7      The only way this gets done is with the gentleman from Boston.

 8      Q.     Who did you later learn that the gentleman from Boston

 9      was?

10      A.     Mr. Bairos.

11      Q.     And "this gets done," what did he mean by "this gets

12      done"?   What was trying to be accomplished here?

13      A.     He was trying to get -- donate to the legal defense fund.

14      Q.     Were you and Mr. Correia in each other's presence during

15      this conversation?

16      A.     Yes.

17      Q.     Did Mr. Correia say something to you at this time?

18      A.     At this time, when Tony was talking about it, he said --

19      he whispered, $100,000, tell him it's going to be a hundred

20      thousand.

21      Q.     The defendant whispered that to you?

22      A.     Right.

23      Q.     Did you --

24      A.     Tony did not know that he was there, I was telling him --

25      Q.     So what did you -- what did do after he told you --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 203 of 235
                                                                          10-203




 1      A.    So I told him, you know, Well, the mayor is going to want,

 2      like, $100,000 or something like that.        There's no way, there

 3      was some back and forth.      And I said to him, All right, here's

 4      what I'm going to do, I'm going to tell him that you're going

 5      to try to raise him $85,000 for the defense fund.

 6      Q.    At this point, Mr. Camara, do you have any formal role in

 7      the issuance of marijuana and Non-Opposition Letters?

 8      A.    No, I do not.

 9      Q.    Are you involved in any capacity in zoning or permitting

10      or any process related to marijuana and Non-Opposition?

11      A.    No, I am not.

12      Q.    Is Mr. Costa involved in any way officially in the

13      issuance of these letters or the zoning or the permitting?

14      A.    No, I did not.

15      Q.    Who has the official authority to sign the Non-Opposition

16      Letters?

17      A.    Mayor Jasiel Correia.

18      Q.    This money that you were attempting to get from Brian

19      Bairos, was this, in your view, legitimate?

20      A.    I tried to keep it legitimate, but, no.

21      Q.    At some point after this, several days later, did you

22      receive a call from Mr. Costa?

23      A.    Yes, I did.

24      Q.    What did he tell you?

25      A.    Tony called me, he says, Hey, by the way, I left something
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 204 of 235
                                                                          10-204




 1      for you in your shed.

 2      Q.    You mentioned earlier your house and Mr. Costa's house at

 3      the time were close to each other?

 4      A.    Might be another 30 feet or so out of our back doors.

 5      Q.    After he called you, Mr. Costa called you and told you

 6      that he had left something in your shed, what did you do?

 7      A.    I called the mayor.

 8      Q.    What did you say to him?

 9      A.    I said, Tony just told me he left something in my shed, I

10      think we should go look at it.

11      Q.    Did the mayor come to your house?

12      A.    Yes, he did.

13      Q.    Did you look at your shed?

14      A.    We went to the basement first, from the basement, I went

15      to my shed.

16      Q.    Only you went to the shed?

17      A.    Correct.

18      Q.    Mr. Correia stayed in your basement?

19      A.    Correct.

20      Q.    When you first went into the shed, what happened?

21      A.    I -- Tony told me it was there someplace.        I looked, I

22      couldn't find it.     I had to go back and call him and asked him

23      where it was.

24      Q.    What he tell you?

25      A.    He then said, It's on the left-hand side under the --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 205 of 235
                                                                          10-205




 1      under a bucket of paint or can of paint.

 2      Q.    When he told you that, did you go back to your shed?

 3      A.    Yes, I did.

 4      Q.    What happened when you went back to your shed?

 5      A.    I went to the left-hand side, saw a can of paint, picked

 6      it up and there was an envelope.

 7      Q.    What did you do after you found the envelope?

 8      A.    I returned to my basement.      I --

 9      Q.    I'm sorry, no, go ahead.

10      A.    I returned to the basement and I opened the corner of it

11      up and there were -- there was an amount of dollars in there.

12      Q.    When you opened it up, was anyone else there?

13      A.    The mayor was.

14      Q.    What was your reaction when you opened it up, Mr. Camara?

15      A.    I was spooked, I was nervous, I was worried.

16      Q.    Did you have the opportunity to observe Mr. Camara's

17      reaction?

18      A.    He was okay, nonchalant.

19      Q.    What did you do next?     Did you say anything to --

20      A.    Yes.

21      Q.    What did you say?

22      A.    I said -- I says, This isn't what I signed up for.          If you

23      take this or I take this, we're going to go to jail.          The mayor

24      says, Well, what do you want to do?        I says, Okay.    I got on

25      the phone and I called Tony and I asked him where he was.          He
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 206 of 235
                                                                          10-206




 1      told me he was at his house or his new residence, which was at

 2      his mother's on Sterling Street.       I said, Hey, I'll be right

 3      there.

 4      Q.      At this point in time, what is your state of mind?        What

 5      are you trying to accomplish?

 6      A.      Okay.   I'm trying to get out of this.     I'm not -- I don't

 7      want the cash, I don't want to deal with the cash or anything.

 8      I was very, very nervous.      I was worried about fingerprints and

 9      everything so I put -- I wiped down the envelope, put it in the

10      Shaw's bag, and drove to Tony's house.

11      Q.      What happened --

12      A.      I left my house and I drove to Tony's.

13      Q.      What happened when you got to Tony's house?

14      A.      When I got to Tony's, I said, Tony, this is not what I

15      want.

16                  Now, on my way there I had to think of what I wanted

17      to say to Tony so the money could be returned.

18      Q.      Did you come up with something to say?

19      A.      Yeah, I said, This is all fed money.     You know there's a

20      bunch of investigations going on, there's still an ongoing

21      investigation; I want no part of this.        So you need to return

22      this to the gentleman.

23                  Tony suggested that he might move it by showing it to

24      his friends in Providence or New York.        I said, You're going to

25      go to some guy saying you received a bunch of fed money and
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 207 of 235
                                                                          10-207




 1      they should launder it, is that what you're going to tell them?

 2      Q.      What did he say?

 3      A.      Well, what do you want me to do?     I says, I think you

 4      should give it back to the guy.       I don't know this guy, you

 5      don't know this guy, okay --

 6      Q.      Did you have a conversation after that with Mayor Correia

 7      about the Non-Opposition Letter for Mr. Bairos?

 8      A.      Yes.    So what happened was this:   I wasn't sure Tony was

 9      going to return the money.      So two or three days later, I found

10      out Tony returned the money and that he was going to do some

11      other deal with the gentleman but that he needed the letter

12      within the next five days, Tony did.

13      Q.      Okay.

14      A.      I saw an opportunity and I made the decision on my own to

15      go upstairs and tell the mayor that Tony told me everything is

16      all set, mail out the letter.

17      Q.      Why did you do that?

18      A.      My thought process was that if this was something as bad

19      as it seemed, that I would wash my hands of it.         No money had

20      exchanged hands, the man got his letter back, and I'm out of

21      this.

22      Q.      At some point, around October 12th or 13th of 2018, did

23      you learn that Mr. Correia had been arrested?

24      A.      Yes.

25      Q.      And after learning that, did you have a conversation with
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 208 of 235
                                                                          10-208




 1      Mr. Costa?

 2      A.    Yes.

 3      Q.    Do you remember what you said to him?

 4                   MR. REDDINGTON:   Objection.

 5                   THE COURT:   No, you may answer this question.

 6      A.    We were talking about what was going on, and I still was

 7      worried about the man, the legal defense fund and everything

 8      like that.     And I told Tony not to screw him, that he did what

 9      he asked him to do, he gave you a letter, so help the guy out.

10      Q.    Who did you mean by "the guy"?

11      A.    Jasiel Correia.

12      Q.    So even though he's been arrested at this point,

13      Mr. Camara, you're telling Mr. Costa not to screw him?

14      A.    Correct.

15      Q.    Why is that, sir?

16      A.    Because I knew he needed money for his defense fund.

17      Q.    Did you care about him personally?

18      A.    Absolutely, he knows I did, everyone knows I did, very,

19      very much like a son.

20                   MR. HAFER:   Your Honor, I have no further questions.

21                   THE COURT:   All right.   Mr. Reddington?

22                   Well, we're right at the end of the day.      If you want

23      to start, Mr. Reddington, we can, or we can break at this

24      point.

25                   MR. REDDINGTON:   Whatever Your Honor prefers, I mean,
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 209 of 235
                                                                            10-209




 1      it is five minutes.     I could start tomorrow.

 2                THE COURT:    Okay.   Why don't we start tomorrow with

 3      this.

 4                Ladies and gentlemen, we're going to break for the

 5      day, as I indicated, because I have some matters to take up

 6      with counsel here in anticipation of presenting the case to

 7      you.

 8                We've had a few introductions to the law of evidence

 9      here, I'll give you more as we go along in terms of

10      instructions that I've given counsel as to how matters should

11      be presented, that sort of thing, which you understand that

12      what we're all trying to do is make sure that this case gets to

13      you as fairly and efficiently as it possibly can.          That's

14      everything that everyone here has worked toward, and we're

15      getting close.

16                So I want to emphasize what I've said before.           Don't

17      let yourself be exposed in any way to any conversations or read

18      anything or in any way expose yourself to matters outside the

19      courtroom that the parties haven't had a chance to see.           The

20      genius of this system is that everybody knows what it is that

21      you're going to be making your decision on, they know what the

22      rules are that you're going to be making your decision on.            It

23      would be immensely unfair to everyone involved if you were to

24      permit yourself to be exposed to anything, and of course you'll

25      tell us if inadvertently you are.       But we've gotten this far
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 210 of 235
                                                                          10-210




 1      and we've gotten this far, I think, efficiently and fairly and

 2      now it becomes especially important for you to be vigilant

 3      about keeping yourself insulated from anything that might be

 4      out there in the community or people who might want to offer

 5      their views on things, don't let them; and certainly, of

 6      course, you won't have any communications with anyone on your

 7      own.

 8                I'll ask my customary question tomorrow morning.

 9      We'll move on to continue with Mr. Camara's examination at that

10      point, and I think by the end of the day I'll be able to tell

11      you with some greater specificity when this case is going to be

12      presented to you.

13                So enjoy the afternoon, what's remaining of it, and

14      we'll see you tomorrow morning.

15                THE CLERK:    All rise.

16                (Jury left the courtroom.)

17                THE COURT:    You may step down, Mr. Camara.

18                (Witness left the courtroom.)

19                THE COURT:    So if you want to take a break at this

20      point we can or keep going.

21                I'm sorry, we we're going to take a break at this

22      point to assure that I'm not burdening the people who really do

23      the work in the courtroom or the person who is really doing the

24      work in the courtroom, and why don't we come back in, say, 10

25      minutes to discuss this and what I think, as I've indicated, is
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 211 of 235
                                                                          10-211




 1      I'd like to go through the redacted indictment as a way of

 2      shaping the discussion.

 3                MR. HAFER:    That's fine.

 4                Could we have 15 just so I can go up and grab it and

 5      get organized?

 6                THE COURT:    Sure.   So we'll be back at 3:15.

 7                THE CLERK:    All rise.

 8                   (Recess taken.)

 9                (Court centered the courtroom.)

10                THE CLERK:    Please be seated.

11                THE COURT:    So, as I indicated, I'd like to have us

12      walk through the redacted indictment to the degree that the

13      government now takes a position that there is evidence, not

14      necessarily that the jury will believe it, but there's evidence

15      in the record with respect to the otherwise unidentified

16      persons in various of the counts here.        If the evidence is

17      still to come, I don't want to hear about it right now, because

18      I have this as an open hearing and I am adhering to my view

19      that matters that may or may not arise as to the introduction

20      of evidence are not matters that I want to have in open session

21      right now.

22                So let's turn to Counts A through I here, and these

23      are the wire fraud counts.

24                And what I'm thinking about here is, certainly I want

25      to fill in the name of whoever the government contends is the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 212 of 235
                                                                          10-212




 1      actual person involved in the various wires or mailings, but

 2      I'd also like to identify, if it's different, who the investor

 3      is, because I'm looking at this from the perspective of

 4      traditional fraud as well, and it seems to me that there could

 5      be a scheme to defraud but we have to identify who is being

 6      defrauded, and that will shape what that person knew, when they

 7      knew it, whole questions of materiality.        So I put that in that

 8      broader context so that you've got an idea.

 9                But let's go with Exhibit A.       Assuming that I will put

10      in the actual name, which I understand was communicated to the

11      defendant during the course of the discovery, what's the actual

12      name that we'll be using there?

13                MR. HAFER:    Count A would be David Cabeceiras, Your

14      Honor.

15                THE COURT:    Okay.

16                And for -- and, Mr. Reddington, if there's a dispute

17      about whether there's evidence with respect to this or this is

18      who you understood to be that, what the government was

19      contending was the victim here, you'll let me know.

20                Then Count B?

21                MR. HAFER:    Mr. Eisenberg and Martinez, Your Honor.

22                THE COURT:    Is the government -- let me put it this

23      way:   Is this, then, multiplicitous or duplicitous?

24                MR. HAFER:    I don't think so.     They're just --

25                THE COURT:    Did they both receive the same information
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 213 of 235
                                                                          10-213




 1      at the same time?

 2                MR. HAFER:    Oh, I see what you're saying.

 3                I think so, Your Honor.      From memory, I think so.     If

 4      it's -- I think we can live with one or the other if I just

 5      double-check the email.

 6                THE COURT:    I think that's an issue in the case.       If

 7      it's multiplicitous, I may not let it go to the jury on both

 8      but only one, and the government would have to elect as to

 9      those ones, and of course I'll hear anything that

10      Mr. Reddington has to say about that potential issue with the

11      indictment.

12                Now, C?

13                MR. HAFER:    It's the same two, Your Honor, so --

14                THE COURT:    Okay, so you'll --

15                MR. HAFER:    Yes, I'll report back to you first thing

16      in the morning.

17                THE COURT:    Okay.   And tell Mr. Reddington when you're

18      ready.

19                MR. HAFER:    Yes.

20                THE COURT:    And if there's further action that needs

21      to be taken with respect to that, I'll deal with it.          But we're

22      dealing with both Eisenberg and Martinez as -- within the

23      contemplation of the evidence that the government submitted.

24                Then for D?

25                MR. HAFER:    That one is Mr. Eisenberg.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 214 of 235
                                                                          10-214




 1                THE COURT:    Okay.

 2                And for E?

 3                MR. HAFER:    Mr. Martinez.

 4                THE COURT:    Okay.

 5                And then for F?

 6                MR. HAFER:    Both Eisenberg and Martinez on F, Your

 7      Honor.

 8                THE COURT:    Okay.   So, again, you understand that --

 9                MR. HAFER:    I do.

10                THE COURT:    -- the indictment problem with that,

11      potential problem?

12                MR. HAFER:    Yes, Your Honor.

13                THE COURT:    G?

14                MR. HAFER:    G is Mr. Miller.

15                THE COURT:    Okay.

16                H?

17                MR. HAFER:    Both H and I are Dr. Cabeceiras.

18                THE COURT:    Okay.   So let's go back on this, too, for

19      me to outline my view.

20                I think that there has to be identified what the false

21      statement is; that is, it has to be argued, you have to have

22      the evidence of it.     I'm not asking that there be some further

23      specification in the indictment, but is it a false affirmative

24      statement?     Is it an admission to state a material fact?       Is it

25      a half-truth?    What is it that occurred before the date of this
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 215 of 235
                                                                          10-215




 1      wire communication with respect to this investor?           And that's

 2      the way I think I'm going to be looking at it.

 3                 The language is, you know, false and fraudulent

 4      pretenses, representations and promises, and that can include a

 5      variety of different kinds of ways of communicating matters of

 6      fraud or misrepresentation.      As I say, affirmatively, by

 7      admission to state a material fact or some combination of both

 8      of them.

 9                 So I think I want to know a little bit about what

10      you're going to be contending with respect to each one of these

11      counts to be sure that in the instructions that I give the

12      jury, I am addressing the several issues because I'm going to

13      be telling the jury that they have to decide these separately

14      with respect to each one of these counts.

15                 And I assume, but maybe you'll try to argue otherwise,

16      that there is no duty to disclose after the disclosure is made,

17      which under other circumstances if we're dealing with the kinds

18      of affirmative duties to disclose that you find in securities

19      cases might be at issue.      But I don't think that's what you're

20      contending here.

21                 So let's start with Dr. Cabeceiras.       What

22      misrepresentations prior to May 5, 2014 are you going to be

23      arguing?

24                 MR. HAFER:   I'm just trying to remember the

25      testimony --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 216 of 235
                                                                          10-216




 1                THE COURT:    This is not meant to be a pop quiz really,

 2      but I do want to know ahead of time.        I'll give you a chance to

 3      think it through to be able to get back to me, but before I

 4      charge, and this week, I want to know what the government's

 5      contention is going to be with respect to the

 6      misrepresentation, because the timing of the misrepresentation,

 7      it seems to me, is critical here.       The misrepresentations and

 8      the mailings together are more or less contemporaneous but not

 9      quite necessarily and so I'm of the view that I'll be charging

10      that there has to be a misrepresentation and it has to

11      remain -- I may not say this because I may not have to -- I'd

12      say this, because I may not have to but the structure is the

13      misrepresentation has to remain outstanding with respect to

14      each victim at the time that the wire communication took place

15      involving that particular victim.

16                So, I guess, you know, rather than going through this

17      in that fashion, I'm just telling you, I want to know --

18                MR. HAFER:    Okay.

19                THE COURT:    -- at some point.     But that shapes the

20      questions with respect to intent.

21                Is there a dispute about the way in which intent would

22      be presented to the jury under that rubric?

23                MR. HAFER:    Well, my general understanding from

24      reading the cases, Your Honor, and I quickly read, I reserve

25      rights, but I did quickly pull and read the instruction out of
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 217 of 235
                                                                          10-217




 1      page 1140 of the opinion you cited to us this morning.

 2                I will just tell you my general understanding, we

 3      agree that we have the burden of proving beyond a reasonable

 4      doubt an intent to defraud, a specific intent to defraud.          As I

 5      tried to delineate in our filing over the weekend, we don't

 6      think that intent applies to each mailing, each transmission,

 7      but we agree that he has to have an intent to defraud.

 8                THE COURT:    Let me put it in a different way --

 9                MR. HAFER:    Yup.

10                THE COURT:    -- that may move this along a little bit.

11                Let me take a hypothetical that may have been

12      foreshadowed in some of the questions that the defense is

13      asking, and I'll turn it into a hypothetical.

14                MR. HAFER:    Okay.

15                THE COURT:    My hypothetical is this:      That Mr. Correia

16      was deeply involved in SnoOwl, wanted it to work, that kind of

17      thing, was working on it full time, and at that point, apart

18      from the desire of every young man to become President of the

19      United States, he wasn't working to become President of the

20      United States in any meaningful sort of way or even mayor of

21      Fall River.    He simply recognizes there's a long life ahead of

22      him and he's got all kinds of goals.        But he represents to

23      Dr. Cabeceiras, I will work hard on this thing, I want it to

24      work and I'm going to give my best efforts on this; and then,

25      four years later, he decides that he's going to look for
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 218 of 235
                                                                              10-218




 1      another job.    The way I said that hypothetical, is that a

 2      misrepresentation?

 3                MR. HAFER:    If the case depended entirely on -- no, I

 4      understand, I understand your point, let me say that.             I

 5      totally understand the point.       I don't think I disagree with

 6      it, I don't believe I disagree with it.        I need a little more

 7      time to think about it, but I certainly understand --

 8                THE COURT:    Okay.   So that's where I'm coming from on

 9      this, which is, is there at the time that the offense is

10      completed, and here the offense is completed by the mailing, is

11      there still a -- not still -- is there a misrepresentation?

12                There could be, you know, someone says, I anticipate

13      that the earnings of the company are going to be $800,000 in

14      2014, and it doesn't work out, those are kind of projections.

15      At the time that projection is made, he's got a good-faith

16      basis for making that, I don't believe that would be

17      misrepresentation.     Maybe you'll argue around that to deal with

18      that, but that's really what I'm thinking about.

19                Now, if we're talking about past reporting material,

20      that is to say, I sold my previous company for, today's

21      testimony was a million dollars to Mr. Camara, then that's

22      tested against historical fact there.        Whether or not it was

23      made in good faith or whether it was $200,000 or whether it was

24      $20,000, whatever it is, those are historical facts.

25                Similarly, did they have intellectual property that
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 219 of 235
                                                                            10-219




 1      they sold?    Did they have patents at the time, patents in

 2      process?   Those are tested in a different sort of way.

 3                 But I'd like to know what it is, what are the

 4      misrepresentations so that we can focus more particularly on

 5      this.   Because, as I say, the way in which I see myself

 6      charging the jury is to say with respect to this, this arises

 7      out of the investment made by Dr. Cabeceiras.         This arises out

 8      of the investment made by either or most likely either, not

 9      both, Mr. Eisenberg and Mr. Martinez, and down the line.

10                 Now, that gets me to the next point, which is, we do

11      not have a misrepresentation here with respect to Mr. Bairos or

12      Mr. Camara, at least in the mailings.

13                 I think the way I look at that is that goes to the

14      larger creation of a scheme to defraud.        The evidence is

15      admissible for those purposes, but to the degree that you have

16      to prove a mailing in furtherance of the scheme, any mailing

17      having to do with Mr. Camara or Mr. Bairos is not part of this

18      case, at least something I'm charging the jury about.             But it

19      does shape the scheme, it's evidentiary of the scheme.

20                 So it's -- charging about scheme, and 1st Circuit or

21      Judge Hornby and Judge Torres in, you know, their updates and

22      so on, took artifice out.      I've always liked it, like it's the

23      King James version of some explanation of what the charge is,

24      comes, of course, directly from the statute, but who knows what

25      an artifice is?     And so I think I'll probably use language from
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 220 of 235
                                                                          10-220




 1      the 1st Circuit scheme to defraud, conveys the same thing I

 2      think.

 3                But, in any event, you understand that the -- or you

 4      should understand that my present view is, in order to prove

 5      its case, the Court (sic.) has to prove misrepresentations with

 6      respect to the named individuals in the counts as victims and

 7      that they -- those misrepresentations still remain material at

 8      the time that the mailing took place.        That's the way I'm

 9      thinking this through.

10                And what that means -- the reason I'm going through

11      this is so the parties can argue, you know, however they want

12      to argue about that, saying, whatever he meant at the time, you

13      know, he moved on.     Said, you know -- for a 21-year-old man,

14      two years is 10 percent of his life, so things change

15      dramatically.    Just foreshadowing on it so that you understand

16      where I'm coming from.

17                That having been said, if you want to speak to some of

18      that concept at this time, I'll, of course, hear you.

19                MR. HAFER:    The only thing I want to say -- first of

20      all, thanks, it's very helpful to have your thoughts so that we

21      can -- it's very helpful.

22                My only preliminary reaction is -- I agree on the

23      material misrepresentation has to precede the date of the

24      mailing, I agree with we haven't alleged one with respect to

25      Mr. Costa or Mr. Camara, that otherwise those go to the --
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 221 of 235
                                                                          10-221




 1      overall to the scheme and the intent, and I wouldn't argue as

 2      you just suggested I shouldn't.

 3                The only thing is some of the misrepresentations to

 4      the investors are obviously all a little bit different.           You

 5      know, I think, and I'm just speaking from memory, if I'm wrong,

 6      hopefully, you won't hold it against me.

 7                My memory is Mr. Correia said nothing to

 8      Dr. Cabeceiras about whether he was taking a salary or using it

 9      for personal expenses, whereas he affirmatively told

10      Mr. Miller.    I just -- my only concern would be that it not get

11      parsed too finely it.

12                THE COURT:    It won't be parsed too finely, but I think

13      those distinctions have to be made --

14                MR. HAFER:    Okay.

15                THE COURT:    -- with respect to it.

16                Now, I suppose with respect to Dr. Cabeceiras, you

17      could say or could argue, I don't think it works here, but

18      you'll argue -- we've all got transcript now so we can deal

19      with it -- that Dr. Cabeceiras would necessarily assume that

20      that's the case.     So it's an admission to state a material

21      fact, the material fact being unlike any other startup I'm

22      going to take money out of it for various personal uses because

23      I need to keep things going.

24                I want to hear if that's the theory government has,

25      but it has to be made as to each one of these separate victims.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 222 of 235
                                                                          10-222




 1      That's why I'm saying it at the outset.

 2                  MR. HAFER:   Okay.

 3                  THE COURT:   And that, similarly, for purposes of

 4      Mr. Reddington, you know, that is meant to identify those areas

 5      in which you can fairly argue about various of the points

 6      because that's what I'm going to be dealing with or the way I

 7      think I'm going to be dealing with this matter.

 8                  Mr. Reddington, do you have on this issue matters that

 9      you'd like me to be thinking about here?        We're going to have a

10      final, obviously, charge and discussion, but I wanted to get

11      this out before we -- so that you're thinking about it before

12      the case ends and there may be evidence that you want to put

13      in, whatever.

14                  MR. REDDINGTON:   I tend to agree, Your Honor, in the

15      sense that it makes imminent good sense that you got the

16      scheme --

17                  (Court reporter interrupted.)

18                  MR. REDDINGTON:   Yeah, let me get the microphone.

19                  THE COURT:   I think for these purposes, Mr.

20      Reddington, you can shed all pretense of wearing the mask.

21                  MR. REDDINGTON:   Excellent, thank you.

22                  THE COURT:   You're far enough from everyone except,

23      perhaps, Mrs. Correia.

24                  MR. REDDINGTON:   I just gave Mr. Hafer a hug, so we're

25      all set.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 223 of 235
                                                                           10-223




 1                 Your Honor, I tend to think that the intent does have

 2      to be at the time that the wire is sent, that the mail is

 3      mailed, so I have nothing to add.

 4                 THE COURT:   Okay.

 5                 So I'll continue to work on this, but -- and I have

 6      been, as you know, on it.       I'm not wedded to any of this stuff,

 7      I just happen to mention -- you know, I keep turning up my name

 8      in these cases as being reviewed by the Court of Appeals or

 9      writing an opinion of my own, you're entitled to know that, but

10      the core of this thing is, as far as I'm concerned, apart from

11      the jurisdictional hook stuff, is, was there a scheme?            And as

12      part of that scheme, were there misrepresentations to

13      identifiable victims and those identifiable victims we've

14      talked about, and that scheme and the materiality and

15      misrepresentations has to be alive at the time of the mailing

16      which I consider to be the conclusion of the specific crime

17      alleged in A through I.

18                 There may be other counts out there that -- or the

19      scheme may continue beyond those, that time period, but you got

20      to prove those.

21                 And so I would like an identification --

22                 MR. HAFER:   Yes, Your Honor.

23                 THE COURT:   -- of those issues in a reasonable amount

24      of time.

25                 Now, that gets me to the next question, which is, I
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 224 of 235
                                                                          10-224




 1      have been letting in, as you've seen, in anticipation of

 2      Petrozziello findings or Ciampaglia -- I date myself by saying

 3      Petrozziello, but the reason that I do is that, see that man

 4      back there to the left of the door?

 5                  MR. HAFER:   Yes.

 6                  THE COURT:   That's Judge Murray.     Judge Murray was the

 7      judge who charged in Petrozziello and lead to the 1st Circuit's

 8      decision in Petrozziello.       I mention it because I was clerking

 9      for him then when he did that, which is now 40 years, more than

10      40 years ago, 45 I guess.

11                  The 1st Circuit said that the way in which he handled

12      the question of co-conspirator hearsay was perhaps a little bit

13      too prescriptive, but acceptable.       What he did, is he said

14      you've got to introduce all non-hearsay evidence of a

15      conspiracy before I rule on whether or not you've met the

16      standard.    I don't do it that way.     I think we can even

17      consider the statements seeking admission for those purposes.

18      But, in any event, I make the decision at the end of all the

19      evidence in the case, and I will here, but I don't want to

20      spend a lot of time if there are not really disputes that there

21      is sufficient evidence under these circumstances for

22      admissibility.    Sufficient evidence for admissibility for

23      co-conspirator hearsay is by a fair preponderance of the

24      evidence.    It's not coincident with proof beyond a reasonable

25      doubt.   And so, at an appropriate time, before it's put to the
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 225 of 235
                                                                          10-225




 1      jury, I'll probably be turning to Mr. Reddington to say, Do you

 2      want me to make specific findings as to specific individuals

 3      here?

 4                  I do those findings outside of the presence of the

 5      jury and do it in camera because I don't want the jury to be

 6      influenced by saying, Well, the judge has already found

 7      something, if that happens.

 8                  But just so you're forewarned and are able to give me

 9      a heads-up on the ones that you want as specific findings as I

10      can with respect to it, I'm prepared to give conclusory

11      findings.

12                  The second aspect of it is, I've let some of this in

13      to show the organization and development of the conspiracy on

14      one ground, just kind of general background context, and I let

15      some of it in because it goes to the state of mind that the

16      person who is potentially the victim or could be a victim of

17      the scheme to show how it might be material as to them, but it

18      also bleeds over into the state of mind of the victim for

19      purposes of extortion.

20                  So that's my way of explaining the evidentiary rulings

21      that I make that we're going to go back to at a later point.

22                  So the question of -- you know, perhaps it's too much

23      to say that false filing cases are kind of garden variety fraud

24      cases, but I don't see any heavy lifting here about

25      instructions there unless there's something and specific you
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 226 of 235
                                                                          10-226




 1      want to know about it.

 2                  I then turn to the extortion.     I raised the issue

 3      before with respect to extortion.       The government is proceeding

 4      on, as I understand it, a quid pro quo extortion theory here

 5      with respect to all of this, not pressing the envelope on

 6      anything that might be considered to be a gratuity here.

 7                  Now, that being said, the observations or observation

 8      of Mr. Costa that that's the way it's done in the city may be

 9      read as a gratuity.      You know, you do something for us, there's

10      a gift for you at the end.      I don't understand the government

11      to be arguing that that is anything that's after the event,

12      that is, after the -- getting the either host agreement or the

13      other agreement is extortion here, but I want to be sure that

14      I'm not missing something on that, so I raise it.

15                  MR. HAFER:   If I understood you correctly, which I

16      think I did, yes.

17                  THE COURT:   So, again, Mr. Costa's testimony, to the

18      extent the jury believes it, and it's up to them, is larger

19      context of this kind of thing.       It also provides a basis for

20      Mr. Reddington to argue on behalf, is this is a group of people

21      who think it's a matter of honor to, you know, be thankful for

22      somebody who has done something nice for you, it's not a

23      shakedown, it's a gratuity.      That's the kind of alternative

24      argument.    That's an argument.     Whether the jury will believe

25      that this was just a house warming gift is another matter.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 227 of 235
                                                                          10-227




 1                So now let's turn to the extortion parts of this.         And

 2      we're going to Counts N, P, and R.

 3                So the government's position with respect to N is --

 4      the victim of extortion there is?

 5                MR. HAFER:    Mr. Brayton, Your Honor.

 6                THE COURT:    Okay.    And with respect to P?

 7                MR. HAFER:    Mr. Bairos.

 8                THE COURT:    Okay.    And R?

 9                MR. HAFER:    I can say the name, even though he hasn't

10      testified?

11                THE COURT:    Okay, then let's not yet until -- but the

12      government anticipates evidence to come to deal with that?

13                MR. HAFER:    Yes, Your Honor.

14                THE COURT:    Now turning to T and V.      T?

15                MR. HAFER:    A witness from whom the evidence is yet to

16      come.

17                THE COURT:    And V?

18                MR. HAFER:    V, Mr. Costa, Your Honor.

19                THE COURT:    Okay.

20                Then O, Q, and S?

21                MR. HAFER:    I'm sorry, Your Honor, I'm just making

22      sure I have it right.

23                Yes.   O, Mr. Brayton.

24                THE COURT:    All right.

25                MR. HAFER:    Q, Mr. Bairos.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 228 of 235
                                                                          10-228




 1                THE COURT:    All right.

 2                MR. HAFER:    S, TBA.

 3                THE COURT:    Okay.   The standard I'm applying here, as

 4      you, I think, understand, Mr. Reddington -- let me deal with U

 5      and W, as well, as they require attention.

 6                MR. HAFER:    U also is to come, Your Honor.

 7                THE COURT:    All right.

 8                MR. HAFER:    And W is Mr. Costa.

 9                THE COURT:    Okay.

10                So if there's a dispute about sufficient evidence

11      here, you can raise it after you reflect on it, Mr. Reddington.

12      I'm not sure that -- you know, I'm asking Mr. Hafer to tell us

13      what his view is.     I've cross-checked on this as well going

14      through the record as I understand it and other materials, and

15      that seems correct for the ones who have been identified right

16      now.   And there appears to be evidence in the record with

17      respect to that, but you may say they're not enough, if that's

18      your position, Mr. Reddington.       This is not so much a question

19      of sufficiency of the evidence for purposes of judgment of

20      acquittal as it is sufficiency of they've tied it up, they've

21      put in evidence with respect to this kind of material, this

22      victim, that's what I want to focus on.

23                But it seems to me that the government's position with

24      respect to extortion, which is, we're only going on a quid pro

25      quo theory, is sails well through the safe harbor that is still
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 229 of 235
                                                                          10-229




 1      remaining in these kinds of cases for -- from recent

 2      developments by which I include, now that I've been reminded of

 3      it, McNally forward here, and that's the way I'm likely to be

 4      charging with respect to it.

 5                  Onto the final question of bribery, which is found in

 6      X, Ms. Andrade has been identified here, that's the nature of

 7      it.    And of course, while I won't be charging quite this way,

 8      extortion and bribery in this context are the yin and yang of

 9      political corruption, but they are separately identified as

10      demanding a bribe and demanding extortion here, and I'll try to

11      make those distinctions clear as to what the government has to

12      say.

13                  I will be taking off the reference to forfeiture

14      allegations here because I understand from the submissions the

15      government has made, the government's view is that this does

16      not go to the jury, it's being handled administratively or

17      otherwise or civilly, but, in any event, it's not a jury issue

18      for them.

19                  MR. HAFER:   Correct, Your Honor.

20                  THE COURT:   Okay.   So we're almost there for purposes

21      of the redacted indictment being an indictment that identifies

22      the victims involved or the persons whose mailings are involved

23      or who had been purportedly extorted.

24                  I wanted, as I said, wanted to do this preliminarily

25      so you have some idea of where I am to make it possible for us
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 230 of 235
                                                                          10-230




 1      to have a meaningful final charging conference and the parties

 2      to, you know, make choices about whether or not they fortify

 3      some aspect or another of the kind of proof that they're going

 4      to offer so that they're going to be able to argue it to the

 5      jury.

 6                But that then gets me to the question of how much

 7      longer we realistically are going to be.

 8                MR. HAFER:    We just spoke, Your Honor, and I think we

 9      are -- we'll send, obviously, Ms. Beatty the update when we get

10      in and confirm everything, but I think, again, subject to the

11      cross, I really do anticipate us finishing with our witnesses

12      Thursday morning.

13                THE COURT:    Okay.   My intent is to move immediately to

14      the defense case at that time, Mr. Reddington.         The -- because

15      what I'd like to do, and I think it serves your purposes as

16      well, but you have other purposes of developing the record the

17      way you want to develop the record, but -- is to give you guys

18      the weekend to think about what you're doing and also to

19      prepare your closing arguments so that the question of charge

20      is, you know, laser directed and it also gives you a day to

21      think about the charge.      So what I would be thinking about is

22      that Monday morning we'd have a final charging conference, then

23      go to the jury on Tuesday.      That would be the way in which I

24      think we'll go.

25                MR. HAFER:    Very much appreciate that, Your Honor,
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 231 of 235
                                                                          10-231




 1      that's time that Mr. Reddington and I will --

 2                 THE COURT:    Okay.   There are some loose ends with

 3      respect to the defense case that I think it's premature to take

 4      up, I talked about them in camera to anticipate, but I'll make

 5      any final inquiries before the final determination of who the

 6      witnesses are going to be are made, and I'll do that off -- or

 7      in camera, that is, there will be a record of it but it's not

 8      going to be disclosed until the choices are actually made in

 9      terms of evidence in the case.       Okay.

10                 MR. REDDINGTON:    Very good.

11                 THE COURT:    Now, is there anything else that you would

12      like to talk about at this point to address this?

13                 MR. HAFER:    No, your Honor.

14                 THE COURT:    Okay.   Mr. Reddington, anything else?

15                 MR. REDDINGTON:    No, Judge.

16                 THE COURT:    Okay.   So does that schedule work for

17      everybody?

18                 MR. REDDINGTON:    Yes.

19                 THE COURT:    Mr. Reddington, again, you'll develop your

20      case the way you want.      I don't mean to -- you know, if it

21      doesn't work that we don't get through on Friday, we don't get

22      through on Friday.      My intention is to give you guys a day

23      after the charging conference to think about how it works

24      through, but you'll have the weekend, obviously, to think about

25      it, too.
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 232 of 235
                                                                          10-232




 1                MR. REDDINGTON:     Perfect.   I feel comfortable that we

 2      should be done by Friday, Judge.

 3                THE COURT:    Okay.   Bearing in mind --

 4                MR. REDDINGTON:     At the latest.

 5                THE COURT:    -- we're going to be breaking a little bit

 6      before 4:00 on Friday to afford the -- one of the jurors the

 7      opportunity to get her second shot.

 8                MR. REDDINGTON:     Thank you.

 9                THE COURT:    But I think it's a full day there.        Okay?

10                MR. HAFER:    Thank you very much, Your Honor.

11                THE COURT:    Okay.   Then we'll be in recess, thank you.

12                MR. REDDINGTON:     Very good.

13                THE CLERK:    All rise.

14                  (Court adjourned at 3:56 p.m.)

15                                   -------------

16

17

18

19

20

21

22

23

24

25
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 233 of 235
                                                                          10-233




 1                                   CERTIFICATION

 2                We certify that the foregoing is a correct transcript

 3      of the record of proceedings in the above-entitled matter to

 4      the best of our skill and ability.

 5      /s/Debra M. Joyce                     May 4, 2021
        Debra M. Joyce, RMR, CRR, FCRR        Date
 6      Official Court Reporter

 7

 8

 9      /s/Kelly Mortellite                   May 4, 2021
        Kelly Mortellite, RMR, CRR            Date
10      Official Court Reporter

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 234 of 235
                                                                              234




 1                                        INDEX

 2

 3      WITNESS                                                              PAGE

 4
        MICHAEL KHOURY
 5
           Direct Examination by Mr. Tobin                                      6
 6         Cross-Examination by Mr. Reddington                                 15
           Redirect Examination by Mr. Tobin                                   18
 7         Recross-Examination by Mr. Reddington                               19

 8      JOHN PERRY, JR.

 9         Direct Examination by Mr. Tobin                                     20
           Cross-Examination by Mr. Reddington                                 26
10
        JOSEPH I. MACY
11
           Direct Examination by Mr. Hafer                                     30
12         Cross-Examination by Mr. Reddington                                 57
           Redirect Examination by Mr. Hafer                                   79
13
        BRIAN BAIROS
14
           Direct Examination by Mr. Tobin                                     80
15         Cross-Examination by Mr. Reddington                                129
           Direct Examination                                                 166
16         By Mr. Tobin

17      HILDEGAR CAMARA

18         Direct Examination                                                 169
           By Mr. Hafer
19

20

21                                  E X H I B I T S

22
        Exhibit No.                                                       Received
23

24         146                                                                  9

25         147                                                                 12
     Case 1:18-cr-10364-DPW Document 239 Filed 05/17/21 Page 235 of 235
                                                                          235




 1         148                                                             14

 2         149                                                             15

 3         150                                                             35

 4         152                                                             40

 5         153                                                             45

 6         154                                                             50

 7         155                                                             51

 8         156                                                             53

 9         159                                                             81

10         160                                                             98

11         163.1                                                          100

12         162                                                            107

13         163.2-163.3                                                    109

14         163.4                                                          118

15         163.5                                                          125

16         166                                                            172

17         164                                                            175

18         165                                                            177

19         167                                                            179

20         167.1                                                          180

21         167.2                                                          181

22         199                                                            191

23

24

25
